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                 Annex 16
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    UNITED STATES DISTRICT COURT FOR THE
            DISTRICT OF COLUMBIA

C ATHLEEN C OLVIN , et al.,             Civil No. 1:16-cv-01423 (ABJ)

                  Plaintiffs,

       v.

S YRIAN A RAB R EPUBLIC ,

                  Defendant.



                         EXPERT REPORT OF EWAN BROWN
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I, Ewan Brown, hereby declare pursuant to 28 U.S.C. § 1746 as follows:

I.     INTRODUCTION

       1.      I am a consulting analyst and investigator, and former British Army officer,

specialising in the analysis and investigation of violations of international criminal law. I currently

provide consulting services in the analysis and investigation of human rights abuses and potential

breaches of international criminal law that has included to companies, governments, international

governmental organizations and non-governmental organizations, including the Commission for

International Justice & Accountability (CIJA), which specialises in the investigation of international

crimes in the ongoing conflict in the Syrian Arab Republic (Syria). I have been asked by Plaintiffs in

the above-captioned matter to provide an expert opinion on the structure of the military and security

forces of Syria and operations carried out by such forces during the attacks on Homs and Baba Amr

in 2011 and 2012. My qualifications, summary of opinions, and basis for expertise are set forth in

greater detail below. All opinions rendered herein are based on my own independent analysis.

       A.      QUALIFICATIONS

       2.      This Report is informed by my extensive career as an analyst and investigator of

violations of international criminal law, my service in the British Army and my academic

background. In particular, my work with CIJA over the past few years renders me qualified to assess

the structure and operations of the Syrian military and security forces, as detailed further below.

Collectively, these experiences allow me to present the expert opinions set out in this Report.

       3.




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                                                                                          .

          7.



                                                                            . Since           I have been

retained as a consultant by the CIJA. The CIJA is an internationally funded non-governmental

foundation involved in the investigation of violations of international criminal law in the current

Syrian conflict. My consulting work with CIJA focuses on the collection and objective analysis of

information and evidence on the operations, structures, and activities of individuals within the

Syrian military, police, intelligence/security and paramilitary structures. The purpose of this work

has been the provision of analytically driven investigation files for use in any future judicial process.

Attached as Exhibit A is my curriculum vitae, which sets forth additional details on my background

including a complete list of all cases in which I have testified as an expert at trial or by deposition. I

have not authored any publications.

          8.    The Plaintiffs are not compensating me for my work as an expert witness. I will be

reimbursed for reasonable travel and out-of-pocket expenses incurred while fulfilling my role as an

expert.

          B.    SUMMARY OF OPINIONS

          9.    The Plaintiffs requested that I address the following topics:

                 1) The organisation, command and control system and activity of the Syrian
                    military and security forces during the Syrian uprising which began in 2011,




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                     and the extent to which the Syrian Regime1 used these forces to repress political
                     opposition in response to the uprising; and

                 2) Whether and to what extent the Syrian military and security forces were
                    engaged in armed operations during the attacks on Homs and Baba Amr in
                    2011 and 2012.

        10.     This report is a product of a consideration of the topics set and a study of identified

documentation. In presenting this analysis, it is important to note that the attack on Baba Amr in

February 2012 did not sit in isolation but should be viewed within the wider conflict in Syria and set

in the context of events that preceded and surrounded it. The Regime structures used to deal with

the deteriorating security situation in the country, decisions taken by the individuals within these

structures, the actions and results that followed, as well as the actions of the opposition itself had a

relevance to and impacted on events in Homs.            For these reasons, this Report concentrates

significantly on issues that sit more widely than simply the Baba Amr attack in an attempt to place

this incident in an appropriate context.

        11.     Having reviewed the identified documentation in support of this Report, my

conclusions are as follows:

        12.     First, the Syrian Regime (under the leadership of the President and, in particular, the

direction of the Central Crisis Management Cell (CCMC) and the National Security Bureau (NSB),

presented in Section III.A–C of this report) formulated and ensured the implementation of policies

to forcefully suppress opposition activity that began in early 2011 and continued throughout

2011/2012.      These national-level bodies planned, organised, directed, co-ordinated and

disseminated instructions to State security structures in order to crush dissent and opposition
																																																								
1
    The term ‘Regime’ is used in this Report to refer to political structures within Syria including
President Bashar al-Assad, the Central Crisis Management Cell (CCMC), the National Security
Bureau (NSB), the Ba’ath Party, the security agencies, the Security Committees, the military and
civilian police forces, and the army.


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activity. Notably, the CCMC (a high-level ad-hoc national-level security body) brought together

senior political, security, intelligence, military and Ministry of Interior figures who formulated policy

and co-ordinated the security and military response of the Regime to opposition organisations,

groups, demonstrators and other individuals deemed a threat and (later) the actions of armed

opposition groups (Section III.B).

        13.     Second, the Syrian Regime mobilised, and deployed elements from of all of its

security forces (the Military Intelligence, Air-Force Intelligence, General Intelligence, Political

Security, the police, the army, and loyalist groups (including those of the Ba’ath Party)), outlined in

Section III.D–E and H) to confront and repress the political opposition and prevent the spread of

anti-Regime activity, in order to maintain its exclusive control of the State. It exercised effective

command and control of the security forces through the CCMC, NSB, security and military

structures and the governorate Security Committees down to subordinated branches and units

(Section III.A–F and H). Command and control was maintained through the use of directives,

circulars, instructions, reports and visits made by senior figures to governorates (Section III.A–F and

H and Section IV.A–C).

        14.     Third, the security operations against opposition groups and individuals began

immediately after the outbreak of demonstrations in February/March 2011 and escalated

significantly as opposition activity spread (Section II and Section IV.A). Regime security operations

targeted those who participated in or supported demonstrations, opposition activists and those who

organised, funded or disseminated materials to or had contact with media outlets (Section II and

Section IV.A–B). Regime operations resulted in mass arrests and detentions in security/intelligence

run detention centres, the deaths of demonstrators, and the increasing use of the military in security




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operations including their deployment into opposition held areas. This resulted in a hardening of

the response of the opposition leading to the establishment of armed opposition groups, the takeover

of territory, engagement with Regime security forces and, at times, the targeting of infrastructure.

This, in turn, elicited further increasing armed responses by the Regime and their security forces

including the continued targeting of identified groups (Section IV.A–B). The security measures

adopted by the Regime did not succeed in suppressing the opposition activity but further hardened

anti-Regime feeling fuelling the support for and the actions of the armed opposition (which included

attacks on Regime forces) (Section IV.A–B and D.5). In the late summer and autumn months of

2011 the Regime further militarised the conflict. This involved changing key leadership personnel,

such as the Head of the CCMC and the Minister of Defence (Section IV.B) and the eventual

establishment of Military and Security Chiefs (Section III.G), appointed to tense governorates to

take charge of all security elements in those governorates. A senior army officer was appointed as the

Military and Security Chief in Homs governorate along with an Assistant from Military Intelligence

(Section IV.D.2). The militarisation of the conflict involved the increasing use of the army in joint

operations and sweeps and attacks into opposition held areas often with the use of ground forces and

the use of tanks and artillery (Section IV B–D).

       15.     Fourth, the Regime specifically targeted identified groups within the opposition.

This included demonstrators, co-ordinators, funders and those who used the media to publicise

activity within the country (Section II and III.A–B). A key instruction in early August 2011 from

the CCMC and disseminated by the NSB to governorate Security Committees directed that joint

military/security operations were to be mounted against clearly identified groups (Section IV.B).

This included those who were inciting demonstrations, financiers of demonstrations, members of




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opposition coordination committees and those who communicated with people abroad in order

publicise demonstrations or ‘tarnish the image’ of Syria in the foreign media and within

international organisations.    As the opposition developed armed elements (including after its

establishment, the Free Syrian Army), these also became a focus for the Regime and were targeted

(Section IV.A–B and D.5). One group identified by the Regime from the outset of the conflict were

activists who communicated with the media (including the foreign media) or utilised social media in

order to publicise events within the country (Section II, Section III.D and Section IV.A–B). The

Regime used its security bodies to monitor media sites, arrest individuals involved with media

activity, monitor communications of activists and opposition supporters, collect and disseminate

information (including to the military) on individuals who were communicating with and using

media outlets in order to take measures against them (Section III.D and Section IV. A–B and D.2).

        16.     Fifth, the Syrian Regime pursued a military/security strategy to confront the uprising

in the city of Homs in response to escalating demonstrations and protest, and the eventual

emergence of an armed opposition (Section IV.5).                     This strategy initially utilised

intelligence/security elements but as the security situation deteriorated, it militarised its response by

relying significantly on the use of army units (particularly from the autumn of 2011) (Section IV.A–

C). This also involved the establishment of the Homs Military and Security Chief (Section IV.D.2).

This militarisation culminated in February 2012 with the launch of a large-scale military operation

against the district of Baba Amr in Homs, an area held by opposition forces. This operation

involved the prolonged shelling of civilian areas in Baba Amr through much of that month leading

to significant numbers of civilian deaths and destruction of property. The area of Baba Amr was

retaken by ground forces at the end of February 2012 (Section IV.D.6).




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        C.      BASIS FOR EXPERTISE

        17.     In preparing this Report, I relied on my extensive educational and professional

experience in the field of international criminal investigations and analysis, as well as my review of

the sources cited herein.     I utilised recognised analytical processes of selection, collation, and

objective analysis of documentary sources. I utilised similar practices in the production of expert

reports for the ICTY.

        18.     The Report is based predominantly on an analysis of selected contemporaneous

Syrian government documents obtained by the CIJA through their fieldwork and processed and

translated by CIJA personnel. These references are currently in the possession of the CIJA.2 The

documents utilised in this Report have been provided by the CIJA for analysis and review purposes

only. All issues relating to the initial collection, handling, processing, primary analysis and storage of

CIJA-held materials remain within the sole purview of the CIJA and are not within the scope of and

do not form part of this Report. These topics are addressed in the Declaration of Chris Engels,

Deputy Director for Investigation and Operations for the CIJA, attached as Exhibit B, compiled by

him independently from this Report and provided to me by the CIJA.



																																																								
2
    The CIJA documents used in this report are identified using a CIJA referencing system.
Documents are identified with a three letters followed by a numeric code (e.g.
SYR.D0035.029.058). The last three digits refer to the page number of an identified document.
Where a document consists of multiple pages or a set of connected documents, a range is given (e.g.
SYR.D017.026.001-002 is a two page document). To differentiate between the Arabic document
and the English translation, the same reference code is used except that “_ET” is annotated on the
translation (e.g. SYR.D017.026.001-002 is the Arabic copy and SYR.D017.026.001-002 _ET is the
corresponding English translation). Due to the nature of document translation, occasionally the
English version of a document features more pages than the Arabic original. As an example,
SYR.D0043.001.181 (the Arabic original) is a single page. The corresponding English translation
SYR.D0043.001.181_ET is a two-page document. For the purposes of this report, the English
translations (i.e. _ET versions) were used.


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        19.     In compiling this Report, I was granted complete access to the archive of CIJA-held

materials, however, as I am not an Arabic speaker and due to the volume of materials, I was not able

to personally review all the original Arabic references held by the CIJA. I was, however, given full

access to documents that the CIJA have processed and reviewed during the conduct of their work as

these were readable materials to me. These particular references that I reviewed form a part of the

overall CIJA archive. I was also given access to a significant number of English translations compiled

by CIJA staff. Furthermore, I was able to request the translation of a number of documents I had

identified from metadata searches as potentially relevant to this Report.         All the CIJA-held

documents referenced in this Report have been selected by myself based on the topics I was asked to

consider and drawing on my professional experience in the analysis and investigations of the

violations of international criminal law.

        20.     The research and analysis of references that forms the basis of the Report is based on

the English translations provided by Arabic-speaking staff at the CIJA.3 Attached as Exhibits C-1 to

C-193 are true and correct copies of the Arabic-language documents as well as English translations

that were provided by the CIJA.

        21.     The analysis in this Report is based on documents I was able to review and those I

selected from the CIJA archive, within a temporal scope from 2011 to 2012. It should be noted that

although I have had access to CIJA-held documentation, this material and the references cited in this

Report do not constitute or reflect the complete archive of documents of the Syrian military and

security forces. Furthermore, the CIJA and other entities continue to investigate allegations of

abuses perpetrated in Syria that may likely provide additional reference materials or add to the

																																																								
3
    As I am not an Arabic speaker, my analysis is based on the English translations provided by fluent
Arabic-speaking staff at the CIJA.


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understanding of the events of the conflict. The CIJA is also continuing a review of the materials

within its archive. As a result of these processes and any new materials that may fall from them, I

reserve the right to amend and/or supplement the analysis and conclusions contained in this Report.

        22.     In addition to the contemporaneous Syrian government documents I was able to

review and analyse from the CIJA collection, I reviewed open source materials including news

articles and reports of UN bodies such as the Independent International Commission of Inquiry on

the Syrian Arab Republic (CoI).

        23.     It is my expert view that the documentary sources I have been able to review and that

I selected and analysed appear to be authentic documents of the Syrian Arab Republic, based on

certain characteristics, content and the circumstances of their collection (as explained by the CIJA).

They provide a sound basis to identify and assess the organizational structures of the Syrian security

forces; their command, control, and communications processes, key personnel, tasks, routine

practices; as well as details on certain operations.

II.     OVERVIEW OF THE SYRIAN UPRISING AND THE REGIME’S RESPONSE
        (2011–2012)

        24.     The development of the crisis in Syria was set against the ‘Arab Spring’; the wave of

opposition demonstrations, protests, riots and coups that began in Tunisia in December 2010 and

swept through a number of Middle East states.4

        25.     Against a backdrop of escalating protests against authoritarian governments, the

Syrian Regime used its security forces (the Military Intelligence, Air-Force Intelligence, General

Intelligence, Political Security, the police, the army and Ba’ath Party and other loyalists) to monitor,

confront, detain and interrogate protesters, supporters and members of opposition groups. These

																																																								
4
    The documentary sources substantiating this overview are cited and discussed in detail below.


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measures were designed to break up and repress the opposition and prevent the spread of anti-

Regime activity. By doing so, the Regime calculated that it could maintain its exclusive control of

the State and remain in power.

       26.     Demonstrations began in Syria in late January/early February 2011 calling for

democracy, enhanced freedoms, an end to corruption and the release of detainees (including in this

very early period a group of children arrested in Dar’a for allegedly writing anti-Regime graffiti).

These protests grew quickly both in terms of geographic spread, size and intensity. The Regime

quickly realised the severity of the security problem it was facing and the threat that it posed and, in

response, on or about 27 March 2011 they established the Central Crisis Management Cell

(CCMC).5 This new, ad hoc, national-level security body was comprised of the most senior political,

military, and intelligence/security officials of the state. It was responsible for planning, organising,

directing, co-ordinating and disseminating instructions and information related to the security

response, opposition protests and activity and the general deteriorating situation in the country.

       27.     The CCMC received information (from which it then formulated the overall security

response) from the intelligence/security bodies, military, police and the governorate level joint

security bodies (called Security Committees).6 It then disseminated decisions and directives back

down various chains of command, principally through the National Security Bureau (NSB), the

Regional Command of the Ba’ath Party, the Ministry of Interior and the Ministry of Defence.

       28.     As the demonstrations grew in intensity they were met with a significant suppressive

response from the Regime, including the violent break-up of protests with the co-ordinated use of

the police, intelligence/security agents and Ba’ath Party loyalists. On numerous occasions this

																																																								
5
    The CCMC is discussed in detail below in Section III.B.
6
    The governorate Security Committees are discussed below in Section III.F.


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response included the shooting and killing of demonstrators and mass wide-scale arrests. On 31

March 2011, in his first address to the nation in the wake of the protests, President Bashar Al-Assad

characterised the demonstrations as part of an international conspiracy against Syria, and their

suppression as a patriotic duty.

        29.     From its establishment, the CCMC received reports on the security situation in the

country and responded to the activity of the protests and opposition activity through increasing

security measures. In a series of key meetings, in particular between 18–20 April 2011, the CCMC

examined closely the political and security situation in the country, concluded that the period for

tolerance and compromise was over and issued instructions that significantly escalated their hard-line

response. They increased the co-ordination between security agencies, called for the use of further

force against the opposition, continued the arrests of protesters, enhanced use of Ba’ath Party and

other loyalists in confronting demonstrators and proposed the use of the military to assist, where

necessary.

        30.     In Homs, the situation followed a similar pattern to other key governorates with the

security situation deteriorating quickly after the initial outbreak of anti-Regime demonstrations.

Some of the protests became notable for their violent suppression. Only a day after a key meeting of

the CCMC on 18 April, for example, a violent (and now notorious) attack on a protest in Homs

occurred in which a number of protesters were shot and killed by security forces.

        31.     As the summer developed, the security situation continued to deteriorate. The

increasingly violent response of the Regime inflamed the opposition, leading to additional protests

and the emergence of an armed opposition. This initially appeared as armed elements protecting

demonstrations but then developed into more formal armed groups, culminating in the




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establishment of the Free Syrian Army, that began to defend selected areas and launch armed attacks

against Regime security elements, checkpoints, convoys and infrastructure.

        32.     An important meeting of the CCMC, on 05 August 2011, saw a further ratcheting

up of the Regime’s security response. This meeting advanced additional plans to target selected

groups in joint military/security operations.    These groups included funders and organisers of

demonstrations and media activists who communicated with foreign media outlets. Those arrested

were to be processed through newly established Joint Investigation Committees.

        33.     The result of this policy was the enhanced co-ordination of all security bodies, the

increased deployment of the army, and the systematic targeting of demonstrators, supporters, co-

ordinators, funders, media activists, and armed groups leading to their further mass arrests. Many

were detained for prolonged periods and were subjected to intimidation, physical violence, and

torture, which at times resulted in death.

        34.     Despite these additional measures, the security situation still continued to

deteriorate. The armed opposition began to strengthen (particularly with the defection of large

numbers of security force members). Areas within governorates began to be lost to opposition

control and armed opposition groups began to launch attacks against military personnel, checkpoints

and infrastructure.    In response, in October and November 2011 the Regime significantly

militarised its response to the crisis. It appointed a new Head of the CCMC, appointed military

officials to take charge of all security organs in key governorates and conducted large-scale military

operations against opposition held areas.




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        35.     In Homs governorate, a Military and Security Chief7 was appointed and a number of

‘inspection’ operations were conducted in the later months of 2011.            These included the

establishment of checkpoints around the city, the shelling of civilian areas of Homs city and raids

and attacks on opposition held areas. In late December, as a result of international pressure, the

Arab League dispatched a monitoring force in an attempt to observe and report on the situation in

key areas of the country (including in Homs). Although this led to a brief lull in fighting, the

mission collapsed and after their withdrawal attacks and operations resumed.

        36.     In February 2012, the Regime launched a significant military operation against the

district of Baba Amr in Homs, an area that the opposition forces had earlier taken control of. This

operation involved the prolonged shelling of civilian areas in Baba Amr through much of that month

leading to significant numbers of civilian deaths and destruction of property. Despite attempts by

the International Committee of the Red Cross (ICRC) to negotiate a ceasefire, the shelling

continued. Late in February the Regime launched a large military ground operation that was

successful in retaking the area in a matter of days. There were reports of killings by Regime forces

after the area was secured.

III.    THE MILITARY/SECURITY STRUCTURES OF THE SYRIAN REGIME
        (2011–2012)

        37.     The Syrian Regime responded to the uprising by mobilising their complex military

and security apparatus under the control of President Bashar al-Assad. This included utilising the

Ba’ath Party and the key security organs to suppress opposition activity and dissent. This Section

examines the structures, authority and functions of individuals and institutions within this

apparatus, beginning with (A) the President. It then addresses two important coordinating bodies –
																																																								
7
    The creation of Governorate Military and Security Chiefs is addressed below in Section III.G.
The role of the Homs Military and Security Chief is examined below in Section IV.D.2.


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– (B) the Central Crisis Management Cell (CCMC) and (C) the National Security Bureau (NSB) ––

before examining (D) the Security/Intelligence Departments, (E) Army and Armed Forces, (F)

Governorate Security Committees, (G) Governorate Military and Security Chiefs, and (H)

Paramilitary Forces.

        A.      PRESIDENT BASHAR AL-ASSAD

        38.     Under the 1973 Constitution (in particular prior to the new 2012 Constitution), the

President of the Republic, Bashar Al-Assad had (and still retains) extensive authority. The powers

vested in him under the 1973 Constitution included power to set state policy and oversee its

implementation, 8 appoint and dismiss civilian and military employees, 9 and the power to pass

decrees, decisions and orders.10

        39.     President Al-Assad is also the Regional Secretary of the Ba’ath Party and oversees the

activity of the Regional Command.11 Although the term ‘Regional Command’ is used by the Ba’ath

party, this term in fact denotes the national-level ruling political organ that directs the functioning of

the executive and other bodies of the Syrian Arab Republic. This includes the security agencies that

operate through the NSB, a component structure of the Regional Command of the Ba’ath Party.

        40.     As well as being the Regional Secretary of the ruling Ba’ath Party, the President is

also the General Commander of the Army and Armed Forces. 12 As such, he is the de jure

																																																								
8
          Article 94, Constitution of the Syrian Arab Republic of 1973, available at
http://www.refworld.org/docid/44d8a4e84.html (hereinafter “Syrian Constitution”); Article 98,
Syrian Constitution of 2012, available at http://www.refworld.org/docid/5100f02a2.html.
9
   Article 109, Syrian Constitution of 1973; Article 106, Syrian Constitution of 2012.
10
     Article 99, Syrian Constitution of 1973; Article 101, Syrian Constitution of 2012.
11
     Comrade President Bashar al-Assad President of the Republic Regional Secretary of the BASP
[Socialist Arab Baath Party], http://www.baath-
party.org/index.php?option=com_content&view=category&layout=blog&id=314&Itemid=332&lan
g=en (accessed 7 Jan. 2018).
12
     Article 103, Syrian Constitution of 1973; Article 105, Syrian Constitution of 2012.


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commander of all military formations including regular army units, the Military Intelligence and

Air-Force Intelligence. As President and General Commander of the Army and Armed Forces, Al-

Assad has the authority to declare war with the approval of the People’s Assembly,13 and the power

to take immediate emergency measures in cases of grave danger threatening national unity and safety

of the ‘homeland.’14 In 2017, Al-Assad emphasised that:

        …the Syrian Army is a regular army, it’s not a militia. It’s a regular army, it has
       hierarchy, it has very clear way of orders, so this kind of “rough personnel tried to do
       something against the will of the leadership of the army” never happened during the last
       six years of the war in Syria.15

       41.     As General Commander of the Army and Armed forces, President Al-Assad directly

exercised, and continues to exercise, control over the military. Decrees and instructions were issued

in his name, including the ordering of promotions,16 appointment orders,17 and the dissemination of

circulars.18 President Al-Assad also praised the actions of the army in the Weekly Political Bulletin

of the General Command of the Army and Armed Forces.19




																																																								
13
     Article 100, Syrian Constitution of 1973; Article 102, Syrian Constitution of 2012.
14
     Article 113, Syrian Constitution of 1973; Article 114, Syrian Constitution of 2012.
15
     ‘Bachar El Assad - Entrevue de l’AFP (13/04/2017)’, available at
https://www.youtube.com/watch?v=ABSuGvLakGQ (English language interview with President
Bashar Al-Assad, quoted at 13:11 to 13:33.
16
     See, e.g. Ex. C-138, General Command of the Army and Armed Forces, Officers’ Affairs
Administration promotion list, dated 31 December 2011, SYR.D0220.041.007-008_ET at 008.
17
     See, e.g. Ex. C-136, Appointment order, dated 22 July 2012, SYR.D0220.002.002-003_ET at
              002.
18
     See, e.g. Ex. C-10, Circular concerning security measures for the use of wireless and other
communication devices, dated 26 July 2012, SYR.D0015.039.003_ET at 003.
19
     See, e.g. Ex. C-29, Weekly Political Bulletin of the General Command of the Army and Armed
Forces, dated 25 April 2011, SYR.D0035.029.074-076_ET at 076; Ex. C-28, Weekly Political
Bulletin of the General Command of the Army and Armed Forces, dated 09 May 2011,
SYR.D0035.029.058_ET at 058.


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        42.      In his public statements, President Al-Assad made little secret that he was General

Commander, confirming in the media his control over the most important military decisions. In

September 2013, for example, he was interviewed by Chinese State television and was asked:

        Interviewer:

        Do you take any “executive decisions” in military operations and state policies?

        President Bashar Al-Assad:

        According to the Constitution, the President’s prerogatives are clear – he is the supreme
        commander of the army and armed forces. Therefore, he is the “first decision-maker” in
        “moving” and commanding the armed forces in Syria. At the same time, the President
        has an essential role in the foreign policy. So, he first bears the responsibility of the foreign
        policy. According to these prerogatives, yes, he is “exercising them completely”, before and
        during the crisis.20

        43.      In a 2015 BBC interview, when it was suggested that he could order his generals to

cease indiscriminate attacks, Al-Assad did not deny this, and instead emphasised his duty to defend

the country.21 When pressed on whether he would order his generals to stop carrying out specific


																																																								
20
     Ex. C-2, Translation of Interview of the President Al-Assad with the Central Chinese CCTV
dated 22 September 2013, SYR.A0472.093, original available at:
https://www.youtube.com/watch?v=5pCvYZww0fM. Also note, in October 2013, an interviewer
for Der Spiegel put it to Al-Assad that ‘your troops and intelligence services are responsible for a part of
these horrors. That is your responsibility.’ Al-Assad replied that ‘we . . . have to fight terrorism to defend
our country. I admit that mistakes were made during the implementation of this decision.’ He further
stated: ‘There were personal mistakes made by individuals. We all make mistakes. Even a president makes
mistakes. But even if there were mistakes in the implementation, our decisions were still fundamentally
the right ones.’ Dieter Bednarz and Klaus Brinkbäumer, Interview with Bashar Assad: ‘In the End, a
Lie Is a Lie’, Der Spiegel, 7 Oct. 2013, http://www.spiegel.de/international/world/spiegel-interview-
with-syrian-president-bashar-assad-a-926456.html.
21
     Syria conflict: BBC exclusive interview with President Bashar al-Assad, BBC News, 10 Feb. 2015, at
10:40, http://www.bbc.com/news/av/world-middle-east-31327153/syria-conflict-bbc-exclusive-
interview-with-president-bashar-al-assad. See also ibid. at 23:57 (Bowen [interviewer]: ‘Syria is in
ruins, there are hundreds of thousands of people dead. You’ve been the commander, you must bear
command responsibility for some of that.’ Assad: ‘Yes, according to the constitution and according to the
ethics of your job, it is to protect your country when it’s under attack, not to flee and run away, and that’s
what we’ve been doing.’).


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attacks, Al-Assad countered that he had a duty to fight terrorism.22 Al-Assad did not deny that he

had the power to command the military to stop using certain weapons.

        B.        CENTRAL CRISIS MANAGEMENT CELL (CCMC)

        44.       As a result of the developing crisis in Syria, the Regime established a high-level co-

ordinating body from which it planned, directed and managed the security response to opposition

activity. This key body, the CCMC, was used to gather and centralise information from all the

governorates in the country and to task and monitor the work of the military and security agencies

used in response to opposition activity.

        45.       The CCMC was established on or around 27 March 2011 23 and was an ad hoc

creation of Regional Command of the Ba’ath Party. It appeared to have neither an identifiable

predecessor nor any clear basis in law. Its primary function was to formulate and co-ordinate the

security and military response of the Regime to the challenges posed by opposition organisations,

demonstrators, individuals deemed a threat and (later) the actions of armed opposition groups.

        46.       Evidence indicates that that CCMC was, for the period of its existence, the senior

security decision-making body of the Regime. On its establishment, the Head of the CCMC was

Mohammad Said Bekheitan (the Assistant Regional Secretary of the Command of the Ba’ath

Party).24     Bekheitan was replaced in late October 2011 by Imad25 Hassan Turkomani (a former

																																																								
22
    Ibid.
23
     Ex. C-78, Minutes of Meeting of the Security Committee for Deir-ez-Zor, dated 14 April 2011,
SYR.D0080.051.117-121_ET at 118.
24
     See, e.g. Ex. C-88, Letter from the Ba’ath Party Regional Command, dated 04 October 2011,
SYR.D0097.060.003_ET at 003 (signed by Mohammad Said Bekheitan, noting he was ‘Assistant
Regional Secretary’); Ex. C-174, Minutes of the CCMC, dated 04 September 2011,
SYR.E0001.015.017-018_ET at 017 (noting that the meeting was chaired by the ‘Assistant Regional
Secretary’ of the Ba’ath Party (i.e. Bekheitan).
25
     The term ‘Imad’ is a military rank of a senior commander in the Syrian and the Lebanese armies
which is the equivalent to the rank of Lieutenant General as used in the Egyptian, Saudi Arabian and


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Minister of Defence and Member of the Regional Command of the Ba’ath Party).26 The transfer

between Bekheitan and Turkomani as Head of the CCMC appears to have occurred between 18-22

October 2011.27 Turkomani remained as Head until he was killed in an explosion on 18 July 2012,

along with a number of other members of the CCMC. 28 Other key members of the CCMC

included:29

             1) Imad Dawoud Rajiha: Minister of Defence/Chief of Staff of the Army and
                Armed Forces30 (from August 2011).
             2) Assef Shawkat: Deputy Minister of Defence.
             3) Muhammad Al Shaar: Minister of Interior.
             4) Hisham Ikhtiar: The Head of the National Security Bureau (NSB).
             5) The four Heads of the Intelligence and Security Departments: Ali Mamluk
                (General Intelligence Directorate), Jamil Hassan (Air Force Intelligence
                Directorate), Abdel-Fatah Qudsiyeh (Military Intelligence Department) and
                Muhammed Dib Zeitoun (Political Security Department).

             47.           The CCMC met on a regular basis31 and was briefed on the security situation in the

country through the receipt of information via various channels. Firstly, the very composition of the


																																																																																																																																																																																			
Iraqi armies, for example. It is a rank above Major-General and below General. It is the second
highest rank in Syria's Air Force. The rank of Imad could be held by the Minister of
Defence/Deputy General Commander of the Army and Armed Forces, the Chief of Staff or his
Deputy(ies).
26
     See, e.g. Ex. C-176, Minutes of Meeting of the CCMC on 22 October 2011, dated 23 October
2011, SYR.E0001.015.022-023_ET at 022; Ex. C-178, Minutes of Meeting of the CCMC on 24
October 2011, dated 25 October 2011, SYR.E0001.015.024-026_ET at 024.
27
     CIJA provided documents indicate that Turkomani became the Head of the CCMC at some
point between 18 and 22 October 2011. Compare Ex. C-176, Minutes of Meeting of the CCMC
on 18 October 2011, dated 19 October 2011, SYR.E0001.015.020-021_ET at 020 (referencing the
Assistant Regional Secretary (i.e. Bekheitan) as Head) with Ex. C-176, Minutes of Meeting of the
CCMC on 22 October 2011, dated 23 October 2011, SYR.E0001.015.022-023_ET at 022
(referencing meeting headed by Turkomani as Head).
28
     BBC Report entitled ‘Syria Crisis: Profiles of security and defence chiefs killed in Damascus blast’,
dated 20 July 2012 at http://www.bbc.co.uk/news/world-middle-east-18889030.
29
     Ex. C-129, Minutes of Meeting of the CCMC of 22 April, dated 23 April 2011,
SYR.D0183.015.018-020_ET at 018-020.
30
    The Syrian Army and Armed Forces are discussed in detail below in Section III.E.


                                                                                      19
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CCMC is indicative of the type of information it was able to receive. It was composed of the most

senior members of the security structures of the Syrian state (the Army and Armed Forces, the

Ministry of Interior, the various Intelligence and Security Departments and the Ba’ath Party). This

allowed information gathered through these structures to be disseminated up through these

respective chains and be consolidated and discussed within the CCMC as a whole.

             48.           Information and reports from the various governorate Security Committees were also

disseminated to the CCMC where they were combined into a daily report on the security situation

and used to brief CCMC members.32 The Head (or Chairman) of the various governorate Security

Committees was normally the key Ba’ath Party functionary (the Assistant Secretary of the Ba’ath

Party in the governorate)33 and this allowed for the Ba’ath Party political chain to also be utilised in

disseminating information up to the CCMC.

             49.           As well as receiving information in order to produce a regular report on the security

situation, the CCMC also drafted minutes of their meetings. CIJA provided documented references

indicate that the CCMC meetings consisted of significant internal discussions, a review of previous




																																																																																																																																																																																			
31
     Ex. C-130, Minutes of the CCMC Meeting of 20 April, dated 21 April 2011, concluded that the
CCMC ‘will meet daily to address the situation and give instructions.’ SYR.D0183.015.021-
022_ET at 021.
32
        See, e.g. Ex. C-150, CCMC report on the Security Situation, dated 12 April 2011,
SYR.E0001.006.064-067_ET at 064. This report notes that in Homs, the Security Committee
‘confirmed that pre-emptive measures will be taken in order to prevent any negative demonstration from
happening next Friday’. The Security Committee also ‘recommended to track and arrest rioters in Bab
Amr, Joret Elarayes, Bab al Sabaa, and Ashirah’.
33
     See, e.g. Ex. C-78, Minutes of meeting of the Security Committee for Deir-ez-Zor, dated 14 April
2011, SYR.D0080.051.117-121_ET at 118.


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decisions taken, an analysis of the political and security situation based on information provided,

discussions on specific incidents followed by a record of the agreed decisions made.34

        50.     Documentary references demonstrate that the CCMC not only received information

through the intelligence/security and Security Committee chains but, critically, it also formulated

policy and disseminated decisions back down through the respective security and Ba’ath Party chains

for action. This was to be expected as the CCMC was the senior security body of the Regime and

the members of the CCMC were also (concurrently) the most senior officials or commanders in

their respective military, political and intelligence/security organisations.

        51.     Decisions appear to have been formulated, agreed and noted in CCMC minutes or a

summary of decisions taken was drafted that was later disseminated.35 In addition, where necessary,

the CCMC issued specific, documented decisions including instructions for specifically directed

operations in identified governorates.36 The discussions and decisions noted in documented minutes

or summaries from or relating to the CCMC dealt with an array of security and other related topics.

Most often, they included general security and operational instructions for implementation by the

various security bodies.

																																																								
34
     See, e.g. Ex. C-184, Minutes of the CCMC, dated 24 July 2011, SYR.E0013.002.020-022_ET at
020-022. Also note Ex. C-170, CCMC Agenda for meeting scheduled for 14 December 2011,
SYR.E0001.014.020_ET at 020.
35
     See, e.g. Ex. C-128, Minutes of the CCMC meeting of 20 April 2011, SYR.D0183.003.012-
013_ET at 012-013; Ex. C-127, Military Intelligence Branch 294 Circular, dated 20 April 2011
disseminating the summary of decisions of a CCMC meeting around 18 April 2011. This report
was disseminated through the Head of the Military Intelligence down to the various Military
Intelligence Branches throughout the country, SYR.D0183.003.010-011_ET at 010-011.
36
     See, e.g. Ex. C-181, Decision No: 3413 of the CCMC, dated 18 July 2011,
SYR.E0001.017.001_ET at 001 (commissioning the Security Committee in Homs governorate to
initiate security inspections of neighbourhoods in Homs in order to arrest wanted individuals;
tasking the Head of the NSB (Hisham Ikhtiar) to oversee, monitor and offer assistance for their
implementation; and stating that the CCMC decision itself was to be ‘communicated to all competent
bodies for implementation’).


                                                    21
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        52.     At critical times, the CCMC also instructed that visits be made by members of the

CCMC to the field in order to pass on instructions, keep briefed on the situation and/or oversee

security operations. 37 In the autumn of 2011, documentary references note that the CCMC

specifically tasked senior Regime officials to go to key governorates in order to take charge of the

security situation there (rather than simply report on it). On 22 October, for example, the CCMC

held a meeting (one of the first with Hassan Turkomani as Head of the CCMC) in which new

methods and work plans were discussed.38 In this wide-ranging meeting, the CCMC discussed the

issue of the positive effect of fieldwork and the need for the CCMC to move to crisis areas for a ‘day

or two to study the field situation and radically solve the problem’.39 The Head of the NSB presented a

report on how to tackle the situation in Homs and measures that should be implemented by

‘comrades as well as by security agencies’40 in order to solve the crisis. Various decisions were taken

including the need to intensify the meetings of the CCMC and that:

        The Crisis Management Cell is to carry out field visits to supervise the implementation of
        tasks in the governorates; crosscheck the received reports to have a clear picture of the
        situation; and amend the plans and implemented measures.41



																																																								
37
     See, e.g. Ex. C-186, Minutes of the CCMC, dated 14 August 2011, SYR.E0013.002.023-024_ET
at 024 (‘assign[ing] heads of security agencies to visit the hottest zones to lead the branches of agencies on
the ground. They shall propose measures to control the situation in the governorates once the army
implements its mission’); Ex. C-176, Minutes of the CCMC meeting of 18 October 2011, dated 19
October 2011, SYR.E0001.015.020-021_ET at 020-021 (discussing a visit by the Head of the NSB
(Hisham Ikhtiar) and Minister of Interior (Muhammad Al Shaar) to Homs and tasking the Head of
the NSB to ‘prepare a study on the tangible adverse issues in the governorate of Homs and the best ways to
solve these, on how to end violations and take measures to isolate armed individuals from their nurturing
environment in collaboration with prominent figures, as well as ways to win them over to our side.’).
38
     Ex. C-176, Minutes of Meeting of the CCMC on 22 October 2011, dated 23 October 2011,
SYR.E0001.015.022-023_ET at 022.
39
     Ibid.
40
     Ibid. at 022-023.
41
     Ibid. at 023.


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        C.      NATIONAL SECURITY BUREAU (NSB)

        53.     The National Security Bureau (NSB) was a long-standing, state-security body of the

Ba’ath Party Regional Command, the existence of which predated the current conflict.42 The NSB

was, in effect, the national co-ordinating body of the four intelligence/security agencies of the Syrian

state (the Air-Force Intelligence, Military Intelligence, General Intelligence and Political Security).

The NSB was comprised of the Head of the NSB and the heads of the four Intelligence/Security

Departments. Between March 2011 and July 2012 these were as follows:

        1) Major-General Hisham Ikhtiar (Head of the NSB)
        2) Major-General Abdel-Fatah Qudsiyeh (Head of the Military Intelligence
           Department)
        3) Major-General Jamil Hassan (Head of the Air-Force Intelligence Directorate)
        4) Major-General Ali Mamluk (Head of the General Intelligence Directorate)43
        5) Muhammad Dib Zeitoun (Head of the Political Security Department)

        54.     The roles of the NSB from the beginning of the current conflict until July 2012

(when a number of members of the CCMC and the Head of the NSB were killed in a bombing in

Damascus)44 were to be the co-ordinating body for all the intelligence/security agencies and to act as

a conduit between the CCMC and the very same intelligence/security bodies.                Critically, the

members of the NSB were concurrently members of the CCMC, a feature that significantly

simplified chains of command and communications lines.

																																																								
42
      See, e.g. Ex. C-3, Circular, dated 12 March 2008, SYR.D0003.120.002_ET at 002. This
references a meeting of the NSB about a plan of coordination between the police and different
security bodies in case of a terrorist incident in one of the security sectors in Damascus or the other
governorates.
43
     The General Intelligence Directorate is often also referred to as State Security Department, both
in official documentation as well as by Syrian civil society. See, e.g. Violations Documentation
Centre in Syria, Report on Khateeb Branch, State Security, August 2013, at http://www.vdc-
sy.info/index.php/en/reports/khatibbranch#.V3e6B_krLmg.
44
     BBC Report entitled ‘Syria Crisis: Profiles of security and defence chiefs killed in Damascus blast’,
dated 20 July 2012 at http://www.bbc.co.uk/news/world-middle-east-18889030.


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        55.      In the period prior to the establishment of the CCMC (late March 2011), the NSB

passed instructions through to the intelligence/security bodies for action. 45 After March 2011,

however, documented references indicate that the NSB sat between the CCMC and the governorate

intelligence/security branches, overseeing the implementation of CCMC instructions and

decisions.46 Information and instructions issued by the CCMC were disseminated via the NSB to

the various intelligence/security departments down through these various chains of command, to the

branches, detachments and sections at the governorate, district, and sub-district levels. 47 The

intelligence/security agencies were also able to send information back to the NSB through the same

intelligence/security chains.48

        56.      Being a part of the Regional Command of the Ba’ath Party also allowed for a chain

to run from the NSB to the wider governorate level security apparatus via the governorate Security


																																																								
45
     See, e.g. Ex. C-6, Report from Ras Al Ain Detachment to Military Intelligence Branch 222, dated
14 February 2011 in response to Circular from Head of Military Intelligence Branch 222, dated 13
February 2011 and Circular from Military Intelligence Branch 222, dated 03 February 2011,
SYR.D0010.075.001-007_ET at 003. This passes on a decision of the Head of the Military
Intelligence Department (based on a NSB decision) to intensify ‘visits to website[s], particularly
Facebook, by all security agencies . . . with the aim of flooding the website’s pages which call for organising
demonstrations in Syria’.
46
     See, e.g. Ex. C-70, Circular from the NSB, dated 03 February 2012, SYR.D0077.030.007-
008_ET at 008. This Circular was copied to the Head of the CCMC (for information), Minister of
Interior, Head of Intelligence Department (Military Intelligence), Head of General Intelligence
Directorate, Head of the Political Security Department, Head of the Air-Force Intelligence
Directorate. It was also to be disseminated down the various branches within the Political Security
Department.
47
     See, e.g. Ex. C-81, Circular from the NSB, dated 13 February 2012, SYR.D0087.056.005_ET at
005. This was copied to the Head of the CCMC (for information), Minister of Interior, Head of
Intelligence Department (Military Intelligence), Head of General Intelligence Directorate, Head of
the Political Security Department, Head of the Air-Force Intelligence Directorate. This NSB
circular was also forwarded on 14 February by the Political Security Department to the Heads of
Political Security branches in the ‘centre’ and in the governorates).
48
      See, e.g. Ex. C-54, Communication from Branch 227 to Branch 294, dated 29 April 2012,
SYR.D0058.188.002-003_ET at 003.


                                                      24
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Committees.49 The NSB passed information and instructions to the Security Committees50 and

from there it was discussed by the representatives of the various governorate-level security bodies

present on the Security Committees and passed further down to the security branches and

formations in the governorate.51

        D.      SECURITY/INTELLIGENCE DEPARTMENTS

        57.     The Syrian Regime operates a large and extremely pervasive intelligence and security

apparatus divided into four key bodies: Military Intelligence, Air-Force Intelligence, General

(sometimes referred to as ‘State’) Intelligence and Political Security.52

        58.     In 2011-2012, the Head of Military Intelligence Department was Major-General

Abdel-Fatah Qudsiyeh.53 The Head of the Air-Force Intelligence Department from the beginning of

																																																								
49
     See, e.g. Ex. C-40, Communication from Military Intelligence Branch 294, dated 17 August 2011
attaching Communication from NSB to Secretary of the Ba’ath Party (Heads of Security
Committees) in Hama, Damascus Countryside, Deir ez-Zor, Homs, Idleb and Dar’a governorates,
dated 06 August 2011, SYR.D0043.004.093-094_ET at 094. The Security Committees are
discussed at length below in Section III.F.
50
      Ex. C-32, Communication from Military Intelligence Branch 243 to all Military Intelligence
Sections and Detachments, dated 18 January 2011, SYR.D0043.002.009_ET at 009.
51
        See, e.g. Ex. C-82, Circular from the Head of NSB, dated 10 February 2012,
SYR.D0087.080.001_ET at 001 (the Head of the Political Security Department forwards this to all
Heads of Political Security Branches); Ex. C-32, Communication from Military Intelligence Branch
243 to all Military Intelligence Sections and Detachments, dated 18 January 2011,
SYR.D0043.002.009_ET at 009; and Ex. C-46, Communication from Branch 243 to all Sections
and Detachments, dated 12 March 2011, SYR.D0043.004.236_ET at 236.
52
     The words ‘Security’ and ‘Intelligence’ are sometimes used interchangeably in regard to the Syrian
security structures. For the purpose of this Report the terms Military Intelligence, Air-Force
Intelligence, General Intelligence and Political Security will be used. In identified documentation,
for Military Intelligence and Political Security the term ‘Department’ is used for the senior
headquarters of those particular branches e.g. Military Intelligence ‘Department’ (Arabic ‘shu’bah’).
For the Air-Force Intelligence and General Intelligence the term ‘Directorate’ (Arabic ‘idara’) is used.
53
    Also transliterated in English as ‘Abd Al-Fatah Qudsiyah’. See European Council Implementing
Regulation (EU) No 504/2011 of 23 May 2011 implementing Regulation (EU) No 442/2011
concerning restrictive measures in view of the situation in Syria published in the Official Journal of
the European Union, dated 25 May 2011 at: http://eur-
lex.europa.eu/LexUriServ/LexUriServ.do?uri=OJ:L:2011:136:0045:0047:EN:PDF.


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the current conflict was Major-General Jamil Hassan.54 Both Qudsiyeh and Hassan are on the

European Union list of persons and entities against whom restrictive measures have been in place

since May 201155 and are also subject to sanctions by the United States Office of Foreign Asset

Control.56

        59.        From June 2005 until around December 2013, the General Intelligence Directorate

was headed by Major-General Ali Mamluk, a long serving and trusted aide to the Regime.57 The

Head of the Political Security Department from 2009 onwards was Major-General Mohammed Dib

Zeitoun.58 Both Mamluk and Zeitoun are also on the European Union sanctions list and subject to

sanctions by the United States Office of Foreign Asset Control for their participation in human

rights abuses.59

        60.        In terms of organisation and structure, the various intelligence and security agencies

shared many features.        They all maintained a Department (or Directorate) 60 headquarters in

Damascus and had subordinate branches represented in the various governorates of the country.
																																																								
54
     See European Council Implementing Regulation (EU) No 504/2011 of 23 May 2011
implementing Regulation (EU) No 442/2011 concerning restrictive measures in view of the
situation in Syria published in the Official Journal of the European Union, dated 25 May 2011 at:
http://eur-lex.europa.eu/LexUriServ/LexUriServ.do?uri=OJ:L:2011:136:0045:0047:EN:PDF.
55
    Ibid.
56
    US Department of the Treasury, Office of Foreign Assets Control, Specially Designated Nationals
and Blocked Persons List, dated 5 Jan. 2018, at 416 (Hassan), 714 (Qudsiyeh),
https://www.treasury.gov/ofac/downloads/sdnlist.pdf.
57
    See European Council Implementing Regulation (EU) No 504/2011 of 09 May 2011
implementing Regulation (EU) No 442/2011 concerning restrictive measures in view of the
situation in Syria published in the Official Journal of the European Union, dated 24 May 2011 at
http://eur-lex.europa.eu/LexUriServ/LexUriServ.do?uri=OJ:L:2011:136:0045:0047:EN:PDF
58
    Ibid.
59
     Ibid; US Department of the Treasury, Office of Foreign Assets Control, Specially Designated
Nationals and Blocked Persons List, dated 5 Jan. 2018, at 593 (Mamluk), 940 (Zeitoun),
https://www.treasury.gov/ofac/downloads/sdnlist.pdf.
60
     In reporting the phrases ‘Department’ and ‘Directorate’ are sometimes used interchangeably. For
the purposes of this brief Military Intelligence Department, Air-Force Intelligence Directorate,
General Intelligence Directorate and Political Security Department will be used.


                                                    26
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Military Intelligence, for example, was organised in this formal hierarchical manner. At the senior

level, Major-General Qudsiyeh had his own inner office entitled the Bureau of the Head of the

[Military] Intelligence Department. 61    The subordinate governorate branches were linked to

Qudsiyeh often through the work of Military Intelligence Branch 294 in Damascus.62 This Branch

appeared to perform something of a headquarters or clearing-house function in the dissemination

and receipt of instructions, circulars, information and requests throughout the Military Intelligence

Department more widely. Examples include references to the passing on of specific CCMC or NSB

instructions,63 requests to search for named individuals,64 instructions to identify, arrest and send

individuals to identified Military Intelligence Branches, 65 and the passage of information or




																																																								
61
     Ex. C-38, Communication from the Head of Military Intelligence Branch 294 to Heads all
Branches and also addressed to ‘Bureau of the Head of Intelligence Department’, dated 02 September
2011, SYR.D0043.004.079_ET at 079.
62
     Ibid.
63
     See, e.g. ibid at 079 (referencing a meeting of the CCMC in which the results of the security
branches work was discussed). The CCMC members requested a series of measures to be taken in
order to improve the collection of information and the undertaking of searches for wanted person,
including ‘planting informers and sources within the armed groups and coordination committees’. See
also Ex. C-39, Circular from Military Intelligence Branch 294 to the Offices of the Head and
Deputy Head and all Branches of the Intelligence Department, dated 19 August 2011,
SYR.D0043.004.088_ET at 088. This references a letter from the Head of the NSB (pursuant to a
CCMC meeting) instructing that official uniforms were to be provided to police and members of the
riot police, support was to be given to the police and riot police by allocating security agents who
were to be dressed in police uniforms, completed investigations were to be shared in all governorates
and care was to be taken not to shed blood in dispersing peaceful demonstrations).
64
     See, e.g. Ex. C-5, Circular from Military Intelligence Branch 294, dated 14 December 2011,
SYR.D0006.008.006_ET at 006. This lists 21 individuals to be searched for and when arrested
brought to Branch 227 (Damascus).
65
     See, e.g. Ex. C-9, Communication from Military Intelligence Branch 294, dated 25 April 2012,
SYR.D0015.014.140_ET at 140 (instructing various senior and Branch level addressees to search for
and arrest an individual and bring him to Military Intelligence Branch 227 (Damascus)).


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intelligence throughout the wider intelligence and security apparatus.66 Other specialist branches of

Military Intelligence were also located in Damascus.

        61.     At the subordinate level were the various Military Intelligence branches in the various

governorates of the country. These branches were of critical importance to the functioning of the

Military Intelligence Department as a whole. Each governorate branch was identified with a unique

identifying number (for example, the Military Intelligence branch in Homs was identified as Branch

261).67 The Military Intelligence Branches themselves were composed of subordinate detachments,

units and sections.68 Detachments appeared to cover key geographic areas within the governorate

with sections being represented in towns or sections of cities. Sections within the Branches appeared

to fulfil specific specialised functions (such as the Investigations Sections of the Branches).69

        62.     The Air-Force Intelligence also maintained a similar structure with a headquarters in

Damascus (the Air-Force Intelligence Department) and subordinate Air-Force Intelligence Branches,

Sections or units. Unlike the other intelligence/security agencies, which were structured around the
																																																								
66
     See, e.g. Ex. C-40, Communication from Military Intelligence Branch 294, dated 17 August 2011
attaching Communication from NSB to Secretary of the Ba’ath Party (Heads of Security
Committees) in Hama, Damascus Countryside, Deir ez-Zor, Homs, Idleb and Dar’a governorates,
dated 06 August 2011, SYR.D0043.004.093-094_ET at 093-094 sent to all Branches to continue to
discover and arrest members of co-ordination committees.
67
     See, e.g. Ex. C-99, Intelligence report from Military Intelligence Branch 261 (Homs) to Imad
Abdullah Ali Ayoub, Deputy Chief of Staff, the General Military and Security Chief in the Homs
Governorate, dated 28 March 2012, SYR.D0124.013.004_ET at 004.
68
     See, e.g. Ex. C-4, Instruction from the Head of Military Intelligence Branch 243 (Ar-Raqah and
Deir-ez-Zor) to subordinate Sections and Detachments, dated 23 February 2012,
SYR.D0006.002.017_ET at 017.
69
     See, e.g. Ex. C-41, Military Intelligence Branch 243 instruction, dated 09 May 2011,
SYR.D0043.004.177_ET at 177. This requests Branch Sections and Detachments to comply with a
series of instructions relating to arrests. This includes informing the Head of the Intelligence
Department of the detention of any person even before he is brought to the Branch, verifying any
piece of information before arresting an individual or not, refraining from summoning a person
before obtaining approval of the Branch Head, and the writing of a report by arresting agents
explaining the details of the arrest. Annotation on the document indicates that the Investigation
Section of the Branch was to be sent this instruction for compliance.


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geographical areas of governorates, the subordinate Air-Force Intelligence units appeared to have

been structured around military commands. The Syrian Army and Armed Forces operated a series

of geographical military zones or commands throughout the country. These were called ‘Regional

Commands’. 70    These commands appear not to have equated exactly to single geographical

governorate boundaries but could cover parts of a number of governorates.            The Air-Force

Intelligence had subordinate branches that covered these regional military commands. 71 For

example, Military Intelligence Branch 261 covered Homs governorate, whereas the equivalent Air-

Force Intelligence Branch (named the Air-Force Branch in the Central Region) covered the Central

Region military command (which encompassed a wider area than just Homs governorate).72

       63.      Both Military Intelligence and Air-Force Intelligence were nominally linked to the

General Command of the Army and Armed Forces (as indicated in the annotation in the address

blocks on their documentation) 73 but de facto the key subordination for the Branches, sections,

detachments and personnel within these agencies came via their Heads (e.g. the Head of Military

Intelligence or the Head of the Air-Force Intelligence) and through their positions in the

NSB/CCMC. It should be noted that both the Head of Military Intelligence and the Head of Air-

																																																								
70
     The ‘Regional Commands’ of the Syrian Army and Armed Forces, which denote geographic
military commands are not to be confused with the ‘Regional Command’ of the Ba’ath Party, which
denotes the Syrian senior or national-level party/political leadership.
71
     Ex. C-83, Air-Force Intelligence Directorate Investigation Branch report to various Branches and
units of the Air-Force Intelligence, dated 13 August 2011, SYR.D0088.009.015_ET at 015.
72
     See, e.g. Ex. C-92, Branch 261 instruction to all army units in the Central Region, dated 21
February 2012 [sic] attaching a Communication from the Air-Force Intelligence Branch in the
Central Region to the Homs Security Chief, dated 20 March 2012 [sic], SYR.D0124.008.001-
002_ET at 002 (note that the discrepancy in dates is presumably a typographic error); Ex. C-111,
Communication from the Air-Force Intelligence Branch in the Central Region to the Homs Military
and Security Chief, dated 28 May 2012, SYR.D0124.027.002-003_ET at 002.
73
     See, e.g. Ex. C-83, Air-Force Intelligence Directorate Investigation Branch report to various
Branches and units of the Air-Force Intelligence, dated 13 August 2011, SYR.D0088.009.015_ET
at 015.


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Force Intelligence were members of the CCMC (alongside the Head of the NSB and the Deputy

General Commander of the Army and Armed Forces/Minister of Defence) further highlighting their

importance.74

       64.      The General Intelligence Directorate appeared to be structured on similar lines to the

other agencies with a headquarters and specialist branches located in Damascus and subordinate

branches operating in the governorates. Analysed documents have indicated that, in a similar

manner to Military Intelligence, the subordinate branches had a numeric reference identifier. These

included, for example, Branch 331 (Idleb),75 Branch 315 (Dar’a),76 and Branch 318 (Homs).77 In a

similar manner to Military Intelligence, the governorate branches themselves consisted of a series of

Branch Sections and Detachments within the governorate Branch.78 In a similar manner to the

Heads of Military and Air-Force Intelligence, the Head of the General Intelligence was a member of

the CCMC.79

       65.      Political Security also had its Department head in Damascus with subordinate

branches within the governorates. Unlike Military and General Intelligence, which utilised numeric

references for their subordinate branches, Political Security simply referred to the branch in the
																																																								
74
     Ex. C-129, Minutes of Meeting of the CCMC of 22 April, dated 23 April 2011,
SYR.D0183.015.018-020_ET at 019-020.
75
     See, e.g. Ex. C-86, Report from General Intelligence Branch 331 (Idlib) to the police, dated 23
July 2011, SYR.D0091.023.008_ET at 008.
76
     See, e.g. Ex. C-62, Report from Branch 315 (Dar’a) sent to the Commander of the Security
Group in Dar’a, dated 23 August 2011, SYR.D0065.002.011_ET at 011.
77
     See, e.g. Ex. C-112, Branch 261 report to all army units in Homs governorate, dated 31 March
2012, attaching Branch 318 report sent to the ‘Imad Deputy Chief of Staff of the Army and Armed
Forces, the Security and Military Chief in the Homs Governorate’, dated 13 March 2012,
SYR.D0124.027.004-005_ET at 005.
78
     See, e.g. Ex. C-37, Minutes of the Tal Abyad Security Committee, dated 10 October 2011,
SYR.D0043.004.031-032_ET at 031-032. It notes the presence of the Head of the Tal Abyad State
Security Section, Haytham Mashhour on the Committee.
79
     Ex. C-129, Minutes of Meeting of the CCMC of 22 April, dated 23 April 2011,
SYR.D0183.015.018-020_ET at 019.


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governorate in which it was based. As an example, the Homs Political Security branch was referred

to in this manner in official correspondence.80 As an organisation, Political Security fell within the

internal security forces of the Ministry of Interior,81 however, as noted for the other three agencies,

the NSB/CCMC de facto oversaw the work of Political Security with the Head of Political Security

also being a member of the CCMC.82

       66.     The various intelligence and security formations, branches, sections and units carried

out a wide range of tasks. In general they collected and disseminated security and intelligence

information that they then passed up and down their respective chains and on to other security

bodies.83 The information they collected and passed on dealt with an array of individuals and groups

deemed as a threat to the Regime, external threats and information on a variety of individual citizens

and organisations within the country. From the very beginning of the current crisis, the information

collected was notably wide ranging and particularly related to individuals who were suspected of

being members of or connected to opposition groups, demonstrators, members of opposition co-

ordination committees, 84 media activity 85 and/or those sending material to media channels or

																																																								
80
     See, e.g. Ex. C-101, Communication from the Homs Political Security Branch to the General
Military and Security Chief in Homs, dated 29 May 2012, SYR.D0124.017.004_ET at 004.
81
    See, e.g. Ex. C-80, Instruction from the Head of the Political Security Department to all Heads of
Security Branches in the governorates, dated 18 March 2011, SYR.D0081.033.005_ET at 005.
82
     Ex. C-129, Minutes of Meeting of the CCMC of 22 April, dated 23 April 2011,
SYR.D0183.015.018-020_ET at 019.
83
     See, e.g. Ex. C-73, Instruction from Military Intelligence Branch 243, dated 21 July 2012,
SYR.D0079.109.011_ET at 011. This was sent to all Branch Sections and Detachments passing on
instructions from a CCMC meeting.
84
     Ex. C-33, Report from Tal Abyad Military Intelligence Detachment to Branch 243, dated 13
October 2011, SYR.D0043.003.036-037_ET at 037. This responds to a request to supply a list of
the names of persons who were involved in anti-government political activities including ‘incitement,
funding, coordination committees, carrying arms and resisting patrols’.
85
     See, e.g. Ex. C-6, Report from Ras Al Ain Detachment to Military Intelligence Branch 222, dated
14 February 2011 in response to Circular from Head of Military Intelligence Branch 222, dated 13
February 2011 and Circular from Military Intelligence Branch 222, dated 03 February 2011,


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communicating with media deemed as hostile to the Regime.86 As an exampled of the importance

that the Regime placed on media activity, later in the conflict a ‘Special Task Force’ within Military

Intelligence appeared to have been established to specifically target Facebook users in order to collect

information on opposition activity.87

             67.           As noted earlier in this Report, the members of security and intelligence branches not

only reported through their own respective chains but Heads of governorate branches were key

members of governorate Security Committees.                                                Documented examples of minutes of Security

Committee meetings note that the functioning of these bodies allowed for high-level decisions to be

passed down to lower levels and the co-ordination of work by all security, political and military

personnel to occur in respective governorate areas.88

             68.           It is important to note that intelligence and security bodies were not simply passive

collectors or disseminators of information but were also very much involved in the active conduct of
																																																																																																																																																																																			
SYR.D0010.075.001-007_ET at 003. Branch 222 passes on a decision of the Head of the
Intelligence Department (based on an NSB decision) to intensify visits and flood the websites that
call for the organisation of demonstrations in Syria.
86
      See, e.g. Ex. C-36, Report form Military Intelligence Branch 243 to subordinate detachments,
dated 20 October 2011, SYR.D0043.004.010_ET at 010. This stated that there was ‘a marked
trend among the armed gangs to take advantage of assemblies’ with the aim ‘to film these demonstrations
and send the pictures via satellite channels’. It instructed that ‘inciters’ were to be monitored and
arrested in co-ordination with ‘the Directorate of Education, political party officials and the police in
order to prevent such demonstrations’; Ex. C-116, Report sent from Military Intelligence Branch 290
to the Head of the Military Intelligence (via Branch 291), dated 20 September 2011,
SYR.D0175.008.002-003_ET at 002-003. This provided details of 12 individuals who had been
arrested including those alleged to have demonstrated, posted comments on Facebook, incited others
to provide a live broadcast of a demonstration, and being of security interest by having a laptop with
clips of demonstrations.
87
     Ex. C-117, Military Intelligence ‘Special Task Force’ report to the Head of Military Intelligence,
dated 20 September 2011, SYR.D0175.010.017_ET at 017. This makes reference to information
gained from the monitoring of an activist who was using Facebook through using an account the
Special Task Force themselves had established.
88
     See, e.g. Ex. C-79, Minutes of the Deir ez-Zor Security Committee, dated 11 May 2011,
SYR.D0080.051.225-227_ET at 225. This makes reference to the presence of all the Heads of the
governorate intelligence/security branches at this Security Committee meeting.


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security operations. This included monitoring demonstrations and demonstrators, operating and

manning checkpoints, mounting joint operations with other security agencies or the military to

control specific areas, and arresting, interrogating and processing detainees.          Documentation

indicates that the information that the intelligence/security bodies were able to obtain came from an

array of different sources.      This included informants (sources) 89 information gained from

interrogations,90 having a presence on checkpoints,91 the interception of communications,92 and the

monitoring of the media.93


																																																								
89
     Ex. C-91, Branch 261 cover letter, dated 08 April 2012, attaching a cover letter from Branch 318
of the General Intelligence Directorate sent to ‘the Military Intelligence Branch in Homs, [t]he Air
Force Intelligence Branch in the Central Region [and] [t]he Political Security Branch in Homs’, dated 24
March 2012 and Branch 318 report to the ‘Deputy Chief of Staff of the Army and the Armed Forces,
Security and Military Chief of Homs Governorate’, dated 20 March 2012, SYR.D0124.006.001-003
at 001-003; Ex. C-95, Instruction from Military Intelligence Branch 261, dated 21 April 2012,
attaching General Intelligence Branch 318 report, dated 05 April 2012, sent to ‘Major General
Security Chief in Homs Governorate, Assistant to the Military Commander’, SYR.D0124.011.005-006
at 005-006; Ex. C-38, Communication from the Head of Military Intelligence Branch 294 to the
Heads of all Branches and also to the ‘Bureau of the Head of the Intelligence Department’, dated 02
September 2011, SYR.D0043.004.079_ET at 079.
90
     See, e.g. Ex. C-72, Instruction from the Head of the NSB to the Head of the Political Security
Department, dated 23 May 2011, SYR.D0077.209.009_ET at 009; Ex. C-34, Military Intelligence
Branch 243 instruction, dated 08 August 2011, SYR.D0043.003.286_ET at 286.
91
     See, e.g. Ex. C-121, Military Intelligence Branch 271 Report, dated 14 June 2011,
SYR.D0179.001.023-024_ET at 023-024. This gave details on the arrest and detention of an
individual at a checkpoint in Idleb. The individual was interrogated and admitted participating in
demonstrations.
92
     See, e.g. Ex. C-118, Report from Military Intelligence Branch 261 to Branch 271, dated 26
September 2011, SYR.D0175.011.039_ET at 039. This details information gained ‘through the
objective monitoring of the telephone calls’ of a named ‘target’; Ex. C-94, Branch 261 report to various
military units, dated 21 April 2012 attaching Branch 318 report to the ‘Deputy Chief of Staff of the
Army and Armed Forces[;] The Security and Military Chief in the Homs Governorate’, dated 03 April
2012, SYR.D0124.008.005-006_ET at 006. This document references information gained through
‘monitoring phone calls between suspects in Homs’.
93
     See, e.g. Ex. C-80, Instruction from the Head of the Political Security Department to all Heads of
Security Branches in the governorates, dated 18 March 2011, SYR.D0081.033.005_ET at 005.
This notes information gained and posted on Facebook and other websites calling for a protest on
17/18 March 2011.


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        69.     A critical function of the security agencies from the very beginning of the conflict

was the active monitoring of and dealing with demonstrations.             Documented references note

personnel directly involved in gathering information on demonstrations 94 and the arrest of

individuals who had demonstrated or were seen as opposition supporters.95

        70.     The intelligence and security agencies were also involved in disseminating to

branches wanted lists of individuals to be arrested and interrogated.96 As a result of this, a large

number of individuals were arrested, sent to and processed through the intelligence and security

branches from the beginning of the current conflict.




																																																								
94
     CIJA documentation notes numerous contemporaneous references on monitoring and collection
of information on demonstrators and opposition groups or individuals. See e.g, Ex. C-79, Minutes
of the Deir ez-Zor Security Committee, dated 11 May 2011, SYR.D0080.051.225-227_ET at 226.
This notes the Head of the Political Security Branch briefed the Committee on the situation,
including about protesters, and recommended the increase in agents in response to information
about a particular demonstration.
95
     See, e.g. Ex. C-74, Political Security Department, Special register for names of individuals arrested
during the security military campaign in Deir ez-Zur since 7/8/2011, SYR.D0080.048.001_ET and
Ex. C-75, Names of Investigation Section detainees for Monday 2/1/2012, dated 02 January 2012,
SYR.D0080.048.010-011_ET at 010. This register includes a series of reports from the
Investigations Department of the Deir ez-Zor Political Security to the Head of the Branch listing
names of persons arrested in the investigations department. One report, Ex. C-75,
SYR.D0080.048.010-011_ET at 010, lists 30 individuals arrested for a variety of reasons including
for being member of a coordination committee, ‘[p]articipation in protests’, ‘[p]rotesting and filming
protests in order to send it to agenda-driven channels’, ‘filming protests and public order units’, and
participation in armed attacks). See also Ex. C-121, Report from Military Intelligence Branch 271,
dated 14 June 2011, SYR.D0179.001.023-024_ET at 023, regarding the arrest and detention of an
individual at a checkpoint in Idleb (the individual was interrogated and admitted participating in
demonstrations).
96
     See, e.g. Ex. C-5, Circular from Military Intelligence Branch 294, dated 14 December 2011
SYR.D0006.008.006_ET at 006. It lists 21 individuals to be searched for and when arrested
brought to Branch 227 (Damascus). See also Ex. C-59, Request from Military Intelligence Branch
265 to the Commander of the 1st Corps, dated 13 December 2011, SYR.D0063.012.119_ET at
119, requesting the arrest of twelve individuals to be brought to the Branch (their details were to be
disseminated at checkpoints).


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        71.     Other operational activity of the intelligence and security branches included the

establishment and manning of checkpoints. 97 Although checkpoints served an obvious security

function they were also very much linked to the issue of arrests. Intelligence and security agents

were used directly in the field for this task and were utilised to stop and check vehicles, to monitor

those on wanted lists98 and arrest and detain individuals at checkpoints, which they ran themselves or

jointly with others.99

        72.     Members from intelligence and security branches were also involved in active

operations including raids, searches and joint-operations with the military. One CIJA provided

documentary reference is an exemplar of this type of activity. On 11 September 2011, the Political

Security Section in Abu Kamal (in Deir-ez-Zor governorate) wrote a report to the Branch Head of

Political Security in Deir-ez-Zor reporting on a joint operation involving all security agencies ‘with

the support of the army’. 100 The operation ‘tracked wanted individuals and militants’, searching for

these individuals by raiding ‘potential locations’ based on information they had. The security forces

arrested a large number of individuals who had allegedly taken part in attacking government

																																																								
97
     See, e.g. Ex. C-35, Branch 243 Circular, dated 21 October 2011, SYR.D0043.004.009_ET at
009. This requests that all heads of sections and detachments ‘activate the work of joint military
security checkpoints’.
98
     See, e.g. Ex. C-62, Report from General Intelligence Branch 315 (Dar’a) to Commander of the
Security Group in Dar’a, dated 23 August 2011, SYR.D0065.002.011_ET at 011. This calls for the
distribution to all security bodies and checkpoints instructions to remove from the wanted lists two
individuals who had been held by Branch 315 but had pledged not to take part in demonstrations,
riots or vandalism.
99
     See, e.g. Ex. C-35, Branch 243 Circular, dated 21 October 2011, SYR.D0043.004.009_ET at
009. This requests that all heads of sections and detachments ‘[a]ctivate the work of joint military
security checkpoints … in terms of sweeps and searches for wanted persons and suspects’. See also Ex. C-
121, Report from Military Intelligence Branch 271, dated 14 June 2011, SYR.D0179.001.023-
024_ET at 023. Notes the arrest and detention of an individual at a checkpoint in Idleb. The
individual was interrogated and admitted participating in demonstrations.
100
      Ex. C-89, Report from the Abu Kamal Political Security Section to the Head of the Deir-ez-Zor
Political Security, dated 11 September 2011, SYR.D0100.008.015-016_ET at 015.


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buildings and detachments in the area. Military Intelligence ‘fired to disband citizens’ leading to the

death of a woman and the injury to a 10 year old girl. Also of significance, the report referenced that

the:

        … [H]ead of Military Intelligence Mr. Major-General Abdel Fattah Qudsiyeh, and Deir
        ez-Zor governor Mr. Samir Al Sheikh, visited Abu Kamal and supervised the mission of
        the patrols. They met with the area’s officers and praised the remarkable job they did on
        that day. They encouraged them to double the work and exert effort to complete the
        implementation of the mission and arrest all wanted individuals and militants within 48
        hours.

The report also noted that Qudsiyeh:

        … reward[ed] Colonel Ghassan Abu Azzam, the Head of the Military Intelligence
        Detachment in Abou Kamal, with a bonus of fifty thousand Syrian pounds, and . . .
        reward[ed] the members of the detachment with a bonus of one hundred thousand Syrian
        pounds.101

        73.     The intelligence and security agencies were also actively involved in the passage of

information and intelligence in order for further action to be taken, either by other intelligence

branches or the military. 102 Some documentation from the intelligence/security bodies did not

necessarily specify the precise nature of the action that subordinate units, other branches or

recipients were to take (based on the provided intelligence). Some reports were evidently simply for

information (‘be informed’). Others noted phrases such as ‘take the necessary precautions’,103 take the




																																																								
101
     Ibid. at 016.
102
      See, e.g. Ex. C-95, Instruction from Military Intelligence Branch 261, dated 21 April 2012,
attaching General Intelligence Branch 318 report sent to ‘Major General Security Chief in Homs
Governorate, Assistant to the Military Commander’, SYR.D0124.011.005-006 at 005. The Branch
261 instruction with the attachment was being dispatched to various military units in Homs.
103
      See, e.g. Ex. C-92, Branch 261 instruction to all army units in the Central Region, dated 21
February 2012 [sic] attaching a Communication from the Air-Force Intelligence Branch in the
Central Region to the Homs Security Chief, dated 20 March 2012 [sic], SYR.D0124.008.001-
002_ET at 002.


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required or ‘necessary security and military measures’ 104 or ‘act accordingly’ 105 without further

expansion. This could indicate a degree of prior understanding on what action was to be undertaken

or the initiative expected on the part of the recipient without necessarily a need for precise details.

        74.     Many other references, however, were more specific, emphatic or instructive with

regard to the action to be taken. Instructions were often clear in their need to be followed with

phrases such as ‘abide by the content’,106 ‘full compliance’107 , ‘implement’ 108 or ‘comply’109 being noted.

From early on in the crisis and prior to the establishment of the Military and Security Chiefs in key

governorates in late 2011, 110 the process of dissemination particularly involved the passage of

information on demonstrations and the action to be taken against protesters,111 targeted individuals

and groups, 112 information regarding wanted lists, 113 arrests 114 and information of a general

																																																								
104
       See, e.g. Ex. C-94, Branch 261 report to various military units, dated 21 April 2012 attaching
Branch 318 report to the ‘Deputy Chief of Staff of the Army and Armed Forces[;] The Security and
Military Chief in the Homs Governorate’, dated 03 April 2012, SYR.D0124.008.005-006_ET at 006.
105
      See, e.g. Ex. C-91, Branch 261 cover letter, dated 08 April 2012, attaching a cover letter from
Branch 318 sent to the ‘the Military Intelligence Branch in Homs, [t]he Air Force Intelligence Branch in
the Central Region [and] [t]he Political Security Branch in Homs’, dated 24 March 2012 and Branch
318 report to the ‘Deputy Chief of Staff of the Army and Armed Forced[;] Security and Military Chief of
Homs Governorate’, dated 20 March 2012, SYR.D0124.006.001-003_ET at 001.
106
      See, e.g. Ex. C-127, Military Intelligence Branch 294 Circular, dated 20 April 2011,
SYR.D0183.003.010-011_ET at 011.
107
      See, e.g. Ex. C-32, Communication from Military Intelligence Branch 243 to all Military
Intelligence Sections and Detachments, dated 18 January 2011, SYR.D0043.002.009_ET at 009.
108
      See, e.g. Ex. C-26, Circular from the Operations Administration of the General Command of the
Army and Armed Forces, dated 19 July 2011, SYR.D0021.001.013-014_ET at 014.
109
      See, e.g. Ex. C-41, Military Intelligence Branch 243 instruction, dated 09 May 2011,
SYR.D0043.004.177_ET at 177.
110
      The creation of Governorate Military and Security Chiefs is addressed below in Section III.G.
The role of the Homs Military and Security Chief is examined below in Section IV.D.2.
111
      See, e.g. Ex. C-127, Military Intelligence Branch 294 Circular, dated 20 April 2011,
SYR.D0183.003.010-011_ET at 010-011.
112
      See, e.g. Ex. C-9, Communication from Military Intelligence Branch 294, dated 25 April 2012 to
various senior and Branch level addressees to search for and arrest an individual and bring them to
Military Intelligence Branch 227 (Damascus), SYR.D0015.014.140_ET at 140; Ex. C-116, Report
sent from Military Intelligence Branch 290 to the Head of the Military Intelligence (via Branch


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intelligence/security nature. It also included the dispatch of names to military units in order for

them to arrest individuals and pass them on to the intelligence branches. 115 The passage of

information was either achieved through the dissemination and sharing of information between the

various intelligence agencies or through the governorate Security Committees in which the Head of

governorate intelligence branches were members.116

             75.           With the further militarisation of the conflict in the autumn of 2011, Military and

Security Chiefs were appointed in tense governorates (including in Homs). These senior military

officers appeared to have been placed in charge of all security elements in these governorates.117 The

Military and Security Chief would consider recommendations from the intelligence/security

Branches prior to authorisation for further action.

             76.           Documentary references indicate that in Homs, the intelligence and security

branches would pass information and intelligence to the Homs Military and Security Chief making

																																																																																																																																																																																			
291), dated 20 September 2011, SYR.D0175.008.002-003_ET at 002-003; Ex. C-40,
Communication from Military Intelligence Branch 294, dated 17 August 2011 attaching
Communication from NSB to Secretary of the Ba’ath Party (Heads of Security Committees) in
Hama, Damascus Countryside, Deir ez-Zor, Homs, Idleb and Dar’a governorates, dated 06 August
2011, SYR.D0043.004.093-094_ET at 093 sent to all Branches to continue to discover and arrest
members of co-ordination committees.
113
      See, e.g. Ex. C-59, Military Intelligence Branch 265 to the Commander of the 1st Corps, dated 13
December 2011, SYR.D0063.012.119_ET at 119. Instructs to arrest eleven wanted individuals and
bring them to the Branch. Their details were to be disseminated at checkpoints,
114
      See, e.g. Ex. C-5, Communication from Military Intelligence Branch 294, dated 14 December
2011, SYR.D0006.008.006_ET at 006. Lists 21 individuals to be searched for and when arrested
brought to Branch 227 (Damascus).
115
      See, e.g. Ex. C-63, Request from Military Intelligence Branch 265 to the Commander of the 1st
Corps, dated 22 August 2011, SYR.D0065.002.092_ET at 092. Provides details of a named
individual. It was requested that the information to be circulated at military checkpoints and, if
arrested, the individual was to be transferred ‘alive’ the Branch 265.
116
      See, e.g. Ex. C-78, Minutes of meeting of the Security Committee for Deir-ez-Zor, dated 14
April 2011, SYR.D0080.051.117-121_ET at 118-120.
117
      Ex. C-120, Appointment order from the General Command of the Army and Armed Forces,
dated 26 November 2011, SYR.D0178.001.007_ET at 007.


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recommendations for action in this manner.             As well as making the kind of generic

recommendations that were observed in many other (earlier) intelligence documents (e.g. ‘take the

necessary measures’, ‘be informed’, ‘act accordingly’ etc.), a number of Homs related references note

recommendations to disseminate intelligence to other intelligence and security branches as well as

military units. 118 A small number of identified references from Homs later in 2012 also note

recommendations by the governorate Military Intelligence branch for military action to be taken

based on the provided intelligence including the setting up of ambushes119 and the use of artillery on

identified targets.120

        E.       ARMY AND ARMED FORCES

        77.      The Syrian Armed Forces are the main military forces of the Syrian state consisting

of the Syrian Arab Army, the Syrian Navy, the Syrian Air Forces and the Syrian Air-Defence Forces.

In accordance with the Syrian Constitution, the President, Bashar al-Assad, is the General

Commander of the Armed Forces.121




																																																								
118
      See, e.g. Ex. C-112, Branch 261 report to all army units in Homs governorate, dated 31 March
2012, attaching Branch 318 report sent to ‘Imad Deputy Chief of Staff of the Army and Armed Forces
The Security and Military Chief in the Homs Governorate’, dated 13 March 2012,
SYR.D0124.027.004-005_ET at 005.
119
      Ex. C-109, Branch 261 Report to the Homs Military and Security Chief, dated 28 March 2012,
SYR.D0124.024.004_ET at 004.
120
      Ex. C-93, Report from Branch 261 to the 11th Tank Division, dated 06 July 2012, attaching a
report from Branch 261 to the Homs Military and Security Chief, dated 26 June 2012,
SYR.D0124.008.003-004_ET at 004; Ex. C-97, Branch 261 report sent to the Homs Military and
Security Chief, dated 27 June 2012, SYR.D0124.013.002_ET at 002.
121
      Article 103, Syrian Constitution of 1973; Article 105, Syrian Constitution of 2012.


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       78.     According to the Syrian Constitution, the Minister of Defence is appointed and

removed by Presidential decree.122 The Minister of Defence is concurrently the Deputy General

Commander of the Army and Armed Forces.123

       79.     Directly subordinate to the Deputy General Commander of the Army and Armed

Forces /Minister of Defence is the Chief of Staff of the Army and Armed Forces. 124 Directly

subordinate to the Chief of Staff are a number of deputies (i.e., Deputy Chiefs of Staff). Along with

a series of departments, administrations, and branches, these officers and their staff make up the

General Command of the Army and Armed Forces. Subordinate to the General Command are all

the units, formations, training establishments and departments of the Army and Armed Forces.

       80.     At the beginning of the current conflict in Syria (i.e., from early 2011), the Deputy

General Commander of the Army and Armed Forces/Minister of Defence was Imad Ali Habib

Mahmoud125 and the Chief of Staff was Imad Dawoud Abdallah Rajiha.126 One of Rajiha’s Deputies

(i.e. a Deputy Chief of Staff) was Imad Munir Adanof. In April 2011, Adanof was sent to Homs as

a result of the deteriorating security situation there and appeared to operate as a senior Regime

military representative working closely with the Homs Security Committee. As part of this role, it

																																																								
122
      See Article 109, Syrian Constitution of 1973; Article 106, Syrian Constitution of 2012 (vesting
appointment and removal power in President).
123
      See, e.g. Ex. C-8, Circular No. 4, dated 26 February 2011, SYR.D0014.004.001_ET at 001.
Note the signature block of Imad Ali Muhammad Habib Mahmoud ‘Deputy General Commander of
the Army and Armed Forces ––Minister of Defence’
124
      See, e.g. Ex. C-11, Instruction, dated 09 June 2011, SYR.D0017.026.001-002_ET at 002.
References Lieutenant-General Dawoud Abdullah Rajiha as being the Chief of Staff of the Army and
Armed Forces.
125
      See, e.g. Ex. C-8, Circular No. 4, dated 26 February 2011, SYR.D0014.004.001_ET at 001.
Notes the signature block of Imad Ali Muhammad Habib Mahmoud ‘Deputy General Commander of
the Army and Armed Forces –– Minister of Defence’.
126
      See, e.g. Ex. C-11, Instruction, dated 09 June 2011, SYR.D0017.026.001-002_ET at 002.
References Lieutenant-General Dawoud Abdullah Rajiha as being the Chief of Staff of the Army and
Armed Forces.


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was noted that he was engaged in negotiations with opposition figures as well as assisting in the

response of the Regime to the escalating security problems and demonstrations in the governorate.127

       81.     Imad Ali Habib Mahmoud held the position of Minister of Defence/ Deputy

General Commander of the Army and Armed Forces until 08 August 2011 around the time of

significant changes in the senior leadership of the Army and Armed Forces.           On 08 August,

Mahmoud was replaced by Imad Dawoud Rajiha who, as referenced above, had been the Chief of

Staff.128 In essence, Rajiha was simply promoted up on the removal of Mahmoud. Imad Fahd Jasim

al-Freij, was promoted to replace Rajiha the Chief of Staff.129 Munir Adanof, who had been a

Deputy Chief of Staff was also removed around the same time that Lieutenant General Ali Habib

Mahmoud was removed as Minister of Defence/Deputy General Commander of the Army and

Armed Forces (August 2011). Major-General Ali Abdullah Ayoub, was appointed as a Deputy Chief

of Staff, most likely to replace Adanof.130 Prior to this, Ayoub had been Commander of the Syrian

Army 1st Corps (which had operated in the south of Syria, in particular in the Dar’a area where

elements had been deployed against demonstrators and opposition groups).131 A little later, two

																																																								
127
      Ex. C-145, CCMC Report on the Security Situation, dated 01 May 2011, SYR.E0001.006.014-
016_ET at 014.
128
      The earliest documentary reference to Rajiha as Minister of Defence currently identified in CIJA
held documentation is Ex. C-68, Circular from the Operations Commission of the General
Command of the Army and Armed Forces, dated 21 August 2011, SYR.D0071.026.009_ET at 009.
The last identified reference to Mahmoud in that position is Ex. C-20, Circular from the Operations
Commission of the General Command of the Army and Armed Forced from 02 July 2011,
SYR.D0018.071.005-004_ET [sic] at 004. Also note report in Reuters, dated 08 August 2011,
‘Syria’s Assad replaces Defence Minister’ at https://www.reuters.com/article/us-syria-assad-
minister/syrias-assad-replaces-defense-minister-idUSTRE7773KX20110808.
129
      Ex. C-12, Administrative instruction, dated 22 August 2011, SYR.D0017.027.001_ET at 001.
This deals with the punishment of an officer and is signed by ‘Imad Fahd Jasem al-Freij, Chief of
General Staff of the Army and Armed Forces’.
130
      Ex. C-57, Appointment order, dated 10 August 2011, SYR.D0063.010.008_ET at 008.
131
      Ex. C-64, Letter from the Ministry of Local Administration in Dar’a, dated 12 May 2011,
SYR.D0065.002.096_ET at 096.


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Zeidan.133 It is unclear exactly when Zeidan relinquished this position but it is evident that at some

time in either late 2011 or early 2012 he was replaced by Major-General Ibrahim Jasim al-Ghabn.134

Al-Ghabn had been the Commander of the Northern Region Command prior to this.135

       83.     As its name would suggest, the Operations Commission was the key branch of the

General Command that dealt with the operational matters of the Army and Armed Forces. It

disseminated instructions, information and circulars from the senior commanders to subordinate

levels and units. This included instructions referencing decisions of the President,136 those signed

directly by the Minister of Defence/Deputy General Commander of the Army and Armed Forces 137




																																																								
133
      See, e.g. Ex. C-25, Circular from the General Command of the Army and Armed Forces, dated
23 July 2011, SYR.D0021.001.012_ET at 012.
134
      Ex. C-27, Instruction to the Commands of the Central, Northern and Coastal Regions from the
Operations Commission of the Army and Armed Forces, dated 29 May 2012,
SYR.D0021.024.023_ET at 023. This references al-Ghibn as the Head of the Operations
Commission of the General Command; also note Ex. C-18, Proposal from the Acting Commander
of the Northern Region Command (Major-General Nazeer Sulieman Nouman), dated 17 January
2012, SYR.D0018.021.004-005_ET at 005. From these references it appears that at some time
between 21 December 2011 and 17 January 2012, al-Ghibn moved to become Head of the
Operations Commission at the General Command of the Army and Armed Forces.
135
      See, e.g. References to al-Ghibn as Commander of the Northern Region Command in Ex. C-24,
Instruction from the Command of the Northern Region on the provision of daily reports, dated 08
May 2011, SYR.D0020.090.004_ET at 004; Ex. C-7, Instruction from the Command of the
Northern Region, dated 21 December 2011, SYR.D0012.007.003-004_ET at 004.
136
      See, e.g. Ex. C-65, Administrative Order from the Strategic Operational Planning Department of
the Operations Commission, dated 10 April 2011, SYR.D0067.003.046_ET at 046.
137
      See, e.g. Ex. C-19, Circular, dated 24 July 2011 signed by Imad Ali Mohammed Habib
Mahmoud, then Deputy General Commander of the Army and Armed Forces and Minister of
Defence, SYR.D0018.071.001_ET at 001 and Ex. C-66, Circular, dated 21 August 2011 signed by
Imad Dawoud Rajiha, (who took over from Mahmoud in August 2011), SYR.D0069.029.001_ET
at 001.


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and the Chief of Staff138 as well as documents signed by the Head of the Operations Commission

himself.139

        84.      The General Command also consisted of a series of other specialist staff branches,

administrations, commands or departments.         Examples of this included the Organisation and

Administration Department,140 Officers’ Affairs Administration,141 Special Forces Command142 and

the Artillery and Rocket Forces. 143 These specialist bodies dealt with aspects of their relevant

competency and would disseminate instructions to the lower formations within their

specialisation.144

        85.      The General Command not only disseminated instructions and circulars to

subordinate units through the Operations Commission/Administration, it also initiated a process by




																																																								
138
      See, e.g. Ex. C-23, Circular, dated 13 January 2012 signed by Imad Fahd Jasem al-Freij, Chief of
Staff of the Army and Armed Forces, SYR.D0020.053.019_ET at 019 and Ex. C-113, Circular,
dated 24 April 2012, SYR.D0124.028.001_ET at 001.
139
      See, e.g. Ex. C-25, Circular from the General Command of the Army and Armed Forces, dated
22 July 2011, SYR.D0021.001.012_ET at 012.
140
       See, e.g. Ex. C-12, Administrative instruction, dated 22 August 2011, SYR.D0017.027.001_ET
at 001.
141
      See, e.g. Ex. C-138, General Command of the Army and Armed Forces, Officers’ Affairs
Administration promotion list, dated 31 December 2011, SYR.D0220.041.007-008_ET at 007.
142
      See, e.g. Ex. C-55, General Command of the Army and Armed Forces, Special Forces Command
instruction to the 46th Special Forces Regiment, dated 01 April 2012, SYR.D0061.003.001_ET at
001.
143
      See, e.g. Ex. C-140, Circular from the General Command of the Army and Armed Forces,
Artillery and Rocket Forces sent to the Commanders of Formations and Units, dated 22 August
2012, SYR.D0234.021.014_ET at 014.
144
      See, e.g. Ex. C-139, Circular from the Commander of the Artillery and Rocket Forces to the
Heads of Artillery of Corps, Divisions and Independent Regiments, dated 09 December 2012,
SYR.D0234.021.005-006_ET at 005-006.


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which daily reports were to be compiled by subordinate units and disseminated back up the chain of

command to the General Command.145

        86.      One example, on 07 May 2011, noted the General Command issuing an instruction

that units were to provide a daily report in writing on the situation up until 1800hrs that day.146

The report was to cover the situation in the area, activities carried out by the unit, losses (in detail

including injured, killed and equipment losses), details of opposition activity (including

demonstrations, acts of vandalism and disorder, shootings as well as information on opposition

members injured, killed and detained). Accuracy was requested and units were to bear responsibility

in cases of delay.147

        87.      In another instance, an instruction of 15 January 2012, issued by Imad Dawoud

Rajiha (then Deputy General Commander of the Army and Armed Forces/Minister of Defence)

stated that all heads of commissions, departments and administrations and commanders of forces,

troops, legions, formations and units were ‘requested to immediately report any emergency personally to

the General Command of the Army and Armed Forces - Operations Commission through the orderly

officer’. 148 A detailed report of the incident was to be sent later. The General Command also

disseminated circulars requesting details on those who had been killed.149

        88.      Taken together, these types of instructions point to a General Command exercising

command authority in order to ensure that it was kept informed through a daily reporting process
																																																								
145
      See, e.g. Ex. C-17, Instruction from the Northern Region Command, dated 08 May 2011, to
subordinate units based on an instruction of the General Command of the Army and Armed Forces
of 07 May 2011, SYR.D0018.019.001_ET at 001.
146
      Ibid.
147
      Ibid.
148
      Ex. C-22, Circular from the General Command of the Army and Armed Forces, dated 15
January 2012, SYR.D0018.071.014_ET at 014.
149
      See, e.g. Ex. C-21, Circular from the General Command of the Army and Armed Forces, dated
20 November 2011, SYR.D0018.071.008_ET at 008.


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from all its subordinate units. It should also be remembered that the Deputy General Commander

of the Army and Armed Forces/Minister of Defence was a key member of the CCMC and he would

most likely use these daily reports (that he expected to be provided by the subordinate military units)

to brief the other members of the CCMC on a regular basis.

       89.     Subordinate to the General Command of the Army and Armed Forces were all the

various formations, headquarters, units, training establishments and facilities of the military. By far

the largest components were the formations and units of the army. The Syrian Army is comprised of

a series of corps, divisions and independent brigades, the key operational formations of the army.150

       90.     The three corps of the army at the beginning of the current conflict were the 1st

Corps, the 2nd Corps and the 3rd Corps. In relation to Homs, the 3rd Corps covered the governorate.

At the end of 2011, the 3rd Corps consisted of three Divisions: the 11th Tank Division, the 18th Tank

Division and the 17th Mechanised Division. Elements of the 3rd Corps were actively engaged in

military operations in Homs, in particular the inspection operations that took place in 2011, the

establishment and operation of checkpoints in and around the city of Homs, the shelling of the city

and the main attack on the Baba Amr neighbourhood in February 2012.

       91.     A separate Special Forces Command existed (part of the General Command of the

Army and Armed Forces) and the Commander of the Special Forces in 2011 and into early 2012

was Major General Fuad Ahmad Hammouda.151



																																																								
150
      See, e.g. Ex. C-137, Undated annex, SYR.D0220.004.009-012_ET at 009-012; Ex. C-19,
Circular, dated 24 July 2011, SYR.D0018.071.001_ET at 001; Ex. C-27, Instruction to the
Commands of the Central, Northern and Coastal Regions from the Operations Commission of the
Army and Armed Forces, dated 29 May 2012, SYR.D0021.024.023_ET at 023.
151
      See Ex. C-55, Special Forces Command instruction to the 46th Special Forces Regiment, dated 01
April 2012, SYR.D0061.003.001_ET at 001.


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       92.     The Special Forces as a whole appeared to have consisted of two Special Forces

divisions (the 14th Division152 and the 15th Division153) as well as a number of independent Special

Forces regiments.154

       93.       The Special Forces appear to have been deployed countrywide as individual units

(or sub-units) and where this happened they seem to have been placed under the command of the

senior military commander of the area of their deployment. One example of this is in Homs, where

evidence indicates that in early 2012 the elements of the 41st and 554th Special Forces Regiments

were deployed, although they came under the command of the Homs Military and Security Chief.155

       94.     Aside from the three key Corps and the units of the Special Forces Command, two

other important units should be referenced. These are the 4th Tank Division156 and the Republican

Guard.157 The 4th Tank Division has historically been seen as an elite unit of the army and is

regarded as having some of the best equipment available. The Division is based in Damascus.



																																																								
152
      See Ex. C-122, Military Intelligence Branch 271 letter, dated 25 June 2012,
SYR.D0179.004.050_ET at 050. This makes reference to the movement of ‘Battalion /963/ of
Regiment /556/ Division /14/Special Forces’ to Idleb.
153
      See, e.g. Ex. C-146, CCMC report on the Security Situation, dated 03 May 2011,
SYR.E0001.006.020-023_ET at 023. This noted that in Dar’a security forces, along with units
from the 15th Special Forces Division and the 7th Mechanised Division, were inspecting farms and
arresting wanted individuals.
154
      Ex. C-56, Document from the 46th Special Forces Regiment, dated 03 January 2012,
SYR.D0061.028.114_ET at 114. This document is annotated ‘Extract from the Commands and
Formations Code Manual’ and gives the communications codes for the various Regional Commands
and Special Forces units; Ex. C-108, Military Intelligence Branch 261 letter, dated 03 April 2012,
SYR.D0124.024.003_ET at 003.
155
      Ibid.
156
      Ex. C-16, Letter from the 4th Tank Division to the Infantry Training School, dated 30 October
2011, SYR.D0018.014.026_ET at 026; Ex. C-15, List of officers from the 4th Tank Division
selected to attend a platoon commander’s course, dated 13 November 2011,
SYR.D0018.013.005_ET at 005.
157
      See, e.g. Ex. C-104, Branch 261 report sent to ‘Mr. Major General Naim Jassem Suleiman


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Command covered the governorates of Homs and Hama. In terms of the function of the Regional

Commands, it appears that they generally fulfilled (at least in part) a garrison, administrative or

logistic/support function to the operational units stationed within their area.

             F.            Governorate Security Committees

             97.           A critical body utilised by the Syrian Regime from the beginning of the current

conflict was the governorate-level Security Committees.159 The Security Committees were not a new

phenomenon, having existed before the current crisis. These were, in fact, long-standing Ba’ath

Party bodies that brought together senior representatives from all the key political, military, police

and intelligence/security branches within the governorate in order to discuss, plan, co-ordinate and

disseminate information on security related matters.

             98.           The Security Committee provided an important mechanism by which the Regime

could ensure that information was sent to and disseminated from the governorates, that plans and

directives could be sent from the national leadership (the CCMC and NSB) and that these plans and

decisions were implemented by all the relevant governorate-level security bodies. The Security

Committees also facilitated a flow of information between the various intelligence/security, political

																																																																																																																																																																																			
Formations Code Manual’ and gives the communications codes for the various Regional Commands
and Special Forces units.
159
      The governorate Security Committees, which were well-established prior to the 2011 crisis,
should not be confused with the ad hoc structures that were formed later in 2011 in a number of
tense governorates as part of the Regime’s militarisation of the conflict. Unlike the regular Security
Committees, these ad hoc structures were headed by a senior military official with a deputy (normally
from an intelligence agency). They were called by a variety of names like the ‘General Military and
Security Chief in the Homs Governorate’ or simply ‘Military and Security Chief’ (See, e.g. Ex. C-99,
Intelligence report from Military Intelligence Branch 261 to Imad Ali Abdullah Ayoub, Deputy
Chief of Staff –The General Military and Security Chief in the Homs Governorate, dated 28 March
2012, SYR.D0124.013.004_ET at 004) or in Idleb, the ‘Head of the Security and Military
Committee’ (See, e.g. Ex. C-126, Communication from the Security and Military Committee in
Idleb, dated 13 February 2012, SYR.D0181.056.025_ET at 025). These ad hoc bodies are discussed
below, in Section III.G.


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and military bodies within the governorate by acting as a key co-ordinating body for all security

related issues.

        99.       Documentary evidence indicates that the Security Committees within the various

governorates operated along similar lines. The governorate Ba’ath Party Secretary was normally the

Head (or Chairman) of the Security Committee with additional representation from the political

leadership normally being added through the presence of the Governor. The Heads of the various

governorate security/intelligence branches and the chief (or head) of the governorate police were

members and often some military representation was noted.160

        100.      Homs governorate operated a Security Committee in much the same manner as

other areas. One early reference to the existence of the Homs Security Committee is dated 12 April

2011.161 This composite security report of the CCMC noted that the Homs Security Committee

‘confirmed that pre-emptive measures’ were going to be taken in order to prevent any ‘negative

demonstration’ from taking place. It recommended to the CCMC the tracking and arrest of rioters

in various areas in Homs (including Bab Amr).162

        101.      The tasks of the governorate Security Committees were notably varied but their

primary function was to co-ordinate the general security response of all the security elements in the

governorate.      Tasks identified in contemporaneous documentation included co-ordinating and




																																																								
160
      See, e.g. Ex. C-78, Communication from Deir ez-Zor Branch of the Ba’ath Party, dated 15 April
2011 attaching minutes of meeting of the Security Committee for Deir-ez-Zor held on 14 April
2011, SYR.D0080.051.117-121_ET at 117-121.
161
      Ex. C-150, CCMC Report on the Security Situation, dated 12 April 2011, SYR.E0001.006.064-
067_ET at 064.
162
      Ibid.


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mobilising of Ba’athist or loyalist groups,163 dealing with the arrest164 or summoning of ‘instigators’

and demonstrators165 and planning for and overseeing inspection or security operations.166

       102.    The Security Committees were closely linked to the highest levels of the Regime

through their relationship with the CCMC and the NSB. The Security Committees allowed for the

passage of information and instructions to and from these national level bodies and as the crisis

developed in Syria, the Security Committees provided an important mechanism by which the

CCMC/NSB collected information about developments in each of the governorates and were able to

disseminate back decisions and plans for implementation at the local level. References in CCMC

reports clearly indicate that information from the governorate Security Committees was being

received by the CCMC with the regular reports on the security situation compiled in governorate

order summarising the security information from these specific areas.167

       103.    Other CCMC reports also note that specific requests were made by Security

Committees to the CCMC for a decision and authority and subsequently acted upon. A series of

references from Homs in July 2011 clearly demonstrates a communication process between the

CCMC and the Homs Security Committee. As the situation in Homs deteriorated through the

summer months of 2011, the Homs Security Committee both received instructions from and

																																																								
163
      See, e.g. Ex. C-78, Communication from Deir ez-Zor Branch of the Ba’ath Party, dated 15 April
2011 attaching minutes of meeting of the Security Committee for Deir-ez-Zor held on 14 April
2011, SYR.D0080.051.117-121_ET at 120.
164
      Ibid.
165
      See, e.g. Ex. C-124, Report from the Head of the Security Committee in Idleb to the NSB, dated
23 April 2011, SYR.D0180.039.036_ET at 036; Ex. C-184, Minutes of Meeting of the Security
Committee for Ar-Raqqa of 09 May 2011, dated 10 May 2011, SYR.E0006.001.007-008_ET at
008.
166
      See, e.g. Ex. C-171, Minutes of a CCMC Meeting held on 20 July 2011, dated 21 July 2011,
SYR.E0001.015.003-004_ET at 003.
167
      See, e.g. Ex. C-149, CCMC report on the security situation in the region, dated 11 May 2011,
SYR.E0001.006.061-063_ET at 063.


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suggested plans back to the CCMC for more aggressive security operations.168 On 17 July 2011, the

CCMC met and after ‘examining the security situation, the developments in current and expected events’

and ‘appropriate methods to handle the situations’ tasked:

        . . . the [S]ecurity [C]ommittee in the governorate of Homs to implement the following:

        - Conduct inspection in the city districts that need to be urgently inspected;
        - Start immediately from the eastern city districts and arrest the wanted persons;
        - Search for the perpetrators of crimes and hand them over to the judiciary[.]169

        104.      Based on this, it is evident that the Homs Security Committee had received the

tasking and submitted proposals back to the CCMC for its execution. On 20 July 2011, the

CCMC again discussed the situation in Homs.170 It noted that:

        The situation in the city of Homs was examined alongside the chances of the situation
        evolving and the security violations perpetrated in the city. Available means for controlling
        the situation, enforcing state authority and catching instigators, offenders and perpetrators
        of terrorist acts were reviewed. Propositions submitted by the Homs Governorate Security
        Committee were studied.

        [. . .]

        The importance of all security agencies and committees committing to the implementation
        of decisions issued by the leadership was underlined, in addition to holding accountable
        neglecters and non-compliers with specified missions and the importance of changing the
        members of some security committees and agencies.171

One of the decisions taken at the CCMC meeting was to:

        Assign[ ] Comrade Head of the National Security Bureau and Comrade Minister of [the]
        Interior to meet with the Homs Governorate Security Committee to discuss their
        propositions submitted on 20/7/2011 on the ground, arrive at and proceed with


																																																								
168
      These operations were often referred to as ‘inspection’ operations. See, e.g. Ex. C-181, CCMC
Decision No 3413, dated 18 July 2011, SYR.E0001.017.001_ET at 001. This instructs the Homs
Security Committee to ‘conduct inspection in the neighbourhoods that need to be urgently inspected’.
169
      Ibid.
170
      Ex. C-171, Minutes of a CCMC Meeting held on 20 July 2011, dated 21 July 2011,
SYR.E0001.015.003-004_ET at 003-004.
171
      Ibid. at 003-004.


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         implementing the best decisions, and identify the actual needs of military units necessary
         for completing all missions.172

         105.     On 24 July, the CCMC assigned the Head of the NSB and the Minister of Interior

to visit Homs and ‘discuss the plan of the [S]ecurity [C]ommittee in the governorate to address the

security situation on the ground’ and ‘to study the possibility of launching dialogue with community

figures in the city to achieve security and stability there and finalize the implementation of the balanced

inspection plan of its city districts’.173

         106.     A few days after this, the CCMC reported that an inspection operation was

underway in neighbourhoods of Homs174 and that on 01 August 2011, an inspection operation in al-

Bayada neighbourhood had resulted in the arrest of forty-one individuals.175

         107.     Despite the activity of the CCMC, NSB and the Security Committees in suppressing

the opposition during the spring and summer months of 2011 the security situation in Syria was not

resolved, in fact it significantly worsened. Attacks on demonstrators, large scale arrests of opposition

members, media activists and co-ordinators as well as the implementation of forceful military and

security operations led to a hardening of opposition support and the gradual growth and escalation

of armed opposition activity to defend opposition areas and attack security elements. In turn, the

Regime ratcheted up their own response.

         108.     The period around the appointment of Hassan Turkomani as the Head of the

CCMC in October 2011 was a pivotal point that further escalated the direct engagement of the

																																																								
172
      Ibid. at 004.
173
      Ex. C-172, Minutes of a CCMC Meeting held on 23 July 2011, dated 24 July 2011,
SYR.E0001.015.005-007_ET at 007.
174
      Ex. C-143, CCMC Report on the Security Situation in the country, dated 29 July 2011,
SYR.E0001.005.024-025_ET at 024.
175
      Ex. C-141, CCMC Report on the Security Situation in the country, dated 01 August 2011,
SYR.E0001.001.003-005_ET at 003.


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national leadership and significantly militarised the Regime’s response. The role of the Security

Committee as the key focal point in the governorates began to shift (in particular in the tense

governorates of Idleb, Homs, Hama and Dar’a where opposition activity was particularly strong). In

essence, in these governorates the role of the regular governorate Security Committee changed

around the autumn of 2011 with the appointment of senior military officials to command the

security forces in the governorate. It appeared that the senior leadership of the Regime believed that

the Security Committees had not been able to fully control the worsening security situation and

there was a need to further militarise the response. These new Military and Security Chiefs were

appointed as an attempt to better co-ordinate all the security operations in the governorate,

especially in response to the growth and activity of armed opposition groups.

        G.      GOVERNORATE MILITARY AND SECURITY CHIEFS

        109.    In the autumn of 2011, responding to the worsening crisis, the national leadership

significantly tightened their control and began implementing a series of measures to further suppress

opposition activity and defeat armed groups that were being formed and beginning to grow. These

measures included the appointment of senior military officers (‘Military and Security Chiefs’)176 in

order to take charge of security operations in tense governorates and better co-ordinate the work of

all security, intelligence and military bodies in these areas.

        110.    A key period in the establishment of the Military and Security Chiefs appeared to be

around late October 2011, following the appointment of Hassan Turkomani as Head of the

CCMC. The minutes of the CCMC meeting of 22 October previously referenced in this report
																																																								
176
      The term in Arabic that appears in the documents for this particular position is mas’ul. A literal
translation would be ‘the person responsible for’ as in ‘the person responsible for the Military and
Security’. An accepted translation for this word in English would be ‘Chief’ or ‘Official’. In order to
have a succinct translation for this particular position, for the purposes of this brief the word ‘Chief’
will be used although ‘Official’ would also be acceptable.


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discussed a series of wide-ranging issues including detailed instructions to plan for the ‘next phase’ of

their work.177 Turkomani stressed that problems would be meticulously and objectively studied, that

every issue would be ‘soundly analyzed’, solution-oriented conclusions reached, decisions taken and

recommendations would be raised to the President for ratification.178 New work mechanisms would

be presented and the implementation of decisions and plans would be followed by ‘intervention’

when dysfunction was noted. The importance of seeking to ‘create a welcoming environment for

implementing elements’, methods ‘to win the public opinion’ and ‘render residents cooperative’ was

discussed.179

        111.    Discussions at this meeting also centred on the weaknesses of the security apparatus

and the ‘importance of binding security agencies to fully and seriously implement’ the tasks of the

CCMC.180 The value of fieldwork was studied and the need for the CCMC to move to some crisis

areas ‘for a day or two to study the field situation and radically solve the problem’ was highlighted.181

        112.    The CCMC made several decisions at this key meeting including that: CCMC

personnel were to carry out field visits to supervise the implementation of tasks; circulars and written

orders were not to be considered sufficient in the implementation of instructions; tasks were to be

clearly specified; and ‘implementing elements’ were to set work plans, file follow-up reports and

monitor the implementation of plans.182 The clear message from this particular meeting was of a

CCMC, under a new chairman, attempting to control a deteriorating security situation by

tightening procedures and further gripping the security response.
																																																								
177
      Ex. C-176, Minutes of Meeting of the CCMC on 22 October 2011, dated 23 October 2011,
SYR.E0001.015.022-023_ET at 022.
178
      Ibid.
179
      Ibid.
180
      Ibid.
181
      Ibid.
182
      Ibid. at 023.


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        113.    As part of this tightening of control, a few days later the CCMC decided to more

closely monitor the work of the governorate Security Committees by placing a ‘commander’ to

supervise their work.183 The minutes of a CCMC meeting on 26 October note:

        The role and importance of implementing decisions made by [S]ecurity [C]ommittees were
        examined, and a commander was nominated to be in charge of supervising the
        implementation of these decisions by security agencies and military units according to the
        content of each decision.184

        114.    References at this meeting also note that the members of the CCMC were beginning

to implement the decision they had taken days earlier with regard to field visits and the enhanced

role of individuals within the CCMC. It was specifically noted, for example, that Major-General

Muhammad Dib Zeitoun, the Head of the Political Security Department was to ‘command security

agencies and armed forces units’ in Homs governorate.185 This appeared to have enhanced Zeitoun’s

role as he had, in early September, been tasked simply ‘to follow up on the mission assigned to him in

the governorate of Homs’.186

        115.    In November, an important series of discussions and decisions in the CCMC

indicated clearly that the leadership believed additional measures were needed to further strengthen

the command and control of security bodies in key governorates. On 19 November 2011, a

discussion took place within the CCMC regarding the ‘positive effect of replacing or transferring some

heads of security and police sections or agencies who have fallen short of fulfilling their professional




																																																								
183
      Ex. C-178, Minutes of CCMC Meeting on 26 October 2011, dated 27 October 2011,
SYR.E0001.015.028-030_ET at 028.
184
      Ibid.
185
      Ibid. at 029.
186
       Ex. C-174, CCMC Minutes of the Meeting, dated 04 September 2011, SYR.E0001.015.017-
018 at 018.


                                                   56
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duties.’187 Taken together with the earlier decision to have a senior figure from the CCMC to

command the Security Committees, the implication here was that the leadership was unhappy with

the leadership at governorate level in tackling effectively the security situation.

        116.     Two days after the 19 November discussion, further enhancements were proposed

with the CCMC considering:

        the positive impact of appointing military commanders with recognized competence and
        experience to command operations, especially in hot governorates; vesting them with the
        power to command all superiors and heads of civil, military and security agencies in the
        district; and the importance of coming up with creative solutions to end the crisis[.]188

        117.     Reinforcing that the commanders being considered were to be military (i.e. army)

personnel (rather than civilian or intelligence/security officials), the Minister of Defence (Imad

Dawoud Rajiha – who was concurrently the Chief of Staff of the Army and Armed Forces) was

tasked to ‘propose the appropriate commanders for operations in hot governorates: Idleb – Hama –

Homs… etc’.189

        118.     This decision is of critical importance in marking a shift in the command and control

of security operations from the civilian/intelligence/security bodies to the military (at least in the

governorates that were destabilising and witnessing significant security problems). The national

leadership clearly believed that the measures taken in the previous months had not been fully

successful and the bodies tasked with controlling the situation had been unable to achieve the aim of

suppressing and defeating opposition activity. The situation had evidently deteriorated to such a

degree that experienced military commanders needed to take charge.

																																																								
187
     Ex. C-179, CCMC Minutes of the Meeting on 19 November 2011, dated 20 November 2011,
SYR.E0001.015.043-045_ET at 044.
188
      Ex. C-180, Minutes of the CCMC Meeting on 21 November 2011, dated 22 November 2011,
SYR.E0001.015.046-048_ET at 047.
189
      Ibid at 048.


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       119.    It is clear that the Minister of Defence did as he was tasked in proposing

commanders as, on 23 November (i.e. within two days), the CCMC instructed him to issue special

orders to ‘appoint the commanders with the powers to command the operations in the tense

governorates’.190 This instruction was, in turn, seemingly actioned by the Minister of Defence as

documentary references note that in Idleb, Hama and Homs, military commanders were appointed

to take charge of security operations in those governorates.

       120.    An important piece of documentary evidence identifying the appointment process of

a senior army commander (as instructed by the CCMC) comes from Idleb governorate. Three days

after the CCMC meeting of 23 November in which the Minister of Defence was tasked to appoint

commanders, an order was issued, authorised by the President and signed by the Deputy General

Commander of the Army and Armed Forces/Minister of Defence (Rajiha), appointing Major

General Fuad Hammouda (who at that time was the Commander of the Special Forces) to

command all security forces (military, intelligence/security and civilian bodies) in Idleb

governorate. 191 The appointment order essentially centralized all civilian, military and security

personnel under Hammouda’s command, making him the most important security commander in

Idleb. The order specified that Hammouda was to be:

       … charged with the command of all military units and formations, the different security
       forces, the internal security forces and the government and party authorities in Idleb
       Governorate and is considered head of the [S]ecurity [C]ommittee’.192


																																																								
190
     Ex. C-189, Minutes of the CCMC Meeting on 23 November 2011, dated 24 November 2011,
SYR.E0013.002.058-059_ET at 059.
191
      Ex. C-120, Administrative Order from the General Command of the Army and Armed Forces,
dated 26 November 2011, SYR.D0178.001.007_ET at 007. That President Bashar Al-Assad
appears in the signature block of Hammouda’s appointment order indicates the high level of
decision-making that this appointment entailed.
192
      Ibid.


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        121.    This order effectively delegated the powers of the Security Committee to Hammouda

and made him the commander of all the security elements in Idleb. After this date, documentary

references noted the intelligence/security branches sending information reports to the ‘Major

General, Head of the Security Committee’193 (i.e. Hammouda) and what was known in Idleb as the

‘Head of the Security and Military Committee’.194

        122.    The order appointing Hammouda to command all security bodies in Idleb was

dispatched to the Ministry of Interior, Heads of the Intelligence/Security agencies in Damascus, the

CCMC, and the Special Forces Commander.195 This wide distribution was presumably because the

various organisations needed to be informed in order to ensure that the order was complied with

particularly because these security bodies were not usually under the command of the army.

        123.    It is of note that the order also stipulated that a daily report was to be compiled

containing ‘all activities’ carried out in the governorate and was to be sent to the Operations

Commission of the General Command of the Army and Armed Forces.196 This would appear to

again underscore the primacy of the army in Idleb from this point onwards.

        124.    The establishment of a security body headed by a senior military officer was not

limited to Idleb governorate. The CCMC decisions that discussed the issue of placing military




																																																								
193
      See, e.g. Ex. C-125, Communication from Branch 331 to ‘Major General, Head of the Security
Committee of the Governorate of Idleb’, dated 10 February 2012, SYR.D0181.053.027_ET at 027.
194
      See, e.g. Ex. C-126, Communication from the Security and Military Committee in Idleb, dated
13 February 2012, SYR.D0181.056.025_ET at 025. This reference is signed by ‘Paratrooper Major
General Fuad Ahmad Hammouda[,] Commander of the Special Forces[,] Head of the Security and
Military Committee in the Governorate of Idleb’.
195
     Ex. C-120, Administrative Order from the General Command of the Army and Armed Forces,
dated 26 November 2011, SYR.D0178.001.007_ET at 007.
196
      Ibid.


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commanders in charge focussed on the ‘hot governorates’ of ‘Idleb – Hama – Homs’.197 Documented

references note that along with Idleb and despite being referred to by slightly different titles, military

commanders were indeed appointed in Homs,198 and Hama199 governorates. Furthermore, earlier in

2011 a ‘high-level political and military committee’ was established in Dar’a to deal with the

demonstrations that had erupted in the early months of the conflict. 200 It is very possible that the

model from Dar’a, involving the establishment of some form of joint military/security structure was

simply adopted later in the year as the security situation deteriorated in the other tense governorates.

        125.    Two points underscore the importance of the Military and Security Chiefs: firstly,

the discussion and decision-taking that resulted in the establishment of Military and Security Chiefs

in key governorates occurred at the highest level at the CCMC. Secondly, the individuals appointed

to these positions had significant seniority. As noted above, in the initial discussions at the CCMC,

it was proposed to appoint military commanders ‘with recognised competence and experience to

command operations’.201 In Idleb, the appointed military official was the Head of the Special Forces,

Fuad Hammouda, who had been operating in that governorate since the summer of 2011. In

Homs, the individual appointed was a Deputy Chief of Staff of the Army and Armed Forces, Major

General Ali bin Abdullah Ayoub.202 Not only was the position that Ayoub held significant (one of

																																																								
197
      Ex. C-180, Minutes of the CCMC on 21 November 2011, dated 22 November 2011,
SYR.E0001.015.046-048_ET at 048.
198
       See, e.g. Ex. C-99, Report from Military Intelligence Branch 261 to the ‘General Military and
Security Chief in the Homs Governorate’, dated 28 March 2012, SYR.D0124.013.004_ET at 004.
199
       See, e.g. Ex. C-30, General Intelligence Branch 320 report to the ‘Security and Military Chief in
the Hama Governorate’, dated 29 November 2012, SYR.D0035.053.029_ET at 029.
200
      Note the Ex. C-129, Minutes of Meeting of the CCMC of 22 April, dated 23 April 2011,
referencing that a ‘high-level political and military committee will be established to command action in
the governorate of Dar’a’, SYR.D0183.015.018-020_ET at 020.
201
      Ex. C-180, Minutes of the CCMC on 21 November 2011, dated 22 November 2011,
SYR.E0001.015.046-048_ET at 047.
202
      Ex. C-57, Appointment Order, dated 10 August 2011, SYR.D0063.010.008_ET at 008.


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the most senior army officers of the Regime), but he had been involved in security tasks in Dar’a

earlier in 2011.203

        H.      REGIME LOYALIST FORCES

        126.    Although the Syrian Regime predominately utilised the formal security structures

(the security and intelligence agencies, army and police) to suppress anti-Regime demonstrations and

organisations and to confront the growing armed opposition groups, its security response also

featured the mobilisation and use of pro-Regime loyalist (or paramilitary) groups. As discussed

below, documentary evidence indicates that such groups were mobilised, utilised and worked with or

were folded directly into the formal security apparatus from the outset of the Syrian conflict.

Evidence indicates that such groups were used in security operations that included the suppression of

demonstrations, the guarding of facilities, employment on checkpoints and operationally securing

territory taken back from the opposition control.

        127.    The term routinely utilised to reference such paramilitary groups is ‘shabbiha’. This

has, to a degree, become a common colloquial and, at times, ill-defined or ‘catch-all’ label used to

reference an array of organised groups especially where their identity may be unclear. In essence,

shabbiha can be a potentially unhelpful phrase that can mask a number of recognised pro-Regime

groups. These can include mobilised pro-Regime loyalists, Ba’athist supporters, village defence

forces, tribal groups, Regime Popular Committees and other paramilitary groups.204

																																																								
203
      Ex. C-64, Letter from the Ministry of Local Administration in Dar’a, dated 14 May 2011,
SYR.D0065.002.096_ET at 096.
204
      As a term, shabbiha has generated something of its own momentum in the Syrian conflict. It has
been utilised heavily by the opposition, routinely used by the media and international actors but
does not always assist in understanding the context, nuance, variety or development of key defined
Regime loyalist or paramilitary groups nor their link to the formal security structures. It is also not a
phrase routinely utilised by the Syrian authorities in their own documentation. For the purposes of
this report, the term, shabbiha will not be used preferring, where possible, to identify the specific


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             128.          Documentary references indicate that pro-Regime loyalist groups were mobilised and

utilised from the very early stages of the conflict. Initially such groups were used as a means of

detecting opposition activity and as additional eyes and ears for the Regime.205 As demonstrations

and opposition activity spread, however, the Regime enhanced the activity of many loyalist

supporters and groups. Not only were they used as a means of reporting or intelligence gathering

but they were further mobilised or placed on a high alert206 and their activity streamlined.207 They

were engaged directly in the monitoring of mosques and opposition activity208 and they reported on

or directly confronted the actions of opposition supporters. 209 Such groups included Ba’athist

loyalists, trade unionists, loyal student groups, local ‘popular’ or partisan organisations, community

leaders and influential dignitaries.210


																																																																																																																																																																																			
groups linked to the Regime itself or using the more generic term pro-regime ‘loyalist’ or
‘paramilitary groups’.
205
      See, e.g., Ex. C-48, Military Intelligence Branch 243 (Deir-ez-Zor and ar-Raqqah) instruction,
dated 02 March 2011, SYR.D0043.004.250_ET at 250. This instructs to ‘mobilise and activate all
security personnel, informers, sources, political party divisions, popular organizations, leaders of National
Progressive Front parties and all friends who should be mobilised to detect any graffiti, publications or
assemblies within their work areas.’
206
      Ex. C-45, Instruction from Tal Abyad Military Intelligence Branch, dated 30 March 2011,
SYR.D0043.004.214_ET at 214. This instructed that (after a meeting of the local Security
Committee) ‘Baathist comrades, popular organisations and community leaders’ were to be placed on a
state of high alert and they were instructed ‘to be vigilant to detect any movement that attempts to
disrupt security’.
207
      Ex. C-52, Report from Tal Abyad Military Intelligence Branch, dated 08 April 2011,
SYR.D0043.005.107_ET at 107.
208
      Ex. C-43, Military Intelligence Branch 243 instruction, dated 31 March 2011,
SYR.D0043.004.210_ET at 210. This instructed subordinate detachments and sections that the
‘party apparatus – active members and supporters –’ should be mobilised and ‘urged to be present at
mosques in large numbers’.
209
      See, e.g. Ex. C-42, Military Intelligence Branch 243 instruction to all sections and detachments,
dated 06 April 2011, SYR.D0043.004.203_ET at 203.
210
      See, e.g. Ex. C-77, Minutes of the Security Committee in Deir-ez-Zor, dated 25 March 2011,
SYR.D0080.051.090-094_ET at 091-092; Ex. C-51, Military Intelligence Branch 243 instruction,
dated 11 April 2011, SYR.D0043.005.100_ET at 100.


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         129.   The Ba’ath Party was clearly able to provide the most convenient and effective

structure to draw upon and Ba’athist loyalists became quickly (and heavily) utilised by the Regime in

tackling the demonstrations as they grew in size and intensity. The Ba’ath Party already had a

functioning organisation with party branches, divisions and sub-divisions and contemporaneous

documents identify that this party structure was used by local and governorate Security Committees

allowing them to more easily mobilise pro-Regime Ba’athist members, 211 and organise their

activity.212

         130.   In addition to the existing Ba’ath Party structures, the Regime also established a new

organisation to assist in confronting the opposition: the Popular Committees. Popular Committees

were, most likely, formed around the end of March or early April 2011, utilizing the Ba’ath Party

apparatus and, to a significant part, Regime loyalists. 213 In many ways, the Popular Committees

became another formalised organisation within the wider local Ba’ath Party structure, which was

itself under the instruction and tutelage of the local Security Committees, intelligence agencies and

police.214 It appears that the Popular Committees were formed out of general loyalist ‘popular

organisations’, mobilised early in the conflict and used to confront demonstrations and opposition

activity, particularly after mosque prayers. One reference in April 2011, from Military Intelligence

Branch 243 (Deir-ez-Zor and ar-Raqqah governorates), noted the role of both the mobilised
																																																								
211
      See, e.g. Ex. C-76, Minutes of the Deir-ez-Zor Security Committee, dated 04 May 2011,
SYR.D0080.050.003-006_ET at 003.
212
      Ex. C-87, Instruction for an ‘Armed Ba’athist Faction’ course the, dated 14 June 2011,
SYR.D0097.048.010_ET at 010.
213
      See, e.g. Ex. C-44, Instruction from Head of Military Intelligence Branch 243 to subordinate
sections and detachments, dated 30 March 2011, SYR.D0043.004.212-213_ET at 212. This noted
that the level of readiness of the ‘party apparatus’ and ‘popular and trade union organisations’ was to
be raised in order to confront opposition demonstrators who were planning activity on Friday 01
April. The party, popular organisations and trade unionists were to be deployed to mosques and
used as a reserve force to be held at Ba’ath Party offices.
214
      Ibid.


                                                  63
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Ba’athists and Popular Committees in tasking the subordinate sections and detachments of the

Branch to:

        … mobilize members of the Ba’ath Party in every district and form the so-called
        [P]opular [C]ommittees in every district so as to protect towns and defend public
        departments as well as confront anti-government elements and criminal gangs. Such
        committees should be supervised by partisan subdivisions and divisions in the said
        districts, and their work shall be streamlined by the [S]ecurity [C]ommittee in the districts
        and under your personal supervision in coordination with Ba’ath party officials.215

        131.     The existence of the Popular Committees was acknowledged directly by President

Bashar al-Assad in a public address on 20 June 2011, where he stated that Popular Committees had

been established by young people to protect the country.216

        132.     In Homs governorate, the authorities mobilised loyalist and partisan groups in

seemingly the same manner as in other governorates. For example, on 27 April 2011, Dr. Yasser

Houriyya (a member of the Regional Command of the Ba’ath Party), Subhi Harb (Head of the

Homs Security Committee) and the Homs Governor met with ‘members of the Party divisions

commands and popular organisations in the district of Al-Qusayr’.217 The purpose was to meet ‘… with

the popular dignitaries and the religious men and focus[] on nipping sedition in the bud and fending off

the conspiracy.’218

        133.     On 11 May 2011, a CCMC report noted the visit of the then Assistant Regional

Secretary of the Ba’ath Party, Mohammad Said Bekheitan, (i.e., the Head of the CCMC) and




																																																								
215
      Ex. C-51, Military Intelligence Branch 243 Instruction, dated 11 April 2011,
SYR.D0043.005.100_ET at 100.
216
      Ex. C-90, Speech by President Bashar al-Assad at Damascus University, dated 20 June 2011,
SYR.D0123.003.001-022_ET at 021.
217
      Ex. C-154, CCMC Report on the Security Situation, dated 27 April 2011, SYR.E0001.006.182-
185_ET and 183.
218
      Ibid.


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Hassan Turkomani (who later became Head of the CCMC) to Homs. 219                  The report referenced

that they met with loyalist groups (‘members of the Party’s popular commands, and heads of popular

organizations’) and it agreed that ‘Ba’athist comrades’ should assist in dealing with the opposition.

The city was to be divided into departments, each supervised by a leading member of the

intelligence/security branch. Loyalists were to be used when needed to assist in dealing with

demonstrators.

       134.      As the security situation throughout the country began to deteriorate and the armed

opposition grew, the role of the Popular Committees, Ba’athists, pro-Regime defence groups and

loyalist supporters become more militarised. Not only did they maintain a role in confronting

demonstrations or protecting government facilities but critically these groups were given the wider

task of assisting in securing territory once taken back from opposition control.

       135.      As discussed below in Section IV.A, a key instruction issued by NSB (as a result of

CCMC discussions) in August 2011 highlights the role that pro-Regime groups were to be given in

this regard. On 05 August, the CCMC met and discussed issues to better co-ordinate the work of

the security agencies in dealing with the security situation throughout the country. The following

day (06 August), the NSB passed instructions, based on these prior CCMC discussions, to

governorate level Secretaries of the Ba’ath Party (i.e., the Heads of governorate Security Committees

(including in Homs)). 220 The NSB instructed the Security Committees to conduct daily joint

military/security operations, to arrest wanted individuals from clearly targeted groups, and to set up

																																																								
219
      Ex. C-149, CCMC Report on the Security Situation, dated 11 May 2011, SYR.E0001.006.061-
063_ET at 061.
220
      Ex. C-40, Communication from Military Intelligence Branch 294, dated 17 August 2011
attaching Instruction from the Head of the NSB to the Secretaries of the Ba’ath Party in Hama,
Damascus Countryside, Deir-ez-Zor, Homs, Idleb and Dar’a governorates, dated 06 August 2011,
SYR.D0043.004.093-094_ET at 094.


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Joint Investigation Committees to process detainees. In regards to loyalist paramilitary groups, the

CCMC/NSB also instructed that after the launching of such security operations and in areas

‘cleansed of wanted persons’ control was to be maintained in co-operation with the pro-Regime loyalist

groups. The NSB specifically instructed that:

       Once each sector has been cleansed of wanted persons, you are requested to maintain
       control of the sector by organizing security and party presence in the sector in cooperation
       with the city district committee, popular organizations, dignitaries, and influential
       supporters, so that no wanted person can seek shelter there again.221

       136.    In essence, this key instruction demanded that pro-Regime groups (clearly meaning

Popular Committees, Ba’athists, loyalists, defence groups and Regime supporters generally) were to

be used, alongside security bodies, to control territory on the completion of security operations.

Subsequent documents show that the CCMC/NSB instruction targeting the specified groups was

disseminated, not only through the Security Committees but also down the intelligence chain,

clearly emphasising its importance.222

       137.    Giving the pro-Regime paramilitary groups the clearly defined role and responsibility

(authorised from the highest national levels of the Regime) of assisting in the control of territory is

critical to understanding why such groups (‘shabbiha’ as they are often referenced in public accounts)

were noted as being present during or after operations undertaken by the Syrian security forces. This

is also an issue directly relevant to operations undertaken in Homs (and Baba Amr in particular)

where paramilitary groups were identified as being present and committing offences in

neighbourhoods that had been earlier secured by regular armed forces.


																																																								
221
      Ibid.
222
      See, e.g. Ex. C-34, Military Intelligence Branch 243 instruction, dated 08 August 2011,
SYR.D0043.003.286_ET at 286; Ex. C-71, Political Security Department instruction, dated 16
August 2011, SYR.D0077.191.001_ET at 001.


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IV.     THE SYRIAN REGIME’S RESPONSE TO OPPOSITION ACTIVITY: SECURITY
        OPERATIONS IN HOMS AND THE ATTACK ON BABA AMR

        138.    Having analysed the key institutions of the Syrian Regime’s security apparatus in the

previous Sections, this Report now presents a chronology of events culminating in the Syrian

Regime’s attack on the Baba Amr district in Homs city in February 2012. After reviewing the

Regime’s general and nationwide response to opposition activity in Sub-Sections A and B, Sub-

Section C focuses on the Regime’s security operations in Homs from 2011 until January 2012. Sub-

Section D outlines the attack on Baba Amr in February 2012.

        A.      SECURITY RESPONSE TO OPPOSITION ACTIVITY (FEBRUARY – AUGUST 2011)

        139.    From around February 2011 onwards, and in response to the emergence and rapid

spread of anti-Regime demonstrations calling for greater freedoms, economic and social

improvement and an end to corruption, the Syrian authorities implemented a series of repressive

security measures to identify and curtail anti-Regime activity. These measures initially began with

the monitoring of opposition activity, the collection of information on incidents of relatively low-

level protest (graffiti, small-scale acts of vandalism and localised demonstrations), the identification

of participants and instigators, and the arrest of those involved.223

        140.    From the very outset of these protests, the Regime viewed opposition activity

through the lens of the problems afflicting neighbouring Arab states, where there had been a general

call (particularly from the young) for change and greater personal freedoms. A report disseminated




																																																								
223
      See, e.g. Ex. C-50, Circular from Military Intelligence Branch 243, dated 07 February 2011,
SYR.D0043.004.263_ET at 263. This makes reference to a wave of ‘abusive’ graffiti on walls that
was an ‘insult to the reputation of security bodies in the region’. Subordinate sections are ‘instructed to
streamline the work of sources, informers, Ba’ath Party members, joint security patrols and the police to
suppress these activities and arrest those responsible for organizing it’.


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by a Military Intelligence Branch on 12 March 2011 to its subordinate sections illustrates this. 224

The Branch referenced information that had been discussed at the national level (i.e., the NSB) and

noted:

         Based on what transpired in the meetings of the National Security Bureau regarding the
         disturbances and events in some Arab countries witnessing youth revolutions calling for
         change, democracy, freedoms and reforms aimed at creating job opportunities for young
         men, improving living standards and fighting corruption, there have been attempts made
         by the opposition in Syria, civil society committees, human rights organisations inside and
         outside Syria and other suspicious parties to create similar conditions in Syria through
         mobilising and inciting the youth in Syria against the government. Such attempts were
         made using social networking sites, graffiti, distributions of bulletins and leaflets and
         other secret mechanisms to urge the youth to organise demonstrations and sit-ins in Syria
         under false pretexts which, if ignored, may lead the youth to take to the streets.225

         141.    This report, in particular, indicated knowledge within the NSB of the general

demands of freedom, democracy, and anti-corruption that had been something of a hallmark of the

Arab Spring movement in other States and a belief that this phenomenon was now spreading to

Syria. Rather than considering the legitimacy of these articulated grievances, the national leadership

blamed this unrest on opposition and human rights groups, who they believed were inciting the

youth against the government with mobilisation occurring through social networking sites, graffiti

and the distribution of leaflets urging the organisation of demonstrations and sit-ins. The report did

instruct the Military Intelligence and civil administrators not to provoke citizens, as this would ‘serve

the purposes of Syria’s enemies’ and it reflected the provision of detailed guidelines that the security

agencies were to abide by on the summoning and the detention of citizens. Nonetheless, this report

was accompanied by an instruction to all sections and detachments as follows:




																																																								
224
      Ex. C-46, Military Intelligence Branch 243 Instruction to subordinate Sections and
Detachments, dated 12 March 2011, SYR.D0043.004.236_ET at 236.
225
      Ibid.


                                                     68
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       You are requested to intensify the work of informers, sources, Ba’ath Party members, and
       youth organisations in the collection of information concerning persons who distribute
       leaflets and write offensive graffiti for taking necessary action against them.226

       142.    The report and instruction appear to encapsulate the context of the Regime’s initial

response to the security situation that it faced in the early months of 2011. As illustrated by the

documents discussed below, the very groups referenced by the NSB as being a threat (those writing

graffiti, utilising social media or participating in demonstrations) became some of the first directly

targeted by the security and intelligence agencies for surveillance, arrest, and suppression. Identified

documentation in the possession of the CIJA from February onwards make reference to the

collection of information on, and action to suppress and arrest members of, these particular groups.

       143.    The monitoring of the media, especially the Internet and social media, was a

particular focus. On or around 04 February 2011, the NSB issued a decision, disseminated through

the Military Intelligence, following calls over websites for demonstrations scheduled to take place on

04-05 February 2011. This decision instructed all security bodies to intensify visits to websites,

particularly Facebook, with the aim of flooding those sites that called for demonstrations in Syria.227

Other documents from this period demonstrate the existence of an active policy of monitoring

opposition websites,228 attempting to disrupt them and summoning, interrogating and prosecuting

individuals deemed to be inciting others over the Internet.229

																																																								
226
      Ex. C-47, Instruction from Military Intelligence Branch 243 to subordinate Sections and
Detachments, dated 12 March 2011, SYR.D0043.004.237_ET at 237.
227
      Ex. C-53, Instruction from Military Intelligence Branch 243, dated 13 February 2011,
SYR.D0043.005.142_ET at 142.
228
      Ex. C-80, Instruction from the Head of the Political Security Department to all Heads of
Security Branches in the governorates, dated 18 March 2011, SYR.D0081.033.005_ET at 005. The
instruction referenced information posted on Facebook and other websites calling for a protest on
17/18 March 2011.
229
      Ex. C-6, Report from Ras Al Ain Detachment to Military Intelligence Branch 222, dated 14
February 2011 in response to Circular from Head of Military Intelligence Branch 222, dated 13


                                                  69
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             144.          On 13 February 2011, Military Intelligence Branch 243 (the Branch covering ar-

Raqqah and Deir-e-Zor governorates) issued a report to its subordinate sections and detachments

referencing an earlier NSB-issued letter.230 The NSB letter had clearly disseminated information

regarding Al Jazeera TV. The NSB alleged that Al Jazeera were frustrated because of a failed call for

a ‘day of wrath’ that had been planned for 04/05 February. They further alleged that Al Jazeera was

‘planning to organize other days of wrath and filming an instigating program about unemployment in

Syria.’ According to the NSB, the channel had failed to obtain a license for filming and was trying

to task people living in Syria with filming for them without official permission. It was indicated that

‘[t]he channel may rely on human rights activists and unknown Syrian journalists’. The Head of the

Military Intelligence Branch instructed subordinate sections and detachments that ‘[t]his is for your

information and taking necessary action against any media activity that did not obtain official permits

and report the results to us’.231

             145.          The authorities particularly took action against the escalating number of

demonstrations that quickly spread throughout the country. They identified a need to forcefully

suppress protests by confronting and disrupting them, and arresting participants and their leaders.

This involved the co-ordinated action of the governorate Security Committees, the security agencies,

police and (later) the military.

             146.          On 30 March 2011, three days after the creation of the CCMC, President Al-Assad

delivered a speech before the National Assembly, in which he signalled a significant policy directive


																																																																																																																																																																																			
February 2011 and Circular from Military Intelligence Branch 222, dated 03 February 2011,
SYR.D0010.075.001-007_ET at 004.
230
      Ex. C-49, Military Intelligence Branch 243 circular to sections and detachments, dated 13
February 2011, SYR.D0043.004.256_ET at 256.
231
      Ibid.


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with respect to the developing protests.232 He warned that Syria was facing ‘a great conspiracy whose

tentacles extend to some nearby countries and far-away countries, with some inside the country’. He

added that this conspiracy involved ‘support groups’ in more than one governorate, including ‘media

groups, forgery groups and groups of eye-witnesses’. Al-Assad accused protest organisers of sedition and

stated that ‘all those involved intentionally or unintentionally in [protesting] contribute to destroying their

country’. According to the President, there was ‘no compromise or middle way in this. What is at stake

is the homeland and there is a huge conspiracy’. Although there had already been significant security

activity in dealing with protests and opposition activity, including the violent suppression of

demonstrations and the arrest of opposition demonstrators, this speech signalled a very public

hardening of attitude by the Regime leadership in dealing with the opposition it faced.

        147.     It is evident that the initial response of the Regime to the unrest in the country in

February and March did not have the desired effect of reducing opposition activity. In fact, the size,

geographic spread and extent of the demonstrations and general protest significantly increased.

With the announcement by the President of a toughening of response and the establishment of the

CCMC at the end of March, the period from April 2011 onwards was noted by a significant and

considerable escalation and a hardening of the security measures undertaken by the Regime against

all forms of opposition activity.

        148.     This period was marked by the increasingly forceful suppression and breaking up of

demonstrations, the use of Ba’athist and other loyalist groups to assist in this process, the widespread

arrest, detention and mistreatment of protesters and opposition leaders, the use of the judiciary in

																																																								
232
      President al-Assad Delivers Speech at People’s Assembly, Syrian Arab News Agency (SANA),
dated 30 March 2011, at
https://web.archive.org/web/20110402044717/http://www.sana.sy/print.html?sid=339278&newlan
g=ara (Arabic).


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prosecuting detainees and the increasing use of the military in security operations. The Regime

adopted more aggressive measures, such as deploying loyalists and larger numbers of security forces

to forcibly confront and break up protests, disseminating wanted lists, arresting and detaining large

numbers of protesters and, at times, using lethal force on demonstrators.

       149.    Although the magnitude of protests and the intensity of popular grievances varied

from one governorate to another, the Regime’s response across the country had the common theme

of using the security apparatus, under the authority of the CCMC, NSB and governorate Security

Committees, to aggressively suppress demonstrations and identify, monitor, and arrest protestors

and suspected opponents.

       150.    It is also of note that the newly established CCMC sat at the centre of the decision-

making process in relation to the Regime’s security response. A series of key decisions at the end of

April 2011, identified in CIJA-obtained documentation, point towards this period as being of

particular significance in the timing of the Regime’s initial hardening of its security response and the

suppression of demonstrators and opposition activity. It was also important in regard to the

planning for the potential use and deployment of military forces in the governorates.

       151.    On 18 April 2011 the minutes of a CCMC meeting (most likely held on the same

day or just prior to it) were disseminated by the Regional Command of the Ba’ath Party. A copy of

these minutes was disseminated through the Military Intelligence Department in Damascus down to

the Military Intelligence Branches in the governorates.233 In reviewing these minutes it is clear that

the CCMC closely examined the political and security situation in the country and, critically,

concluded that the period of ‘tolerance and meeting demands [was] over’ and that a ‘[m]ulti-faceted

																																																								
233
      Ex. C-127, Military Intelligence Branch 294 Circular, dated 20 April 2011,
SYR.D0183.003.010-011_ET at 010-011.


                                                  72
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confrontation of demonstrators, saboteurs of security and vandals’ was to be undertaken. Instructions

were issued that included the following:

        a - Do not release any detainee, refer detainees to the judiciary.
        b - Counter with weapons those who carry weapons against the state, while ensuring that
        civilians are not harmed.
        [. . .]
        d - Arrest known offenders, place them in prison and refer them to the judiciary without
        raids.234

        152.    This important meeting also instructed that certain ‘[m]echanism[s] for confronting

demonstrations’ were to be implemented. These included:

        - An equipped police force should be prepared to stop demonstrations, with the security
        [agencies] [sic] behind it. Demonstrations should be prepared by the Party and
        organizations to confront them if necessary, according to the situation.
        - Armed forces should not be called in unless in cases of extreme need and for specific tasks.
        - Tasks, responsibilities and the mechanism for cooperation between the different
        authorities should be precisely defined.235

        153.    The CCMC instruction also noted that the ‘Party apparatus’ was to train selected

personnel on ‘confronting demonstrators, as well as on the use of weapons’, that round-the-clock shifts

were to be established in Party (i.e. Ba’athist) headquarters and that Party reserves were to be made

available as needed in each governorate.

        154.    On 20 April, the CCMC again met and again disseminated their decisions.236 The

CCMC restated that force would now be used against the opposition, directing that ‘[a] new phase

should be started to counter conspirators by initiating the use of force against them as of this date’. It




																																																								
234
      Ibid. at 010.
235
      Ibid.
236
      Ex. C-128, Report, dated 20 April 2011 from the Regional Command disseminating the
minutes of the CCMC meeting of the same day, SYR.D0183.003.012-013_ET at 012-013.


                                                     73
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emphasized that this was needed not only to battle opposition activity but to ‘demonstrate the power

and capacity of the state’.

        155.      The CCMC instructed that ‘detailed plans’ were to be ‘developed to counter the

possibilities of armed and unarmed demonstrations and sit-ins’, that these plans were to be developed

under the supervision of the NSB (i.e. the heads of the various intelligence and security agencies) and

that the CCMC should hold daily meetings. It also proposed the mobilization of some military

units and that:

        The General Command of the Army and Armed Forces will develop overarching plans
        based on the scenario of a possible spreading of demonstrations and hostile action on a
        wide scale in all governorates. Measures should be taken and cooperation organised with
        the implementing authorities, in order to implement a part or all of them as the situation
        develops.237

Critically the CCMC also instructed:

        7-Using all detailed means and methods, based on the situation, when surrounding an
        area, raiding suspects, or countering an anti-government demonstration. (According to the
        instructions given at the meeting).

        8-Arresting wanted persons suspected of being involved in sabotage, killing, planning
        criminal acts and stirring up strife at the instruction of external actors.238

        156.      Coming only a matter of weeks after the President’s speech in late March, the

message of the two CCMC meetings of 18 and 20 April could not have been clearer. Force was to

be used against all demonstrators and those deemed as opposition supporters, wide-ranging groups

were to be targeted for arrest, planning was to be undertaken and supervised by the highest levels of

the Regime, the military were (where necessary) to be deployed and Ba’athist loyalists were to be

mobilised and utilised in support. This armed response was to forcefully confront and ‘battle’ the

opposition as well as demonstrate the power and strength of the state (i.e., the ruling regime).
																																																								
237
      Ibid. at 012.
238
      Ibid.


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        157.      The importance of these late April CCMC decisions cannot be overstated and they

had an immediate and deadly effect. Although there were examples of attacks on demonstrators

prior to the late April CCMC instructions, as a result of these particular late April CCMC decisions,

violence against protesters significantly increased as demonstrations were confronted in the very

manner outlined in these decisions and security operations were widened to include the targeting of

organisers and other key opposition figures.

        158.      Evidence exists that some authorities were quickly keen to take up the possibility of

military support. On 25 April, for example, the CCMC received a request from the Hama Security

Committee for a battalion from the army to be sent to al-Ghab in order ‘to preserve security before

next Friday after information indicated that vandalism would be carried out during demonstrations.’239

        159.      In Homs, the situation deteriorated quickly with the outbreak of anti-Regime

demonstrations occurring early in the conflict. A reference in the minutes of a CCMC meeting on

12 April 2011 noted the Homs Security Committee had confirmed that ‘pre-emptive measures’ would

be taken in order to prevent a demonstration taking place the following Friday.240 It recommended

‘to track and arrest rioters in Bab[a] Amr, Joret elarayes, Bab al Sabaa, and Ashirah’.

        160.      Critically, only a day after the 18 April CCMC instructions were issued, a violent

(and now infamous) attack on a protest in Homs took place in which a significant number of

protesters were shot and killed when security forces cleared a sit-in protest at the clock-tower in the

city centre.241

																																																								
239
       Ex. C-153, CCMC Report on the Security Situation in the country as of 25 April 2011,
SYR.E0001.006.167-170_ET at 170.
240
      Ex. C-150, CCMC Report on the security situation as of 12 April 2011, SYR.E0001.006.064-
067_ET at 064.
241
      Ex. C-152, CCMC Report on the Security Situation in the country as of 19 April 2011,
SYR.E0001.006.129-133_ET at 131. Also note BBC News report entitled ‘Syria Protests: Homs city


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             161.          The CCMC received information that, on 29 April 2011, during protests in the

towns of ar-Rastan in Homs Governorate, at least 19 persons were killed and 38 injured. The Homs

Governorate Security Committee, a member of the Regional Command of the Ba’ath party, a senior

military figure and the governor met with two delegates from the ar-Rastan residents to discuss the

incident of 29 April.242 The CCMC recommended the payment of money to the families of those

known to have been killed and injured reporting that:

             This will be given as blood money in order to defuse tension and avoid rendering ar-
             Rastan a new demonstration hub or another Dar'a, and in order to ensure that the
             international road will not be cut off.243

             162.          A CCMC report on the security situation (dated 12 May 2011) also referenced that

the army and security forces had carried out a short operation in Baba Amr – Jouret al-Arayes

neighbourhoods in Homs. The report also noted the death of one member of the military forces,

three civilians, a number of injured and the arrest of 65.244

             163.          Despite the wide range of security measures undertaken by the Regime to suppress

mass protests and dissent, the security situation in Syria continued to deteriorate. The measures

implemented by the Regime from April 2011, including the mass arrests and deadly force, did not

stop opposition activity but simply continued to fuel it. This led to a continued growth and increase

in demonstrations and opposition activity (including the start of opposition attacks against Regime

																																																																																																																																																																																			
sit-in “dispersed by gunfire’’’, dated 19 April 2011 at http://www.bbc.co.uk/news/world-middle-east-
13130401.
242
      Ex. C-145, CCMC Report on the Security Situation, dated 01 May 2011, SYR.E0001.006.014-
016_ET at 014.
243
      Ibid.
244
      Ex. C-151, CCMC Report on the Security Situation, dated 12 May 2011, SYR.E0001.006.068-
070_ET at 069. It should be noted that the report does not make it clear whether the casualties
referred to were as a direct result of the named operation in Baba Amr—Jouret al-Arayes or in Homs
more widely.



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security elements), further incidents of violence against protesters, increasing numbers of security

operations and sweeps targeting demonstrators, opposition leaders, media activists and opposition

supporters resulting in continued widespread arrests and detentions.

        164.     As the Regime hardened its security response, opposition activity continued to

escalate through the summer months. The number of demonstrations appeared to grow in size and

scale. In Homs, security operations continued. On 17 July, the CCMC convened and after

‘examining the security situation … and appropriate methods to handle the situations’ directed the

Security Committee in Homs to:

        - Conduct inspection in the city districts …

        -Start immediately from the eastern city districts and arrest the wanted persons;

        - Search for the perpetrators of crimes and hand them over to the judiciary[.]245

        165.     The Head of the NSB was ordered ‘to supervise, monitor and provide necessary

assistance’ for the execution of this task and the decision was to be disseminated to all ‘competent

bodies’ for its execution.

        166.     On 20 July propositions from the Homs Security Committee were examined and it

was agreed to:

        Assign[] Comrade Head of the National Security Bureau and Comrade Minister of [the]
        Interior to meet with the Homs Governorate Security Committee to discuss their
        propositions submitted on 20/7/2011 on the ground, arrive at and proceed with
        implementing the best decisions, and identify the actual needs of military units necessary
        for completing all missions.246

        167.     On 23 July, the same two senior officials were tasked:



																																																								
245
      Ex. C-181, CCMC decision No 3413, dated 18 July 2011, SYR.E0001.017.001_ET at 001.
246
      Ex. C-171, Minutes of the CCMC meeting of 20 July, dated 21 July 2011,
SYR.E0001.015.003-004_ET at 004.


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       … to visit the governorate of Homs and discuss the plan of the [S]ecurity [C]ommittee in
       the governorate to address the security situation on the ground; and to study the possibility
       of launching dialogue with community figures in the city to achieve security and stability
       there and finalize the implementation of the balanced inspection plan of its city
       districts[.]247

       168.    At the end of that month the CCMC reported that a large ‘inspection and

investigation campaign’ was being conducted in Al-Bayyada in the north of Homs with a large

number of people being arrested.248

       169.    As well as opposition demonstrators, those with links to foreign media continued to

be a focus of Regime security elements. In May, the Head of the NSB wrote to the Head of the

Political Security Department, and requested that the NSB be supplied with:

       … the information that has been available from your interrogation of detainees who
       incited demonstrations and those who had contacts with foreign bodies, whether they are
       media bodies or plotters, or bodies which took part in funding and arming demonstrators,
       in addition to information on the volume of funding and armament and their sources.249

This instruction was passed down to the Political Security Branches in the governorates for action.

       170.    The activity of the Regime and its security elements during this period contributed

to a hardening of attitude of the opposition against the government and the growth of armed groups

determined to defend local areas and take violent action against security forces they regarded as

hostile. The activity of armed groups included attacks on and killing of security force personnel,250



																																																								
247
      Ex. C-172, Minutes of the CCMC meeting held on 23 July, dated 24 July 2011,
SYR.E0001.015.005-007_ET at 007.
248
      Ex. C-142, CCMC Report on the security situation, dated 31 July 2011, SYR.E0001.005.008-
010_ET at 009.
249
       Ex. C-72, Letter from the Head of the NSB to Comrade Major General Head of the Political
Security Department, dated 23 May 2011, SYR.D0077.209.009_ET at 009.
250
      See, e.g. Ex. C-132, Report from Military Intelligence Branch 271 to the Military Intelligence
Department, dated 13 June 2011, SYR.D0186.096.013-016_ET at 013. This makes reference to
the deaths in Jisr ash-Shughour of military intelligence personnel when the Detachment was
overrun.


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theft of military equipment, 251 armed clashes with security forces units 252 and attacks on

infrastructure.253

        B.       SECURITY RESPONSE TO OPPOSITION ACTIVITY (AUGUST – NOVEMBER 2011)

        171.     Despite the increased security measures (continued arrest operations, mobilization

and use of Ba’athist and other loyalists and the deployment of the military), the situation throughout

the governorates continued to deteriorate through the summer. In response to this, in August 2011,

the Regime began to further review and strengthen their security response. They did this by

attempting to rectify perceived weaknesses, by reorganising the security apparatus and command

structures it utilised as well as by formulating, disseminating and implementing clearer national level

plans targeting particular groups within the opposition.

        172.     The period of late July/early August 2011 is of particular relevance, and was marked

by a significant ratcheting up of the Regime’s overall security response. The period witnessed

attempts to better co-ordinate all security bodies, a nation-wide approach to the suppression of all

opposition, the enhanced deployment of the Syrian Army throughout many areas of the country,

and the systematic targeting of opposition groups (demonstrators, supporters, coordinators, funders,

																																																								
251
      See, e.g. Ex. C-26, Circular from the Operations Administration of the General Command of the
Army and Armed Forces, dated 19 July 2011, SYR.D0021.001.013-014_ET at 013.
252
      See, e.g. Ex. C-144, CCMC report on the security situation, dated 09 July 2011,
SYR.E0001.005.060-061_ET at 060. This made reference to a number of clashes between armed
elements and security forces in Homs. This included the shooting of police officers on a bus,
shooting at a bus belonging to military security, the setting up of checkpoints by armed protesters
and firing on cars. The report noted the reported death of one non-commissioned officer and the
injuring of nine members of the security, police and military forces.
253
      Note, for example, derailment and attack on a train in Homs on 23 July 2011 and attempted
attack on a military facility in Homs at
http://www.telegraph.co.uk/news/worldnews/middleeast/syria/8657150/Syria-protests-opposition-
supporters-launch-attack-on-Homs-army-college.html. The attack on the train was also discussed in
Ex. C-172, Minutes of the CCMC meeting of 23 July 2011, dated 24 July 2011,
SYR.E0001.015.005-007_ET at 005.


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media activists as well as armed groups) and a greater direct engagement of the CCMC and its

members in the security matters in key governorates.

        173.    Clear evidence of this was the issuance of an instruction by the Head of the NSB

following a CCMC meeting in early August 2011. On 05 August, the CCMC met and discussed

the gravity of the crisis in the country and concluded that ‘laxness in handling the crisis’ and ‘poor

coordination and cooperation among security agencies in sharing information and the results of the

ongoing investigations’ was contributing to a prolongation of the conflict.254

        174.    As a result of this meeting, the following day, the Head of the NSB issued an

instruction to the governorate Ba’ath Party Secretaries (i.e. the Heads of the Security Committees) in

Hama, Rural Damascus, Deir-ez-Zor, Homs, Idleb and Dar’a governorates to implement a series of

tasks. The tasks given were:

        1 - Launch daily joint security-military campaigns in key security sectors of your choice as
        per security priorities. All security branches should participate in the campaigns to raid the
        locations of persons wanted for crimes of sabotage, killing, assaulting citizens and
        attacking their properties and government establishments. You are requested to arrest such
        persons, particularly those who are inciting people to demonstrate, funders of
        demonstrators, members of coordination committees who organize demonstrations,
        conspirers who communicate with people abroad to keep demonstrations ongoing and
        those who tarnish the image of Syria in foreign media and international organizations.

        2- Once each sector has been cleansed of wanted persons, you are requested to maintain
        control of the sector by organizing security and party presence in the sector in cooperation
        with the city district committee, popular organizations, dignitaries, and influential
        supporters, so that no wanted person can seek shelter there again.

        3- Establish a joint investigation committee at the governorate level that includes
        representatives from all security branches and the Criminal Security Branch. All persons
        arrested in security campaigns shall be referred to this committee for interrogation. The
        results of these interrogations shall be sent to all security branches so that they can be used
																																																								
254
      Ex. C-40, Communication from Military Intelligence Branch 294, dated 17 August 2011
attaching Communication from NSB to Secretary of the Ba’ath Party (Heads of Security
Committees) in Hama, Damascus Countryside, Deir ez-Zor, Homs, Idleb and Dar’a governorates,
dated 06 August 2011, SYR.D0043.004.093-094_ET at 094.


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             in identifying and seriously pursuing new targets, with an interest in investigations to find
             and arrest members of local coordination committees.

             4- Supply the Head of the National Security Bureau with a daily report on the results of
             the search, including the names of wanted persons who are arrested, seized weapons, the
             losses resulting from the security campaign and an overall evaluation of the campaign
             results.255

             175.          In essence, the CCMC discussions at their 05 August meeting and the instructions

that fell from it, disseminated via the NSB, further stepped up the security response of the Regime.

A national level policy was issued that governorates were to follow, which reinforced and specified

the key identified groups that were to be targeted in joint military/security operations. These groups

focused on those inciting demonstrations, opposition leaders, co-ordinators, and financiers as well as

those involved with communicating with the media and foreign organisations that were, as far as the

Regime believed, tarnishing the image of the state.

             176.          Decisions on the exact nature and location of where the joint-security operations

were to be conducted was delegated down to the governorates and once areas were ‘cleansed’ they

were to be secured with both security and ‘party’ (i.e. loyalist/Ba’athist paramilitary) presence. The

individuals from the identified groups were to be targeted, arrested, and interrogated by members of

specialist investigations bodies established in the governorates consisting of elements from all the

security/intelligence agencies and the Criminal Security. Information gained was to be passed

between agencies and the Head of the NSB (and by implication the CCMC) was to be kept

informed of the results through regular reports.

             177.          The work of opposition media activists and the reporting of the conflict in the media

continued to be a key issue for the Regime. The August 05/06 instructions specifically highlighted

for arrest those who were contacting the foreign media and those who ‘tarnish the image of Syria in
																																																								
255
      Ibid.


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foreign media and international organizations’. 256      In addition, around this time, the CCMC

continued to view the monitoring of the media generally as a significant concern. On 16 August

2011 it instructed the Minister of Information257 to establish a ‘Media Monitoring Cell’ within his

ministry. The Minister was tasked with:

       1. Creating a Crisis Management Cell and a Media Monitoring Cell at the Ministry of
       Information assigned the mission of:

       –– Collecting and analyzing information.

       –– Developing appropriate measures and responses.

       –– Supplying the Central Crisis Management Cell with the results of media monitoring,
       analyses, conclusions and recommendations in a daily report to the Central Cell.

       2. Harnessing the activity of members of the press and media and friends, and facilitating
       their tasks on the ground.258

       178.    On 24 August President Bashar al-Assad met with scholars and clerics and gave a

speech during an Iftar feast during Ramadan. A summary of this speech was disseminated by the

Regional Command of the Ba’ath Party (including a copy being sent down the military chain). The

speech dealt with the problems facing the country, an external conspiracy designed to divide the

country, in particular through fierce media attacks. It was reported that:

       The use by media of voice messages, video clips and hypocritical eyewitnesses is a
       psychological warfare aimed at creating a state of internal chaos and influencing the
       spirits of Syrians, and that national unity is the only guarantee for Syria and its people in
       the face of malicious plots and the only assurance to save Syrian blood, and a guarantee




																																																								
256
      Ibid.
257
      Some CIJA provided references indicate that the Minister of Information was a member of the
CCMC (or at least was a participant). See, e.g. Ex. C-129, Minutes of Meeting of the CCMC of 23
April, dated 23 April 2011, SYR.D0183.015.018-020_ET at 019.
258
      Ex. C-187, CCMC Instruction to the Minister of Information, dated 16 August 2011, based on
a meeting of the CCMC on 13 August 2011, SYR.E0013.002.025_ET at 025.


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        for restoring security and stability. Scholars and clerics have to contribute to achieving
        that.259

        179.    In many governorates, in particular tense areas that had seen significant levels of

opposition, new security operations were undertaken after the 05/06 August instructions. In Homs,

on 24 August, the minutes of the CCMC note significant discussion on activity in the governorate.

This meeting referenced an initial evaluation by the CCMC of the situation in Homs and the

implementation of measures to ‘reinforce the perimeter around the city to control entry and exit’.260 At

the end of the meeting it was decided, in relation to operations in the governorate, as follows:

        3. Pursuing the plan developed to control the situation in the city of Homs and forming a
        Joint Investigation Committee in the city. The Committee should deliver the results of its
        investigations immediately to security agencies for timely utilization.

        4. Assigning Comrade Head of the Political Security Department to the governorate of
        Homs to lead the work of security branches on the ground and to contribute to the
        successful implementation of the plan developed to control the situation in the governorate
        of Homs.261

        180.    The Joint Investigation Committee was the same body as had been articulated in the

earlier instruction of the 05/06 August noted above. It is also of note that the Head of the Political

Security Department had been dispatched not just to supervise the role of the security bodies but to

actively ‘lead’ them.

        181.    The period after the August instructions saw an increase in the number of

military/security raids in the governorate. On 04 September, the CCMC tasked the Head of




																																																								
259
      Ex. C-67, Report from the Regional Command of the Ba’ath Party, dated 03 September 2011
dispatched on 11 September 2011, SYR.D0069.033.001-002_ET at 001.
260
      Ex. C-173, Minutes of the CCMC meeting of 24 August, dated 25 August 2011,
SYR.E0001.015.015-016_ET at 015.
261
      Ibid. at 016.


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Political Security to follow up on the implementation of tasks in Homs.262 Open source references

identified and reported on incursions in the city by Regime security and military units and

significant fighting between armed opposition and Regime elements broke out. In its first report,

the UN Independent International Commission of Inquiry on the Syrian Arab Republic (UN CoI),

noted that it made a request to the Syrian authorities for detailed information concerning military

operations in Homs in September and an operation in Ar Rastan on 03 October in their

investigations concerning ‘respect for the right to life’.263

        182.     Early in the morning of 29 October, an investigation and search operation was

launched in the neighbourhoods of Baba Amr and Joret Elarayes that was reported to the CCMC.264

It should be noted that this operation came only days after the appointment of Hassan Turkomani

as Head of the CCMC, an appointment that marked a significant militarisation of the conflict. This

operation was clearly of significance and overseen by the CCMC, as on 31 October it was noted in a

daily report on the security situation that in relation to Homs:

        Between 8:00 am and 15:00 pm on 30/10, the Central Crisis Management Cell
        convened several meetings, attended by the Branch Secretary and the Governor, with the
        members of the Communication Committee, the neighbourhood committees, the leaders of
        the party divisions, the leaders of the popular organisations, professional associations and
        religious leaders.265



																																																								
262
      Ex. C-174, Minutes of the CCMC meeting of 03 September, dated 04 September 2011,
SYR.E0001.015.017-018_ET at 018.
263
      Report of the UN Independent International Commission of Inquiry on the Syrian Arab
Republic (UN CoI) report, dated 23 November 2011, at page 30, available at: https://documents-
dds-ny.un.org/doc/UNDOC/GEN/G11/170/97/PDF/G1117097.pdf?OpenElement (‘First UN
CoI Report’).
264
      Ex. 158, CCMC Report on the security situation, dated 30 October 2011, SYR.E0001.011.012-
015_ET at 013.
265
      Ex. 159, CCMC Report on the security situation, dated 31 October 2011, SYR.E0001.011.016-
019_ET at 017.


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         183.   The same report noted a number of shootings and other incidents in several

neighbourhoods in Homs. It appears likely that this operation lasted for a number of days (or at

least was repeated), as on 03 November the CCMC noted in a security report that:

         At 6[:]30 of 02/11, a security, police, and army force conducted an investigation and
         search operation in (Baba Amr neighborhood and affiliated farms). An exchange of fire
         took place, resulting in (7) army elements falling as martyrs and injuring (13).266

         184.   The operation was reported in the media at the time with reference to the

bombardment of Homs with tanks.267

         C.     SECURITY OPERATIONS IN HOMS (NOVEMBER 2011 – JANUARY 2012)

         185.   The period of November 2011 to January 2012 was a significant one in the further

escalation of the conflict in key governorates including in Homs. It was particularly marked, on the

one hand, by attempts by the Arab League to defuse the conflict in Syria, while on the other hand,

by the increased militarisation of the Regime’s response, which included the appointment of the

Homs Military and Security Chief, continued arrests and detentions in military/security sweeps and

the growth of armed opposition groups and their actions against Regime security elements and

infrastructure. This escalating activity led to the major military attack on Baba Amr in February

2012.

         186.   In early November, the Syrian government agreed to an Arab League peace plan to

bring an end to the conflict. This called for a halt to the violence against demonstrators, the release

of prisoners, the granting of access for members of the media, human rights groups and Arab League

monitors and the withdrawal of the army and tanks from cities (including in Homs). Dialogue was

																																																								
266
      Ex. 157, CCMC Report on the security situation, dated 03 November 2011,
SYR.E0001.011.009-011_ET at 010.
267
      See, e.g. Report in Al-Jazeera, dated 04 November 2011, entitled ‘Syria “violence defies peace deal”’
at http://www.aljazeera.com/news/middleeast/2011/11/201111381935847935.html.


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to begin between the Regime and the opposition.268 At this very critical time of negotiations with

the Arab League, operations in Homs were being discussed in the meetings of the CCMC. The

CCMC put into its agenda for a meeting planned for 02 November a discussion point entitled

‘[d]etermination of the work direction in the upcoming phase based on the analysis of the visit to the

governorate of Homs.’269

        187.    On 06 November 2011, media reporting referenced that Syrian security forces had

killed a number of civilians (including in Homs) and this threatened the peace process.270 The UN

CoI later reported that operations at this time were conducted in the residential areas of Alqaseer,

Baba Amr, Bab Al Sibaa, Bab Hood and Karm Al Zaitoon.271 According to eyewitnesses, tanks

deployed in and around the city frequently fired at residential buildings and the UN CoI wrote that

it was estimated that, in a three-week period until 13 November, 260 civilians had been killed.272

These operations in Homs were reported in some of the CCMC reports. On 07 November, for

example, a CCMC report noted that ‘joint forces’ had conducted a ‘search and sweep’ in the Baba

Amr neighbourhood that had resulted in twelve arrests and the confiscation of some military


																																																								
268
      See, e.g. Report in BBC entitled ‘Syria accepts Arab League Peace Plan after Cairo talks’, dated 02
November 2011, at http://www.bbc.co.uk/news/world-middle-east-15560322. Also note Liz Sly,
‘Arab League announces peace plan for Syria’, The Washington Post, dated 02 November 2011, at
https://www.washingtonpost.com/world/middle_east/arab-league-announces-peace-plan-for-
syria/2011/11/02/gIQAKBm6fM_story.html?utm_term=.6cb38a0e8011.
269
      Ex. C-169, Agenda for a meeting of the CCMC, dated 02 November 2011,
SYR.E0001.014.014_ET at 014.
270
      See, e.g. Julian Borger, ‘Syrian crackdown continues prompting urgent Arab League talks’, The
Guardian, dated 06 November 2011, at https://www.theguardian.com/world/2011/nov/06/syria-
protests-urgent-arab-league-talks; see also Adrian Blomfield, ‘Arab League warns of “disastrous
consequences” for the Middle East after Syria peace plan fails’, Telegraph, dated 06 November 2011, at
http://www.telegraph.co.uk/news/worldnews/middleeast/syria/8873162/Arab-League-warns-of-
disastrous-consequences-for-the-Middle-East-after-Syria-peace-plan-fails.html.
271
      First UN CoI report, dated 23 November 2011, at para 39.
272
      Ibid.


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equipment.273 Protests broke out in ten neighbourhoods during the day. The report also noted that

the military hospital received 5 killed and a number of wounded army personnel with seven

wounded civilians reported in the Homs hospital. Armed men fired rocket-propelled grenades

(RPGs) on military and security checkpoints resulting in the death or wounding of three security

elements.

        188.    On 09 November, the CCMC met and discussed a number of issues including

Homs. They affirmed the withdrawal of tanks from cities (something that had been part of the Arab

League peace plan) as well as the strengthening of security and stability in the city of Homs. The

minutes noted that:

        – Working conditions in hotspots (Homs—Hama—Idleb..) are exceptional conditions
        and require the spirit of initiative and innovative work methods, such as focusing on
        sniping, concealing the entry of forces into city districts, using smoke grenades, and
        concealing the direction of the attack[.]

        – Armed Forces and security forces have been making appreciated efforts and have
        achieved great successes, but some small acts, such as theft and bribery, harm these successes
        and the reputation of the army.274

        189.    As a result of the operations undertaken by the Regime, including continued attacks

on civilians by the army, the peace deal broke down and on 12 November, the Arab League

announced that it was suspending Syria from the organisation.275

        190.    On 21 November, the CCMC again examined proposals from Homs. 276 This

included a recommendation from the governorate Security Committee on re-establishing a military

																																																								
273
      Ex. C-161, CCMC report on the security situation of 07/08 November, dated 08 November
2011, SYR.E0001.011.051-054_ET at 052.
274
      Ex. C-188, Minutes of a CCMC meeting held on and dated 09 November 2011,
SYR.E0013.002.046-048_ET at 046.
275
      See, e.g. Yasmine Saleh, Ayman Samir, ‘Arab League suspends Syria as global pressure rises’, Reuters,
dated 12 November 2011, at https://www.reuters.com/article/us-arabs-syria/arab-league-suspends-
syria-as-global-pressure-rises-idUSTRE7AB0CP20111112.


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security checkpoint that had been installed earlier and an assessment of whether the governorate was

in need of an operations room. The CCMC agreed at this meeting to approve the request to re-

establish the checkpoint and to:

             … us[e] the operations room equipped by the Ministry of Interior in the governorate for
             commanding governorate operations, and coordinating with the governorate Police
             Command in this concern[.]

It was also decided, more widely, to:

             Continu[e] the implementation of operations even with the presence of Arab League
             observers, in order to establish the State’s rule over its territories and to secure the country
             and population.277

             191.          Following the collapse of the first Arab League peace plan, the Syrian Regime

continued to conduct security operations, arrest individuals within targeted groups and conduct

security sweeps into opposition areas. Following the earlier instructions, including those of the

CCMC/NSB of 05/06 August 2011,278 media activists and those who communicated with foreign

outlets continued to be targeted and detained.279 Furthermore, documentary evidence also notes



																																																																																																																																																																																			
276
      Ex. C-180, Minutes of the CCMC meeting of 21 November 2011, dated 22 November 2011,
SYR.E0001.015.046-048_ET at 046.
277
      Ibid at 048.
278
      Ex. C-40, Communication from Military Intelligence Branch 294, dated 17 August 2011
attaching Communication from NSB to Secretary of the Ba’ath Party (Heads of Security
Committees) in Hama, Damascus Countryside, Deir ez-Zor, Homs, Idleb and Dar’a governorates,
dated 06 August 2011, SYR.D0043.004.093-094_ET at 094.
279
      See, e.g. Ex. C-74, Political Security Department, Special register for names of individuals
arrested during the security military campaign in Deir ez-Zur since 7/8/2011,
SYR.D0080.048.001_ET and Ex. C-75, Names of Investigation Section detainees for Monday
2/1/2012, dated 02 January 2012, SYR.D0080.048.010-011_ET at 010. This register includes a
series of reports from the Investigations Department of the Deir ez-Zor Political Security to the
Head of the Branch listing names of persons arrested in the investigations department. One report,
Ex. C-75, SYR.D0080.048.010-011_ET at 010, lists 30 individuals arrested for a variety of reasons
including for being member of a coordination committee, ‘[p]articipation in protests’, ‘[p]rotesting and
filming protests in order to send it to agenda-driven channels’, ‘filming protests and public order units’,
and participation in armed attacks).


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potentially hostile journalists were targeted for arrest.280 Concurrently, the Regime also began to

look at measures to use the media more effectively for their own purposes. As noted earlier in this

Report, the CCMC instructed the Minister of Information to establish a Media Monitoring Cell

within his ministry.281 In one of the first meetings of the CCMC after Hassan Turkomani took over

as its Head, the importance of the media to the Regime was stressed.282 This meeting discussed:

       . . . the important role played by the media and the necessity of having a platform for
       media influence and of using media information and resources optimally.283

       192.    The CCMC decided to further strengthen the media strategy of the Regime by

sending:

       … a recommendation to the Minister of Information to form a media crisis cell, which
       [would] include psychology and media experts. It [would] be assisted by political, military,
       and security experts. Its aim [would] be to deliver a media message of integrity to inside
       and outside the country.284

       193.    As part of the ‘influence’ process, the Regime appeared to begin to consider the

controlled visit of some journalists to Syria in order to present their views of the conflict. For

example, on 20 December 2011, the Ministry of Information’s Foreign Media Department sent a

request to the Governor of Dara’a asking for opinions from senior police and security figures

regarding the visit of a group of journalists from Japanese, Italian and Chinese agencies to Dar’a.



																																																								
280
      See, e.g. Ex. C-123, Report from Military Intelligence Branch 235/2 to Branch 271, dated 20
February 2012, SYR.D0179.042.065_ET at 065. This notes that they had received information on
a Lebanese journalist who ‘travels constantly to Syria, takes pictures of demonstrations and the Armed
Forces, especially burned tanks, in addition to pictures derogating Mr. President Bashar al-Assad’. He
was to be investigated and, if found, arrested and sent to Military Intelligence 235.
281
      Ex. C-187, CCMC Instruction to the Minister of Information, dated 16 August 2011 based on a
meeting of the CCMC, dated 13 August 2011, SYR.E0013.002.025_ET at 025.
282
      Ex. C-178, Minutes of Meeting of the CCMC on 24 October 2011, dated 25 October 2011,
SYR.E0001.015.024-026_ET at 025.
283
      Ibid.
284
      Ibid.


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The journalists were to be accompanied by members of the Ministry of Information and were to

tour the governorate in order to witness areas of ‘vandalism’.285

        194.    In the period of November 2011 to January 2012 the Regime continued to further

militarise the conflict by placing the army at the centre of their security efforts. As noted above in

Section III.G, the decisions taken at the end of the month were critical and included the

appointment of Military and Security Chiefs in tense governorates where operations were ongoing.

As previously highlighted, in the CCMC meeting of 21 November 2011, only weeks after the

collapse of the Arab League negotiations, the CCMC discussed:

        … the positive impact of appointing military commanders with recognized competence
        and experience to command operations, especially in hot governorates; vesting them with
        the power to command all superiors and heads of civil, military and security agencies in
        the district; and the importance of coming up with creative solutions to end the crisis[.]286

        195.    At that same meeting, Imad Dawoud Rajiha (Minister of Defence/Deputy General

Commander of the Army and Armed Forces) was tasked to ‘propose the appropriate commanders to

take control of operations in the hot governorates (Idleb – Hama – Homs ... etc)’ and on 23 November

2011, Rajiha was instructed ‘to issue special orders to appoint the commanders with the powers to

command the operations in the tense governorates’.287


																																																								
285
      Ex. C-60, Ministry of Information, Foreign Media Department letter to the Governor of Dar’a,
dated 20 December 2011, SYR.D0063.012.127_ET at 127. Also note Ex. C-61, Minister of Local
Administration letter, dated 11 December 2011, SYR.D0063.012.149-150_ET at 149-150. This
letter details the names of ‘the media delegation’ that was certified by the Ministry of Information to
visit electoral centres for local council elections. The journalists came from Egyptian, Iranian,
Turkish, and Dubai TV networks. It would seem that the Regime were controlling potentially
friendly media outlets in order to disseminate their message, have media influence, maximize the use
of their information and portray the Regime in a favourable light.
286
     Ex. C-180, Minutes of the CCMC Meeting on 21 November 2011, dated 22 November 2011,
SYR.E0001.015.046-048_ET at 047.
287
        Ex. C-189, Minutes of the CCMC on 23 November 2011, dated 24 November 2011,
SYR.E0013.002.058-059_ET at 059.


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       196.    As was the case in a number of other governorates, the CCMC decisions resulted in

the formal appointment of a Military and Security Chief in Homs. A senior military officer filled

this position with an assistant that came from the Military Intelligence Department. Although CIJA

documentation does not appear to be complete for the entire period of November 2011 to February

2012, references that have been identified appear to indicate that the Homs Military and Security

Chief was initially Imad Ali Abdullah Ayoub, a Deputy Chief of Staff of the Army and Armed

Forces.288 As discussed below in Section IV.D, Ayoub’s assistant (a position entitled the ‘Security

Chief in the Homs Governorate and Assistant to the Military Commander’) was Rafiq Shahadah, a

senior officer in the Military Intelligence Department.289

       197.    After the establishment of the Military and Security Chiefs, the Regime launched

further attacks in Homs. These invariably involved significant shelling of the city. In December

2011 media reporting was referencing the sniping of civilians and the shelling of urban areas in

Homs.290



																																																								
288
      See Ex. C-103, Cover letter from Branch 261 attaching a letter from Branch 261 to ‘Mr. Imad
Ali Abdullah Ayoub, Deputy Chief of Staff, the General Military and Security Chief in the Homs
Governorate’, dated 10 April 2012, SYR.D0124.020.003-004_ET at 004; Ex. C-57, Appointment
order, dated 10 August 2011, SYR.D0063.010.008_ET at 008.
289
      See ‘‘Corrigendum to Council Implementing Regulation (EU) No 363/2013 of 22 April 2013
implementing Regulation (EU) No 36/2012 concerning restrictive measures in view of the situation
in Syria’ in Official Journal of the European Union, dated 09 May 2013 at http://eur-
lex.europa.eu/legal-content/EN/TXT/?uri=celex:32013R0363R(03) (identifying Rafiq Shahadah as
‘Head of Syrian Military Intelligence Branch 293 (Internal Affairs)’).
290
      See, e.g. Kareem Fahim, ‘Syria Observers Urged to Hurry to Homs, Where Death Toll Keeps Rising’,
New York Times, dated 26 December 2011 at
http://www.nytimes.com/2011/12/27/world/middleeast/as-reports-of-deaths-mount-syria-observers-
urged-toward-homs.html; Christopher Sultan (trans.), ‘Inside Syria’s Death Zone: Assad’s Regime
Hunts People in Homs’, Der Spiegel (Spiegel Online), dated 23 December 2011 at
http://www.spiegel.de/international/world/inside-syria-s-death-zone-assad-s-regime-hunts-people-in-
homs-a-805519.html.


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        198.    It should be noted that armed opposition attacks against security force personnel,

checkpoints and infrastructure increased significantly by this time and into 2012. These attacks

often resulted in the death and wounding of Regime security personnel. References in Regime

documents make note of the sniping of personnel at checkpoints,291 RPG attacks, ambushes and

abductions.292 On 08 December, an oil pipeline was blown up in the governorate causing significant

damage to the facility.293

        199.    A fresh attempt was made by the Arab League to press for peace. Under significant

international pressure, on 19 December, Syria signed another peace plan, agreeing to the

deployment of Arab League monitors to observe the planned withdrawal of the Syrian army and

armed opposition from cities, and release of detainees.294 On 26 December, the first 50 monitors

began to deploy.295

        200.    In the very days before the monitors arrived, however, the Regime launched a

significant military operation in Homs. A CCMC report on the security situation noted that:

        At 6:00 on 23/12, a search operation was conducted for wanted persons in the city
        districts of (Baba Amr[] – Jouber – Al-Sultaniyya) as a result of which (42) individuals
        were arrested. The following were confiscated: /2/ cars, /2/ motorcycles, /2/ field hospitals


																																																								
291
      See, e.g. Ex. C-163, CCMC report on the security situation, dated 22 November 2011,
SYR.E0001.011.148-151_ET at 149; Ex. C-162, CCMC report on the security situation, dated 20
December 2011, SYR.E0001.011.127-131_ET at 128.
292
      See, e.g. Ex. C-182, CCMC report on the security situation, dated 04 February 2012,
SYR.E0001.020.015-019_ET at 016.
293
      Dominic Evans, ‘Syria says pipeline blown up by rebel saboteurs’, Reuters, dated 08 December
2011 at https://www.reuters.com/article/us-syria/syria-says-pipeline-blown-up-by-rebel-saboteurs-
idUSTRE7B51KB20111208.
294
      ‘Syria signs deal to allow Arab League observers into country’, The Guardian, dated 19 December
2011, at https://www.theguardian.com/world/2011/dec/19/syria-to-admit-arab-league-observers.
295
       ‘Assad crackdown intensifies as Arab League monitors arrive in Syria’, The Guardian, dated 26
December 2011, at https://www.theguardian.com/world/2011/dec/26/syria-crackdown-arab-league-
monitors.


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        and one field clinic on which was written Free Syrian Army, one Russian rifle, /2/
        hunting rifles, /3/ fighting guns, one hand grenade and /4/ explosive devices.296

        201.    This report also made note of shooting between armed individuals and military

checkpoints, the deaths and wounding (by gunshot) of a number of civilians that had been taken to

hospitals (the assailants were ‘unidentified’), the death of one soldier and the wounding of 14 others.

        202.    The operation continued the following day with the CCMC reporting that:

        At 6:00 on 24/12, the search and inspection operation continued in the city districts and
        villages of (Baba Amr[]—Sultaniyeh—Jober). (Forty-six) people were arrested, /19/ stolen
        vehicles were seized—along with /4/ Russian rifles—/2/ fighting guns—/8/ (RPGs)—
        anti-tank missile launcher—/18/ explosive devices—/44/ Israeli-made dynamite sticks—
        /18/ remote controls—/3/ /RPG/ launchers—/4/ computers—/3/ field hospitals, fake
        license plates—/100/ kg of chemicals used in making explosive devices—/700/ kg of
        materials used in making bombs—equipment used in making bombs and a quantity of
        ammunition—/70/ explosive devices. An explosive device was defused from under the
        railway in the city district of Baba Amr[].297

        203.    This report also noted that an attack was made on a BMP (an armoured infantry

fighting vehicle) convoy in Baba Amr and that armed individuals ‘took control of the vehicles’ and

used them to shoot at checkpoints. Armed individuals in Baba Amr also allegedly launched an RPG

attack on an ambulance, destroying it.298 The former Ba’ath Branch Secretary in Homs (in Baba

Amr) was killed along with his wife in an RPG attack and five army soldiers were killed and in

different city districts, while twenty-eight army and security troops were hospitalised for gunshot

injuries. The operation continued into 26 December.299




																																																								
296
      Ex. C-165, CCMC Report on the Security Situation, dated 24 December 2011,
SYR.E0001.011.176-180_ET at 177.
297
      Ex. C-166, CCMC report on the Security Situation, dated 25 December 2011,
SYR.E0001.011.182-186_ET at 183.
298
      Ibid at 184.
299
      Ex. C-167, CCMC report on the security situation, dated 27 December 2011,
SYR.E0001.011.193-199_ET at 195.


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       204.    In its report of 22 February 2012, the UN CoI referenced the operation in Homs

prior to the arrival of the Arab League monitors and noted that:

       From 24 to 26 December 2011, the army launched a large-scale operation in Bab[a]
       Amr, Homs, where an FSA group was present. Residential buildings in Bab[a] Amr were
       shelled by tanks and anti-aircraft guns. League of Arab States observers, who visited on 27
       December, confirmed that the area had been shelled. State snipers also shot at and killed
       unarmed men, women and children.300

       205.    The Arab League monitors arrived in Homs on 27 December interrupting the

Regime’s operations in Baba Amr. 301 The monitors remained in Syria for a number of weeks. The

report of the Head Observer Mission (written on 18 January 2012) noted that on 27 December

2011, the Head of the Mission and ten observers conducted a preliminary visit to Homs which had

seen ‘acts of violence and armed confrontation.’302 The report stated that on arriving the Head of the

Mission met with the Governor who:

       … explained that there had ben an escalation in violence perpetrated by armed groups in
       the city. There had been instances of kidnapping and sabotage of Government and
       civilian facilities. Food was in short supply owing to the blockade imposed by armed
       groups, which were believed to include some 3000 individuals. The Governor further
       stated that all attempts by religious figures and city notables to calm the situation had
       failed. He made enquiries regarding the possibility of addressing the issue of soldiers and
       vehicles blocked inside Baba Amr.303

It was further reported that the Mission:

       … met with a number of opposition citizens who described the state of fear, blockade and
       acts of violence to which they had been subjected by Government forces. At a time of
																																																								
300
      Report of the UN Independent International Commission of Inquiry on the Syrian Arab
Republic, dated 22 February 2012, at para 43, available at: https://documents-dds-
ny.un.org/doc/UNDOC/GEN/G12/106/13/PDF/G1210613.pdf (‘Second UN CoI Report’).
301
      Ibid.
302
      Report of the Head of the League of Arab States Observer Mission to Syria for the period from
24 December 2011 to 18 January 2012 (‘Arab League Report’), at para 12, attached as Enclosure 4
to Letter, dated 24 January 2012 from the Secretary-General addressed to the President of the
Security Council, S/2012/71, http://repository.un.org/bitstream/handle/11176/16570/S_2012_71-
EN.pdf.
303
      Ibid. at para 13.


                                                   94
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             intense exchanges of gunfire among the sides, the Mission witnessed the effects of the
             destruction wrought on outlying districts. The Mission witnessed an intense exchange of
             gunfire between the Army and opposition in Baba Amr.304

             206.          In summarising their findings in relation to their mandate to monitor and observe

the cessation of violence, the Head of the Mission reported that observers witnessed acts of violence

perpetrated by Government forces and an exchange of gunfire with armed elements in Homs. They

also observed armed groups committing acts of violence against Government forces, resulting in

death and injury among their ranks. In certain situations, ‘Government forces responded to attacks

against their personnel with force’.305 It also noted that:

             In Homs, Idlib and Hama, the Observer Mission witnessed acts of violence being
             committed against Government forces and civilians that resulted in several deaths and
             injuries. Examples of those acts include the bombing of a civilian bus, killing eight persons
             and injuring others, including women and children, and the bombing of a train carrying
             diesel oil. In another incident in Homs, a police bus was blown up, killing two police
             officers. A fuel pipeline and some small bridges were also bombed.306

             207.          Their mandate expired on 19 January and although they decided to extend it for

another month around 23 January, President al-Assad turned down another Arab League peace

proposal. Although the monitors remained in Syria for a short period, the mission effectively

collapsed.

             208.          As well as shelling in Homs, as reported by the Arab League Monitors, on 11

January, the French journalist Gilles Jacquier was among a number of people killed in central Homs




																																																								
304
      Ibid. at para 14.
305
      Ibid. at para 26.
306
      Ibid. at para 27.


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during a government-sponsored visit to the area.307 It is of note that the members of the CCMC

were aware of this particular incident as it was reported on 12 January.308 This report noted:

        At 15:20, an (RPG) was fired at a house on the street of the Sahara tourist resort.
        Subsequently, a French journalist visited the site where the missile had struck along with a
        number of civilians and members of the press corps and were targeted by two (RPGs)
        resulting in the death and martyrdom of /7/ individuals, including the French journalist.
        /11/ individuals, including a woman, and /3/ members of the press corps were wounded
        from shrapnel.309

        D.      ATTACK ON BABA AMR (FEBRUARY 2012)

        1.      Overview

        209.    During the month of February 2012, Syrian military and security forces conducted a

large-scale operation in Homs, in particular, in the neighbourhoods of Khalidiya and Baba Amr.

The operation in Homs during this month was noted by a significant and intensified bombardment

in the civilian neighbourhoods followed by intensive ground force operations that eventually

succeeded in taking back control of the neighbourhoods lost to the Regime. The period was marked

by the targeting of civilian areas by shelling and tanks fire, significant numbers of civilian casualties

and the destruction of buildings and property. Arrests and killings were reported in the period after

the retake of the neighbourhoods. On the completion of the operation, President al-Assad toured

the area in early March blaming terrorists and praising the efforts of the army.

        2.      Homs Military and Security Chief

        210.    In relation to the command and control of operations in Homs, the role of the

Homs Military and Security Chief was significant. As noted earlier in this Report, in late November
																																																								
307
      See, e.g. Melissa Bell, ‘Gilles Jacquier, French journalist, killed in Syria’, The Washington Post,
dated 11 January 2012 at https://www.washingtonpost.com/blogs/blogpost/post/gilles-jacquier-
french-journalist-killed-in-syria/2012/01/11/gIQADWkuqP_blog.html?utm_term=.d1e61688df0f.
308
      Ex. C-183, CCMC report on the security situation, dated 12 January 2012,
SYR.E0001.022.001-005_ET at 002.
309
      Ibid.


                                                    96
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2011, the CCMC discussed the positive effect of appointing competent and experienced military

commanders to direct all civilian, military and security bodies in the ‘hot’ or tense governorates.310

As a result, Imad Dawoud Rajiha (the Minister of Defence/Chief of Staff of the Army and Armed

Forces) was tasked to propose ‘the appropriate commanders for operations in hot governorates: Idleb –

Hama – Homs . . . etc.’311 On 23 November 2011, Rajiha was instructed to ‘issue special orders to

appoint the commanders with the powers to command the operations in the tense governorates’.312

        211.    As noted earlier, national level decisions resulted in the formal appointment of a

Military and Security Chief in Homs, a key command position. A senior military officer filled this

position with an assistant that came from the Military Intelligence Department.                   CIJA

documentation indicates that the Homs Military and Security Chief was (at least initially) Imad Ali

Abdullah Ayoub, one of the Deputy Chiefs of Staff of the Army.313 The fact that such a senior and

key figure in the Command of the Army and Armed Forces was appointed to this position in Homs

is testimony to the seriousness with which the senior leadership viewed the situation in the

governorate. Furthermore, it indicates a belief that the situation was to be resolved by someone with

seniority and experience.

        212.    Although Ayoub, as the Military and Security Chief, was the key commander, he did

have an Assistant (entitled the ‘Security Chief in the Homs Governorate and Assistant to the Military

Commander’) who was Rafiq Shahadah, a senior officer in the Military Intelligence Department. A
																																																								
310
      Ex. C-180, Minutes of the CCMC on 21 November 2011, dated 22 November 2011,
SYR.E0001.015.046-048 at 047_ET at 047.
311
      Ibid. at 048.
312
    Ex. C-189, Minutes of the CCMC meeting on 23 November 2011, dated 24 November 2011,
SYR.E0013.002.058-059_ET at 059.
313
      See, e.g. Ex. C-103, Cover letter from Branch 261 attaching a letter from Branch 261 to ‘Mr.
Imad Ali Abdullah Ayoub, Deputy Chief of Staff, the General Military and Security Chief in the
Homs Governorate’, dated 10 April 2012, SYR.D0124.020.003-004_ET at 004; Ex. C-57,
Appointment order, dated 10 August 2011, SYR.D0063.010.008_ET at 008.


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comparison of signatures in CIJA-obtained documents reveals that by early 2012 Shahadah was in

this position in Homs. Previously, Rafiq Shahadah had been the head of a Military Intelligence

Branch in Damascus (Branch 293). On 23 August 2011, the European Union placed Shahadah on

their sanctions list stating that he was:

         Head of Syrian Military Intelligence (SMI) Branch 293 (Internal Affairs) in Damascus.
         Directly involved in repression and violence against the civilian population in Damascus.
         Advisor to President Bashar Al-Assad for strategic questions and military intelligence.314

         213.    A small number of documents held by the CIJA allows for a comparison to be made

between the signature of the Head of Military Intelligence Branch 293 in 2011/2012 (Shahadah)

and the Security Chief in the Homs Governorate and Assistant to the Military Commander in 2012.

315
      This comparison appears to demonstrate a match in the distinctive signatures. This would

appear to indicate that at some point after Imad Ali Abdullah Ayoub was appointed as the Homs

Military and Security Chief, Rafiq Shahadah was appointed as his Assistant. It is also of note that

one CIJA held document from Branch 293 (signed by Shahadah) is dated 16 February 2012 (i.e. at

the height of the Baba Amr attack).316 This would seem to indicate that Shahadah was potentially

doing both jobs concurrently or was able to maintain oversight of some Branch 293 work at the


																																																								
314
     Corrigendum to Council Implementing Regulation (EU) No 363/2013 of 22 April 2013
implementing Regulation (EU) No 36/2012 concerning restrictive measures in view of the situation
in Syria in Official Journal of the European Union, dated 09 May 2013 at http://eur-
lex.europa.eu/legal-content/EN/TXT/?uri=celex:32013R0363R(03).
315
      To compare the signatures, note, for example, the signature of the Head of Branch 293 on Ex.
C-115, Letter from Branch 293 to Branch 271, dated 28 September 2011,
SYR.D0175.004.005_ET at 005 and the signature of ‘Major-General Security Commander in the
Homs Governorate and Assistant to the Military Commander’ in Ex. C-91, Branch 318 report, dated
20 March 2012, SYR.D0124.006.001-003_ET at 003. The relevant signature appears in the
signature block labelled ‘Opinion of Mr. Major General Security Chief in the Homs Governorate and
Assistant to the Military Commander’.
316
      Ex. C-135, Communication from Head of Branch 293 to the Head of Branch 222 and the Head
of Branch 271, dated 16 February 2012, SYR.D0199.041.009_ET at 009.


                                                    98
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same time that he was the Security Chief in the Homs Governorate and Assistant to the Military

Commander.

       214.    In relation to the function of the Homs Military and Security Chief, it appears from

a number of documents provided by the CIJA that this was a critical and significant military position

in the governorate. The initial reason for establishing such a position at all was to place all the

security bodies in the governorate under the command of an experienced and senior military figure.

In Idleb governorate, the appointment order for the Military and Security Chief came from the

President, authorised and signed by the Minister of Defence/Chief of Staff of the Army and Armed

Forces.317 It charged Major-General Fuad Hammouda with the command of all military units,

security forces, police units and government/party authorities and he was to be seen as the head of

the Security Committee in the governorate. All these bodies were requested to fully comply with the

order and:

       Full cooperation and coordination between those concerned is requested for the
       implementation of organised special operations in order to achieve complete success, ensure
       the security and stability in the governorate and enhance the confidence of the citizens in
       their army and security forces. 318

       215.    It was also referenced that ‘a daily report with all activities carried out in the

governorate is to be sent to the General Command of the Army and Armed Forces – Operations

Commission.’ If this was the instruction in Idleb (one of the tense or ‘hot’ governorates), it would

seem very likely that a similar appointment instruction would have been issued for the Military and

Security Chief in Homs.




																																																								
317
      Ex. C-120, Administrative Order from the General Command of the Army and Armed Forces,
dated 26 November 2011, SYR.D0178.001.007_ET at 007.
318
      Ibid.


                                                   99
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       216.    Documentation in the spring and summer of 2012, clearly demonstrates that the

Homs Military and Security Chief was the link between the governorate level security/intelligence

branches and the military units conducting operations in Homs (including the 11th Division, the

18th Division and the deployed Special Forces units).

       217.    Imad Ali Abdullah Ayoub’s position as the Homs Military and Security Chief fits

with the decisions of the CCMC in November 2011 to appoint experienced and seasoned military

officers in tense governorates to lead the security apparatus in these areas, as discussed above in

Section III.G. In Idleb, Major-General Fuad Hammouda was a senior Special Forces commander

who had been operating in Idleb since the summer of 2011. Ayoub was also an experienced military

officer having commanded the 1st Corps in Dar’a earlier in the conflict.319 On his promotion to one

of the Deputy Chiefs of Staff of the Army in August 2011, it made Ayoub one of the most senior

officers in the General Staff and army. Homs was a significant military problem for the Regime and

it presumably required an officer of the level and calibre of Ayoub, a Deputy Chief of Staff and

former commander of the 1st Corps, to deal with its complexities.

       218.    A small number of documentary references (predominantly intelligence related

documents) provided by the CIJA directly refer to Ayoub in the position of the Homs Military and

Security Chief. The earliest of these is dated 13 March 2012 (less than two weeks after the end of

the operations in Baba Amr).320 This document was sent from the General Intelligence Branch in

Homs (Branch 318) addressed to ‘Imad Deputy Chief of Staff of the Army and Armed Forces – The


																																																								
319
      Ex. C-64, Letter from the Ministry of Local Administration in Dar’a, dated 14 May 2011,
SYR.D0065.002.096_ET at 096.
320
      Although the CIJA-obtained documentation pertaining to Homs does not provide complete,
day-by-day coverage of the period involving the February 2012 attack on Baba Amr, the available
documents identify key personnel and structures involved.


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Security and Military Chief in the Homs Government’.321 Although this particular document did not

mention Ayoub by name, he was at that time the Deputy Chief of Staff of the Army and Armed

Forces.322

        219.   These documentary references highlight the process of decision-making and the

authority of the Homs Military and Security Chief. It appears evident from these examples that the

Homs Military and Security Chief received information from the governorate intelligence branches,

who understood his function as a central security figure in the governorate. The branches could

(and did) make recommendations for action, and then prior to any decision by the Military and

Security Chief, the information or report was sent to the Assistant who gave his advice and opinion.

It was the Homs Military and Security Chief, however, who gave the final decision on what action

was to be taken. Once this decision was issued it was disseminated back down the chain for action.

        220.   Several documents illustrate this process of reporting, recommending, and decision-

taking, although their core subject matter is not necessarily always significant. The 13 March

document, noted above, highlights the decision-making processes utilised by the Homs Military and

Security Chief and is worth exploring in detail. 323       The document made reference that an

Intelligence Branch patrol in Hama had attempted to defuse an explosive device but it had detonated

whilst it was being transported, killing some troops. The implication was that several timers were

being used to mislead those attempting to defuse such devices. The Homs General Intelligence

																																																								
321
      Ex. C-112, Branch 261 report to all army units in Homs governorate, dated 31 March 2012,
attaching Branch 318 report sent to ‘Imad Deputy Chief of Staff of the Army and Armed Forces – the
Security and Military Chief in the Homs Government’, dated 13 March 2012, SYR.D0124.027.004-
005_ET at 005.
322
      Ex. C-57, Appointment order, dated 10 August 2011, SYR.D0063.010.008_ET at 008.
323
      Ex. C-112, Branch 261 report to all army units in Homs governorate, dated 31 March 2012,
attaching Branch 318 report sent to the ‘Imad Deputy Chief of Staff, the Security and Military Chief in
the Homs Governorate’, dated 13 March 2012, SYR.D0124.027.004-005_ET at 004.


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Branch (Branch 318) had obtained this information and felt it was important enough to pass it on.

It did this by submitting the information to the Homs Military and Security Chief, recommending

that the information should be circulated to security agencies and the army through Branch 261 (the

Homs Military Intelligence Branch) in order to alert those defusing similar devices.

             221.          Branch 318 provided the information report to Ayoub with the request ‘be informed

and advise us of your decision’. The document was processed initially by Ayoub’s Assistant (Rafiq

Shahadah; the ‘Major General, the Security Chief in the Homs Governorate and Assistant to the Military

Commander’). Shahadah signed the document and offered his opinion (‘My opinion is to approve the

recommendation’).324 The Homs Military and Security Chief (Ayoub) then acted on the report and

the opinion offered by his Assistant by issuing his ‘Decision’ which, in this case, was an approval of

the original suggestion made by Branch 318 to circulate the information through Military

Intelligence Branch 261. Once Ayoub issued his decision and signed the document, it was evidently

actioned – a second document indicated that Branch 261 did indeed issue a report to all military

units attaching a copy of the original letter from Branch 318 referencing ‘the decision of Mr. Imad,

Deputy Chief of Staff, the Security and Military Chief in the Homs Governorate’ requesting the units to

abide by its content.325

             222.          Other documents also highlight the process of proposal, opinion and decision. On

24 March, for example, Branch 318 sent a report to ‘Mr. Imad, Deputy Chief of Staff for the Army

and Armed Forces[–] Security and Military Chief in the Homs Governorate’ passing on information on

‘terrorists’ planning to target forces while deployed outside Homs using missiles capable of destroying



																																																								
324
     Ibid. at 005.
325
     Ibid. at 004.


                                                           102
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T 72 tanks.326 Branch 318 recommended passing on the information through Military Intelligence

Branch 261. The Assistant agreed with the recommendation and the Military and Security Chief, in

his decision gave his approval. 327 In a further documented example, on 10 April, Military

Intelligence Branch 261 (the Homs governorate Military Intelligence Branch) disseminated an

intelligence report to Ali Ayoub by name (‘Mr. Imad Ali Abdullah Ayoub, Deputy Chief of Staff, the

General Military and Security Chief in the Homs Governorate’).328 The information related to armed

men operating in Homs using machine guns mounted on vehicles and mortars. It also noted the

location of a restaurant that was being used as a field hospital. Branch 261 recommended that the

information be circulated among the security agencies and the army ‘in order to act accordingly’.

Again the document was signed and stamped with the ‘Security Chief in the Governorate and Assistant

to the Military Commander’ who requested the approval of Ali Ayoub, who, in turn signed the

document granting his approval.

        223.    Although the documents provide by the CIJA relating to the Homs Military and

Security Chief are dated shortly after the attack on Baba Amr, they do identify the apparent link

between the intelligence branches collecting and providing information and the dissemination of this

to military units operating in the Homs area for action. Again, the Homs Military and Security

Chief and his Assistant appeared to be the centre of this process.



																																																								
326
      Ex. C-110, Branch 261 report to the 11th and 18th Tank Divisions and the 554th and 41st Special
Forces Regiments, dated 11 April 2011, attaching Branch 318 report, dated 24 March 2012,
SYR.D0124.025.002-003_ET at 003.
327
      Ibid. at 002.
328
      Ex. C-103, Branch 261 report to the 18th and 11th Tank Divisions and the 554th and 41st Special
Forces Regiments attaching Report from Branch 261 to ‘Mr. Imad Ali Abdullah Ayoub, Deputy Chief
of Staff, the General Military and Security Chief in the Homs Governorate’, dated 10 April 2012,
SYR.D0124.020.003-004_ET at 004.


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        224.     On 14 April, for example, Branch 261 disseminated an instruction to the 11th Tank

Division, the 12th Tank Division, the 41st Special Forces Regiment and the 554th Special Forces

Regiment enclosing a Branch 261 memo that had clearly been sent earlier to the Homs Military and

Security Chief for approval. The instruction stated that the units were to ‘[b]e informed and abide by

the decision of Imad Deputy Chief of Staff, the General Military and Security Chief in the Homs

Governorate’.329 It appears that the task of disseminating instruction to the army units operating in

the governorate was given to Military Intelligence Branch 261.330

        225.     Two identified, CIJA-provided documents (dated June 2012) appear to demonstrate

a similar process in the targeting and use of artillery, in which subordinate Branches offered

‘proposals’, the Assistant offered an ‘opinion’, and then the Homs Military and Security Chief took a

‘decision’ on the use of artillery.

        226.     The first document is dated 26 June 2012. 331 On that day, Branch 261 sent

information to the Homs Military and Security Chief on a number of houses and locations in ar-

Rastan where they indicated armed men were residing and where a suspected explosives

manufacturing facility (located at a dispensary) appeared to be located. Branch 261 proposed that

the ar-Rastan sector commander be informed ‘through the committee operations office and attack[ ]

these locations with artillery’.332 The Assistant (Shahadah) signed and annotated the document with

																																																								
329
      Ex. C-98, Instruction from Branch 261 to various military units, dated 14 April 2012,
SYR.D0124.013.003_ET at 003.
330
      See, e.g. ibid.; Ex. C-105, Instruction from Branch 261 to various military units, dated 24 April
2012, SYR.D0124.023.001_ET at 001.
331
      Ex. C-93, Report from Branch 261 to the 11th Tank Division, dated 06 July 2012, attaching a
report from Branch 261 to the Homs Military and Security Chief, dated 26 June 2012,
SYR.D0124.008.003-004_ET at 004.
332
      Ibid. It is unclear from this document what ‘committee operations office’ refers to, whether this
was the Governorate Security Committee or another committee that had been established in the
command of the Homs Military and Security Chief.


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the comment ‘My opinion is to approve’. The Homs Military and Security Chief gave his decision

agreeing with the proposals and instructions to task the commander of ar-Rastan sector to ‘verify the

location of targets and shell them with the artillery’.333 As a result of these recommendations and

decisions, on 06 July, Branch 261 sent a cover letter to the 11th Tank Division enclosing the decision

of the Homs Military and Security Chief instructing ‘be informed, abide by the content and inform the

Talbiseh Sector Commander’.334

        227.    In a similar manner, on 27 June, Branch 261 sent another report to the Homs

Military and Security Chief with information about a number of defected officers living in a multi-

story house in ar-Rastan.335 According to this report, the second floor was being used as a field

hospital. To the north of the building, it was reported that there was a kindergarten and a vegetable

market. A further reference noted that a house was being used as a weapons store and a defected

officer was allegedly staying at another location. Branch 261 recommended that forces in the area

‘use the information’. The ‘opinion’ made by the Assistant was to ‘accurately locate the location and

bombard it immediately’. The ‘decision’ of the Homs Military and Security Chief appeared to be to

agree with the suggestion of his Assistant and he instructed that:

        The commander of the ar-Rastan sector, determine the location of the place and strike
        with artillery immediately.336

        228.    It should be noted that by this time (June 2012), Imad Ali Ayoub had been replaced

as the Homs Military and Security Chief by Major General Naim Jassem Suleiman (who had been

the Chief of Staff of the 3rd Corps).337

																																																								
333
      Ibid.
334
      Ibid. at 003.
335
      Ex. C-97, Branch 261 report sent to the Homs Military and Security Chief, dated 27 June 2012,
SYR.D0124.013.002_ET at 002.
336
      Ibid.


                                                  105
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             229.          Although the process of ‘proposal’, ‘opinion’ and ‘decision’ clearly placed the Homs

Military and Security Chief as the senior security and military commander in the governorate,338

some documentary evidence exists indicating that the Assistant did appear to have some authority to

issue instructions himself to the intelligence branches, in some cases without a noted signature from

the Homs Military and Security Chief.

             230.          As an example, on 18 April, Branch 318 sent a report addressed specifically to Rafiq

Shahadah (‘Major General Security Chief in the Homs Governorate and Assistant to the Military

Commander’).339 It noted that in following up communications of suspected individuals in Homs

they had monitored a phone call between two individuals. One was named                                                                                              and the

other was an unidentified individual that worked as an anchor for al-Jazeera. The report noted that:

                               was informing the latter that the city was subject to heavy bombardment,
             on an average of one shell every five minutes and around 20 missiles. He said that the
             attacks targeted al-Khalidiya neighbourhood and Jawrat al-Shiyah and that the missiles
             were either Iranian or Russian Raad because the trajectory of the missile could be heard.
             He also informed him that 18/04/2012 coincides with the anniversary of Homs Square
             massacre, the first massacre of the events. It was also said that around 150 bodies were
             rotting in the national hospital due to electricity cut-off, and around 1000 bodies were in
             the neighbourhoods of Jawrat al-Shiyah, al-Qarabis, al-Qusur, and old Homs. They are
             going to be taken away before the arrival of the monitors and attention should be drawn
             to this issue.340



																																																																																																																																																																																			
337
      See, e.g. Ex. C-104, Branch 261 report sent to ‘Major-General Naim Jassem Suleiman, Homs
Military and Security Chief’, dated 22 May 2012, SYR.D0124.021.002_ET at 002. This also
identifies the process of ‘proposal’ by the Branch, ‘opinion’ of the Assistant and the ‘decision’ of the
Homs Military and Security Chief.
338
      See, e.g. Ex. C-96, Branch 261 letter to the 11th and 18th Tank Divisions and 41st and 554th
Special Forces Regiments, dated 02 May 2012 attaching a report from Branch 318 to the Homs
Military and Security Chief, dated 12 April 2012, SYR.D0124.012.006-007_ET at 006-007.
339
      Ex. C-102, Branch 261 instruction to various military units, dated 02 May 2012 attaching a
Branch 318 report to the Security Chief in the Homs Governorate and Assistant to the Military
Commander, dated 18 April 2012, SYR.D0124.020.001-002_ET at 002.
340
      Ibid.


                                                                                     106
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        231.    The Head of Branch 318 proposed to circulate the information to ‘the security

agencies and army units through Branch 261’ and to ‘take the necessary measures’. This proposal was

agreed to by Shahadah. A number of days later Branch 261 passed the information down to the

military units in the area (the 11th Tanks Division, 18th Tanks Division, 41st Special Forces

Regiment, and 554th Special Forces Regiment) with the instruction to ‘be informed.341

        232.    It is not clear from these two documents if Shahadah had been authorised to take this

decision as a result of his position: he was by title the ‘Security Chief’ in the governorate and the

information was intelligence related rather than information which would potentially necessitate

complex military action that may have required Ayoub’s authorisation. It is possible that there had

been some prior agreements made with the Homs Military and Security Chief about what

instructions Shahadah could take without the annotation or signature of the Homs Military and

Security Chief. It is also conceivable that there had been some communication or discussion

between the Homs Military and Security Chief and Shahadah prior to the 18 April instruction itself

that did not necessitate the signature of the Military and Security Chief. It is also conceivable that

Shahadah was fulfilling an ‘Assistant’ role when the Homs Military and Security Chief was physically

away from Homs.

        233.    Irrespective of how Shahadah came to issue the instruction without the normal

‘decision’ of the Homs Military and Security Chief, he evidently was able to authorise the proposal

made by Branch 318.342 A small number of other references also note a similar process. Two reports


																																																								
341
      Ibid. at 001.
342
      Another identified reference noting a similar decision by the Security Chief and Assistant to the
Military Commander is Ex. C-106, a Branch 261 report to various military units, dated 24 April
2012, attaching a report from the Air-Force Intelligence Branch in the Central Region report, dated
13 April 2012, SYR.D0124.023.003-004_ET and at 003-004.


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from Air-Force Intelligence (one dated 20 March343 and a second dated 13 April 2011344) provided

information in the Khalidiyeh area of Homs to the Homs Security Chief. Both proposed that the

information should be circulated through Branch 261 to all security agencies and army units

operating in the area. Another reference dated 05 April was a report from General Intelligence

Branch 318 sent to Shahadah. It stated as follows:

       We were told by a source that on 3/4/2012 three houses located at the end of the city
       district of Karm al-Zeitoun, behind the phosphate corporation, were burned down after
       their owners abandoned them as a result of the poor security situation in the said district.
       The same has happened in more than one district where unidentified individuals, late at
       night, have burned down houses in several city districts in order to fuel conflict, strike fear
       and panic among civilians, and accuse the security and army of perpetrating these acts.345

       234.    The Head of Branch 318 recommended that the information be circulated through

Branch 261 to ‘act accordingly and arrest the perpetrators of such acts’. Shahadah’s decision was to

approve this recommendation.

       3.      Syrian Army Forces

       235.    The key military units involved in Homs governorate in 2011 and 2012 principally

involved elements of the 3rd Corps, in particular the 11th 346 and 18th Tank Divisions.347 Additional

																																																								
343
      Ex. C-92, Branch 261 instruction to all army units in the Central Region, dated 21 February
2012 attaching a report from the Air-Force Intelligence Branch in the Central Region to the Homs
Security Chief, dated 20 March 2012, SYR.D0124.008.001-002_ET at 002.
344
      Ex. C-106, Branch 261 report to various military units, dated 24 April 2012, attaching an Air-
Force Intelligence Branch in the Central Region report, dated 13 April 2012, SYR.D0124.023.003-
004_ET at 003-004.
345
      Ex. C-95, Instruction from Military Intelligence Branch 261, dated 21 April 2012, attaching
General Intelligence Branch 318 report sent to ‘Mr. Major General Security Chief in Homs
Governorate, Assistant to the Military Commander’, dated 05 April 2012, SYR.D0124.011.005-
006_ET at 006.
346
      See, e.g. Ex. C-108, Branch 261 letter, dated 03 April 2012, SYR.D0124.024.003_ET at 003;
Ex. C-103, Cover letter from Branch 261, dated 24 April 2012 attaching a letter from Branch 261
to ‘Mr. Imad Ali Abdullah Ayoub, Deputy Chief of Staff, the General Military and Security Chief in the
Homs Governorate’, dated 10 April 2012, SYR.D0124.020.003-004_ET at 003. These documents
both note the 11th Tank Division on the distribution list.


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elements from the Special Forces348 and 4th Division also appeared to have played a role in the Baba

Amr attack in February 2012.

             236.          The Commander of the 3rd Corps in 2011 was Major-General Talal Tlas although it

is believed that Major-General Wajih Yahya Mahmoud replaced him as Corps Commander

sometime at the end of 2011 or early 2012. Mahmoud had been the Commander of the 18th Tank

Division.349 Documents provided by the CIJA do not make clear the exact role of the 3rd Corps

Commander in Homs during the attack on Baba Amr, especially after the establishment of the

Homs Military and Security Chief.

             237.          The 18th Tank Division was one of the key units of the 3rd Corps and appears to have

been based and utilised in the city of Homs itself. The 18th Tank Division comprised a series of




																																																																																																																																																																																			
347
      See, e.g. Ex. C-84, Report from Police Command in Homs on the abduction of a Lieutenant
Colonel from the 120th Brigade of the 18th Division, dated 31 October 2011,
SYR.D0088.010.005_ET at 005; Ex. C-160, CCMC Report on the Security Situation, dated 03
December 2011, SYR.E0001.011.030-037_ET at 032. This notes the defection of an officer and
troops from the 18th Division in Homs; Ex. C-108, Branch 261 letter, dated 03 April 2012,
SYR.D0124.024.003_ET at 003.
348
      Ex. C-91, Branch 261 cover letter, dated 08 April 2012, attaching a cover letter from Branch 318
sent to ‘Homs Military Intelligence Branch, Air-Force Intelligence Branch in the Central Region and
Political Security’, dated 24 March 2012 and Branch 318 report to the ‘Deputy Chief of Staff of the
Army and Armed Forces, Homs Military and Security Chief’, dated 20 March 2012,
SYR.D0124.006.001-003_ET at 001. The Branch 261 cover letter is distributed to the 11th and
18th Tank Divisions as well as the 554th and 41st Special Forces Regiments.
349
      See, e.g. Ex. C-13, Letter from the Commander of the 18th Tank Division, dated 09 October
2011, SYR.D0017.089.069_ET at 069.


                                                                                     109
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subordinate Brigades including the 120th Mechanised Brigade,350 the 131st Tank Brigade,351 the 134th

Tank Brigade352 and the 167th Tank Brigade.353

       238.    A limited number of documents provided by the CIJA indicate that the 18th Tank

Division manned and operated checkpoints in Homs city. On 03 December 2011, a CCMC report

on the security situation noted that a Captain defected ‘from Division /18/ with (16) elements who

were deployed to a checkpoint in Baba Amr’ taking weapons and military equipment with them.354 On

02 February 2012, a Minister of Interior report to the CCMC referenced that two conscripts from

the 18th Division had defected from a security checkpoint in Bayada city district.355

       239.    Other units identified in CIJA identified documents included the engagement of the

41st and 554th Special Forces Regiments. These two regiments appeared to have been placed under

the command of the Homs Military and Security Chief.356

       240.    The 4th Tank Division has historically been seen as an elite unit of the Syrian army.

Based in Damascus this unit has gained something of a notorious reputation in the Syrian conflict.

CIJA provided documentation appears to indicate that, until the end of 2011, the commander of the
																																																								
350
      Ex. C-84, Report from Police Command in Homs on the abduction of a Lieutenant Colonel
from the 120th Brigade of the 18th Division, dated 31 October 2011, SYR.D0088.010.005_ET at
005.
351
      Ex. C-85, Administration Annex for Training and Evaluation, undated, SYR.D0090.001.025-
029_ET at 029.
352
      Ex. C-14, Letter to the 18th Tank Division from the 134th Tank Brigade, dated 08 October
2011, SYR.D0017.089.070_ET at 070.
353
      See Ex. C-137, Undated annex, SYR.D0220.004.009-012_ET at 011.
354
      Ex. C-160, CCMC report on the security situation, dated 03 December 2011,
SYR.E0001.011.030-037_ET at 032.
355
      Ex. C-191, Report from the Minister of Interior, dated 02 February 2012, SYR.E0013.007.145-
154_ET at 147.
356
      See, e.g. Ex. C-98, Branch 261 report, dated 14 April 2012, SYR.D0124.013.003_ET at 003; Ex.
C-107, Branch 261 report, dated 24 April 2012, SYR.D0124.023.005_ET at 005; Ex. C-106,
Branch 261 report to various military units, dated 24 April 2012, attaching an Air-Force Intelligence
Branch in the Central Region report, dated 13 April 2012, SYR.D0124.023.003-004_ET at 003;
Ex. C-105, Branch 261 report, dated 21 April 2012, SYR.D0124.023.001_ET at 001.


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4th Division was Major-General Ali Muhammad Dergham. 357 It is believed that Dergham was

eventually replaced. Significant open source reporting indicates that although Major-General Ali

Dergham (and any replacement) was the de jure Division commander; the de facto commander was

the President’s brother Maher al-Assad.358

        4.      Homs Governorate Intelligence/Security Branches

        241.    As is the case in all of Syria, Homs had a series of intelligence and security branches

that operated within the governorate. These were Military Intelligence Branch 261, the Air-Force

Intelligence Branch in the Central Region, General Intelligence Branch 318 and the Homs Political

Security Branch.

        242.    In 2011/2012, Military Intelligence Branch 261 was commanded by Brigadier-

General Muhammad bin Abdul Hadi al-Zamrini. On 09 September 2010, Zamrini had been

appointed as the Assistant Head of Branch.359 On 23 August 2011, the European Union placed

Zamrini on their restrictive measures list indicating that he was the ‘Branch Chief for Syrian Military

Intelligence (SMI) in Homs’ and had been ‘[d]irectly involved in repression and violence against the

civilian population in Homs.’360

        243.    As noted earlier in this report, the intelligence and security branches were involved in

an array of tasks and Branch 261 was no different in this regard. It was involved in the arrest of
																																																								
357
      Ex. C-16, Letter from the 4th Tank Division to the Infantry Training School, dated 20 October
2011, SYR.D0018.014.026_ET at 026; Ex. C-15, List of officers from the 4th Tank Division
selected to attend a platoon commander’s course, dated 12 November 2011,
SYR.D0018.013.005_ET at 005.
358
      See, e.g. European Union Council decision 2012/739/CFSP, dated 29 November 2012
concerning restrictive measures against Syria at http://eur-lex.europa.eu/legal-
content/EN/TXT/?uri=CELEX%3A32012D0739.
359
      Ex. C-133, Transfer order No 68, dated 09 September 2010, SYR.D0197.053.014_ET at 014.
360
      European Union Council decision 2012/739/CFSP, dated 29 November 2012 concerning
restrictive measures against Syria at http://eur-lex.europa.eu/legal-
content/EN/TXT/?uri=CELEX%3A32012D0739.


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individuals, 361 the collection and passage of information and intelligence, 362 security studies on

identified individuals363 and the receipt of wanted lists.364

        244.    In terms of their own information gathering, Branch 261 utilised a number of

methods of collection including the acquisition of intercepted communications and the use of

informants. In relation to the interception of communications, Branch 261 clearly had the ability to

monitor phone calls from individuals of interest, and to collect this information, analyse it and

disseminate it to others for action. On 26 September 2011, for example, one CIJA provided

document notes information gathered by Branch 261 that it had gained from monitoring the phone

calls of four individuals (one of whom was a self-styled ‘Emir’ in Idleb).365 Two of the individuals

discussed a request for the provision of a unit of blood. The details of the individuals and the

conversation they had were passed in a report from Branch 261 to Branch 271, the Military

Intelligence branch in Idleb.

        245.    In another reference, on 28 September 2011, Branch 261 sent a cover letter and the

transcript of a conversation between two individuals (one in Hama and one in al-Rastan in Homs)



																																																								
361
      See, e.g. Ex. C-119, Report from Homs Military Police to the Head of Branch 261, dated 11
September 2011, SYR.D0175.011.042-043_ET at 042. This document details the activities of an
individual who had been held by Branch 261 but was being transferred to Branch 293 by the
Military Police.
362
      Ex. C-31, Circular, dated 11 May 2011 from Branch 294 to all branches referencing a Branch
261 report on the details of a leaflet issued by Syrian opposition in Lebanon,
SYR.D0043.001.181_ET at 181.
363
      Ex. C-134, Military Intelligence Branch 271 request to Branch 261 for the security study on an
individual, dated 04 November 2011, SYR.D0197.071.007_ET at 007.
364
      See, e.g. Ex. C-5, Communication from Military Intelligence Branch 294, dated 14 December
2011 listing 21 individuals to be searched for and when arrested brought to Branch 227 (Damascus),
SYR.D0006.008.006_ET at 006.
365
      Ex. C-118, Report from Branch 261 to Branch 271, dated 26 September 2011,
SYR.D0175.011.039_ET at 039.


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discussing the situation in ar-Rastan and that it was surrounded by the army.366 The details on the

transcript indicate that Branch 261 had the capacity to identify individuals by name, the telephone

numbers they were using, the time of calls and the details of conversations.

        246.    Branch 261 also utilised sources or informers for the collection of information.367 In

a later-dated document (26 June 2012), for example, Branch 261 sent a report to the Homs Military

and Security Chief indicating that they had received information from ‘trusted sources’. 368 It

indicated that there were two chicken farms to the east of a cement factory in ar-Rastan where

around 150-200 militants were living. It also stated that ‘injured terrorist elements’ were receiving

treatment ‘at al-Berr hospital in ar-Rastan, located off the agricultural bank from the western side’.

Branch 261 proposed to the Homs Military and Security Chief to ‘influence them with artillery or

aircraft’. The Homs Military and Security Chief agreed with the proposal, instructing to ‘act

accordingly’.

        247.    Branch 261 (Military Intelligence) was potentially the most important of the

intelligence and security branches in Homs as it appeared to act as something of a conduit between

the Homs Military and Security Chief and the military units in the governorate. As noted earlier in

this Report, a process of ‘proposal’ (by intelligence branches), ‘opinion’ (by the Homs Security Chief

and Assistant to the Military Commander) followed by a ‘decision’ (by the Homs Military and

Security Chief) was utilised with the intelligence branches and those in command in the governorate.

When a decision was taken by the Homs Military and Security Chief that required the further

																																																								
366
      Ex. C-114, Cover letter and transcript sent from Branch 261 to Branch 271, dated 28 September
2011, SYR.D0175.004.001-002_ET at 001-002.
367
      See, e.g. Ex. C-109, Branch 261 report to the General Military and Security Chief in Homs,
dated 28 March 2012, SYR.D0124.024.004_ET at 004.
368
      Ex. C-100, Branch 261 report to the General Military and Security Chief in the Homs
Governorate, dated 26 June 2012, SYR.D0124.017.002_ET at 002.


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dissemination of information to or the action by military units, this was facilitated through Branch

261. This could be for information provided both by Branch 261 itself or information provided by

the other security/intelligence branches.

        248.    As an example, on 10 April, Branch 261 disseminated an intelligence report to Ali

Ayoub (by name).369 This related to armed men operating in Homs using machine guns mounted

on vehicles and mortars and referenced the location of a restaurant that was being used as a field

hospital. Branch 261 recommended that the information be circulated among the security agencies

and the army. Ayoub granted his approval. A little later, Branch 261 drafted a cover letter enclosing

the same report and Ayoub’s signature and determination and sent this to the 11th Tank Division,

the 18th Tank Division, the 554th and 41st Special Forces Regiments drawing specific attention to

Ayoub’s decision.370

        249.    Demonstrating the same dissemination process but utilising information from

another intelligence/security branch, on 20 March, Branch 318 (General Intelligence) sent a report

to the Homs Military and Security Chief providing information from ‘a source’ about armed

opposition activity in various locations.371 It noted that the source had indicated that ‘around /600/

gunmen fled Baba Amr to the Lebanese town of Arsal’. Branch 318 proposed that the information be

circulated to ‘all security agencies and army units through Branch 261 to take the necessary security

measures’. On 08 April, Branch 261 disseminated the information to the military units in the
																																																								
369
      Ex. C-103, Cover letter from Branch 261 attaching a letter from Branch 261 to ‘Mr. Imad Ali
Abdullah Ayoub, Deputy Chief of Staff, the General Military and Security Chief in the Homs
Governorate’, dated 10 April 2012, SYR.D0124.020.003-004_ET at 004.
370
      Ibid. at 003.
371
      Ex. C-91, Branch 261 cover letter, dated 08 April 2012, attaching a cover letter from Branch 318
sent to ‘Homs Military Intelligence Branch, Air-Force Intelligence Branch in the Central Region and
Political Security’, dated 24 March 2012 and Branch 318 report to the ‘Deputy Chief of Staff of the
Army and Armed Forces, Homs Military and Security Chief’, dated 20 March 2012,
SYR.D0124.006.001-003_ET at 002.


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governorate including the 11th Tank Division, the 18th Tank Division, and the 554th and 41st Special

Forces Regiments.372

       250.    In a similar manner to Branch 261, General Intelligence Branch 318 also appeared to

have the capability to intercept communications. On 03 April 2012, for example, Branch 318

dispatched a report to Imad Ali Ayoub that referenced the monitoring of a phone call between two

individuals discussing the situation in Deir Baalba district in Homs city and the opposition defences

in the area and their lack of ammunition. 373 The Head of Branch 318 proposed that the

information be circulated to all security agencies and army units through Branch 261 ‘to take the

necessary security and military measures’. The Homs Military and Security Chief approved the

proposal and later the report was disseminated by Branch 261 to the military units in the area.374 It

should be noted that around this time, open source reporting made reference of a significant

massacre that occurred in Deir Baalba.375

       251.    In terms of the other two intelligence/security branches in Homs, in early 2012, the

Air-Force Intelligence Branch in the Central Regions was commanded by Staff Brigadier-General




																																																								
372
      Ibid. at 001.
373
      Ex. C-94, Branch 261 report to various military units, dated 26 April 2012 attaching Branch 318
report to the ‘Deputy Chief of Staff of the Army and Armed Forces[,] Homs Military and Security Chief’,
dated 03 April 2012, SYR.D0124.008.005-006_ET at 006.
374
      Ibid. at 005.
375
      See, e.g. Erika Solomon, ‘Syrians find “massacre” on Homs city street’, Reuters, dated 07 April
2012, at https://www.reuters.com/article/us-syria-bodies/syrians-find-massacre-on-homs-city-street-
idUSBRE83606V20120407.


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Sayel Asa’ad Dawoud376 and the Political Security Branch in Homs was commanded by Brigadier-

General Hussam Luqa.377

       5.      Armed Opposition Activity (October 2011 – February 2012)

       252.    By the autumn of 2011 an organised armed opposition had been firmly established

in Homs that was controlling sections of the city and undertaking operations against Regime security

forces. Prior to this, some documentary references had already noted the presence of armed elements

during some of the earlier demonstrations in Homs governorate, especially after the deaths of

protesters at the hands of security elements.378 Some references also noted that armed elements had

caused casualties to Regime security forces in this period379 and that weapons smuggling into Homs

was being reported.380

       253.    In the summer months, after the establishment of the Free Syrian Army (FSA) in

July 2011, armed opposition groups began to further organise and coalesce in Homs. By the

autumn, defected officers and soldiers that had fled to Homs and volunteers from the city had

formed an opposition that gradually began to take control of some city areas initially as defensive

groups.381 They developed further and began to conduct their own active operations against Regime

																																																								
376
      Ex. C-92, Branch 261 instruction to all army units in the Central Region, dated 21 February
2012 attaching a Communication from the Air-Force Intelligence Branch in the Central Region to
the Homs Security Chief, dated 20 March 2012, SYR.D0124.008.001-002_ET at 002.
377
     Ex. C-69, Political Security Branch in Homs report to the Head of the Political Security Branch
in Ar-Raqqa, dated 26 June 2012, SYR.D0077.017.008_ET at 008.
378
      See, e.g. Ex. C-147, CCMC report on the security situation, dated 04 May 2011,
SYR.E0001.006.024-027_ET at 025.
379
      See, e.g. Ex. C-148, CCMC report on the security situation, dated 06 May 2011,
SYR.E0001.006.032-037_ET at 034.
380
      Ex. C-131, Bulletin from the Communications Administration, dated 22 June 2011,
SYR.D0183.016.123-124_ET at 123.
381
      See, e.g. Dispatch from BBC reporter Paul Wood in Homs, dated 26 November 2011, entitled
‘Syria slowly inches towards civil war’ at http://www.bbc.co.uk/news/world-middle-east-15905970.
Also referenced in Telegraph article by Paul Wood, dated 26 November 2011, entitled ‘Syria


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forces. As joint military/security operations began to increase in Homs, the activity of armed

opposition groups also began to increase.382 Incidents reported to the CCMC included shooting at

Regime checkpoints and armed clashes,383 the killing of security force personnel,384 and attacks on

infrastructure.385

             254.          By November, Regime forces lost control of Baba Amr and their presence was

limited to holding a number of checkpoints in the district and their own military forces surrounding

the city.386 Armed clashes between the Regime and the opposition became even more frequent.

Some of the reports to the CCMC note this activity, including RPG attacks by ‘gunmen’ and

continued assaults on Regime checkpoints. 387 Other reports note the death and wounding of



																																																																																																																																																																																			
Despatch: inside the battle for Homs, centre of resistance to Bashar al-Assad’ at
http://www.telegraph.co.uk/news/worldnews/middleeast/syria/8917973/Syria-despatch-inside-the-
battle-for-Homs-centre-of-resistance-to-Bashar-al-Assad.html.
382
     See Report of the UN Independent International Commission of Inquiry on the Syrian Arab
Republic (UN CoI) report, dated 16 August 2012, at paras 26-29, 58, available at
http://www.ohchr.org/Documents/HRBodies/HRCouncil/RegularSession/Session21/A-HRC-21-
50_en.pdf (‘Third UN CoI Report’).
383
      See, e.g. Ex. C-155, CCMC report on the security situation, dated 09 June 2011,
SYR.E0001.008.029-031_ET at 029; Ex. C-156, CCMC report on the security situation, dated 26
June 2011, SYR.E0001.008.073-074_ET at 073.
384
         See, e.g. Ex. C-141, CCMC report on the security situation, dated 01 August 2011,
SYR.E0001.001.003-005_ET at 003.
385
      See, e.g. Ex. C-164, CCMC report on the security situation, dated 23 December 2011,
SYR.E0001.011.165-169_ET at 166.
386
      See, e.g. Ex. C-190, Report from the Minister of Interior, Political Security Division, dated 02
February 2012, noting checkpoints in the Baba Amr area of Homs, SYR.E0013.004.017-031_ET at
019-020.
387
        See, e.g. Ex. C-168, CCMC report on the security situation, dated 01 February 2012,
SYR.E0001.012.001-006_ET at 003. This noted RPG attacks and an attack by unknown gunmen
who ‘opened fire against an army checkpoint on Baba Amr neighbourhood. As a result, 3 elements from
the army suffered wounds’. Also note Ex. C-192, Report from the Minister of Interior to the CCMC,
dated 03 February 2012, SYR.E0013.007.155-168_ET at 158-159. This notes in Homs examples
of demonstrations in which some members were armed, attacks on Regime checkpoints, the killing
of security force personnel, attacks on infrastructure and abductions.


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Regime security force personnel.388 In one reference on 05 February, for example, a report noted the

wounding of seventy-seven military and security personnel in various locations in Homs.389 Attacks

on infrastructure by ‘unknown gunmen’ were also referenced, including damage to the oil pipeline

that ran through Homs governorate.390

       255.    When the Arab League observers arrived in Homs they attempted to negotiate a

cease-fire in Homs but were unsuccessful. The report of the mission details several incidents of

armed violence between Regime forces and armed opposition groups in Homs and Baba Amr. It

also reports that members of the Mission were in contact with both opposition groups and Regime

officials, and sought to mediate between the parties.391 After their withdrawal, the Regime launched

the shelling of and attack on Baba Amr.

       6.      Baba Amr Offensive (4 – 28 February 2012)

       256.    On the eve of the attack on Baba Amr, the NSB issued a circular disseminating the

measures that the CCMC had directed from a meeting they had held on 01 February 2012.392

According to the NSB circular, the CCMC had ‘discussed the outcomes of security and military actions’

at the national level and took a number of decisions ‘pertaining to guiding military and security

commanders’. Taking into consideration that the Deputy General Commander of the Army and

Armed Forces/Minister of Defence was a member of the CCMC and that the instructions discussed

specifically related to both military commanders as well as security ones, it would seem likely that the
																																																								
388
      See, e.g. Ex. C-164, CCMC report on the security situation, dated 23 December 2011,
SYR.E0001.011.165-169_ET at 166.
389
       Ex. C-193, Report from the Minister of Interior to the CCMC, dated 05 February 2012,
SYR.E0013.007.181-192_ET at 184.
390
      See, e.g. Ex. C-168, CCMC report on the security situation, dated 02 January 2012,
SYR.E0001.012.001-006_ET at 003.
391
      Arab League Report at paras. 13, 15, 16.
392
      Ex. C-70, Circular from the NSB, dated 03 February 2012, SYR.D0077.030.007-008_ET at
007-008.


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CCMC instructions would have also been disseminated through the military chain as well as the

NSB (intelligence/security) chain, as noted in this circular.

            257.         The NSB circular passed on a series of measures that the CCMC had decided upon

at their 01 February meeting. It instructed that checkpoints were to be activated and mutually

supportive, that the armed opposition were to be stopped from establishing checkpoints, measures

were to be undertaken to block the flow of funds and weapons into opposition areas, meetings were

to be held ‘in order to evaluate, on a daily basis, all the carried out operations, analyse the situation from

all angles and carefully examine the next day’s tasks’, there was to be constant communication between

‘leaders and subordinates’ and obstacles were to be overcome.393 In relation to targeting, the CCMC

instructed that military and security commanders were to:

            Carefully examine and constantly follow-up on information about targets, in addition to
            carrying out successful surprise actions, always taking the initiative, resorting to deception
            and camouflage and appropriate means of psychological war, wearing down and draining
            the enemy, achieving the optimal exploitation of the abilities of the special tasks groups
            that are under the command of the commanders, and beginning the implementation of
            actions that guarantee success and constantly striving to adopt new working methods and
            methodologies.394

On the retaking of territory, the CCMC instructed:

            Take measures to reinforce the presence of military, security and police units in recovered
            regions and close down all roads that facilitate the infiltration of armed men and
            terrorists, as well as all points leading to the border with Lebanon.395

            258.         The NSB were to be supplied with the names of ‘killed armed men and terrorists after

each and every clash with them.’ The names were to be disseminated through all media outlets to

assure the ‘credibility of military and security activities carried out against them in order to boost the

morale of the public.’
																																																								
393
      Ibid. at 007.
394
      Ibid. (underlining in original).
395
      Ibid.


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       259.    The CCMC meeting and the decisions emanating from it clearly indicated a

tightening of command and control of impending military/security operations, a blocking of supply

routes into opposition controlled areas, an emphasis on targeting and the improvement of command

and control measures in order to ensure the success of military operations. It appears significant that

the major military operation in Homs and Baba Amr began only a matter of days after this CCMC

meeting with a bombardment of residential areas, initially in Khalidya, on the night of 03/04

February.396 This was followed a few days later with the shelling on Baba Amr, something that

continued for much of February 2012.397

       260.    Although CIJA provided documentation is limited in relation to the shelling itself, it

is clear from open source reporting (much of it referenced contemporaneously), and from

subsequent reports from bodies such as the UN, that the shelling was on a significant and constant

scale and targeted to the civilian areas of the city. It should also be noted that the area around Homs

had seen the establishment of a number of Regime checkpoints including in Baba Amr398 and these

checkpoints tightened the control of access into and out of the city.



																																																								
396
      Report by Damien Pearse in the Guardian, dated 04 February 2012 entitled ‘Fury over Homs
massacre as UN Security Council gathers for Syria vote’ at
https://www.theguardian.com/world/2012/feb/04/homs-massacre-un-vote-syria; Telegraph report,
dated 04 February 2012, entitled ‘Homs ‘massacre’ leaves 260 dead’ at
http://www.telegraph.co.uk/news/worldnews/middleeast/syria/9061181/Homs-massacre-leaves-260-
dead.html.
397
      BBC report, dated 08 February 2012 entitled ‘Syria: Homs under heaviest shelling yet’ at
http://www.bbc.co.uk/news/world-middle-east-16941399, New York Times report by Neil
MacFarquhar, dated 14 February 2012 entitled ‘Syria Resumes Heavy Shelling of Homs’ at
http://www.nytimes.com/2012/02/15/world/middleeast/syrian-tanks-resume-shelling-despite-un-
rebuke.html and CBS News report, dated 21 February 2012, entitled ‘Syrian forces shell Homs as
troops mass’ at https://www.cbsnews.com/news/syrian-forces-shell-homs-as-troops-mass/
398
      Ex. C-168, CCMC report on the security situation, dated 01 February 2012,
SYR.E0001.012.001-006_ET at 003.


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        261.    The UN CoI, which had been collecting information since late 2011 on the situation

throughout the country (including from Homs). In relation to the period prior to the attack on

Homs, the UN CoI assessed that the army had conducted a number of large-scale operations that

had included the shelling of residential areas and in its report of 22 February referenced that:

        On 3 February 2012, in an escalation of violence, State forces in Homs began shelling
        densely populated areas in Khaldieh with heavy weapons. The presence of snipers
        prevented civilians from fleeing. On 6 February, the same type of operation was extended
        to Bab[a] Amr, which the Government shelled and attacked with rockets.399

        262.    It further reported that starting in November 2011 the levels of violence between the

Regime and opposition groups, including in Homs had increased. Army snipers in cities and

‘shabiha’ gunmen had been terrorizing the population ‘targeting and killing small children, women

and other unarmed civilians.400 It also reported that mortar bombs were also being fired into densely

populated areas and that after the withdrawal of Arab League monitors:

        …the army intensified its bombardment with heavy weapons. It gave no warning to the
        population and unarmed civilians were given no chance to evacuate. As a result, large
        numbers of people, including many children, were killed. Several areas were bombarded
        and then stormed by State forces, which arrested, tortured and summarily executed
        suspected defectors and opposition activists.

        According to the Violations Documenting Centre, at least 787 civilians, including 53
        adult women, 26 girls and 49 boys, were killed in the first two weeks of February 2012
        alone. The largest number of victims died in Homs.401

        263.    After a prolonged period of intense and constant shelling throughout much of

February, the Syrian Regime ground forces attacked Baba Amr around 29 February and on 01




																																																								
399
      Second UN CoI report, dated 22 February 2012, at para 46.
400
      Ibid. at para 39.
401
      Ibid. at paras 40-41.


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March any remaining opposition forces withdrew. The Syrian security forces retook Baba Amr on

that day.402

        264.    On 07 March 2012, the UN Humanitarian Chief, Baroness Amos visited Baba Amr

and reported that parts of Baba Amr had been ‘pretty devastated’.403

        265.    On 27 March, President Bashar Al-Assad visited Baba Amr. Syrian TV reported the

event stating that the destruction and bombardment had been the result of ‘armed terrorists’. The

report on the visit stated that the President had ‘… toured the streets of the neighbourhood and surveyed

the state of civilian residences, infrastructure, and service institutions after the systematic devastation of

Baba Amr by armed terrorist groups.’ 404 He met with and praised the work of the army and armed

forces and stated:

        Good riddance to the terrorists. The state will help you all, and helps those who help the
        state. Of course, the state was thinking, and we were trying to find solutions with
        rational people. But when the terrorists are in control, there is no solution except the
        solution that occurred.

        266.    In August 2012, five months after Baba Amr was retaken by Regime forces and with

additional investigation, the UN CoI summarised the activities that had occurred there in February

																																																								
402
      See, e.g. Report by Paul Burge in the Telegraph, dated 01 March 2012 entitled ‘Syria: Security
forces take total control of Baba Amr district of Homs’ at
http://www.telegraph.co.uk/news/worldnews/middleeast/syria/9116629/Syria-Security-forces-take-
total-control-of-Baba-Amr-district-of-Homs.html and report by Peter Beaumont in the Guardian
entitled ‘Syrian rebels retreat from Baba Amr district of Homs’, dated 02 March 2012 at
https://www.theguardian.com/world/2012/mar/01/syrian-rebels-retreat-baba-amr-homs
403
      See, e.g. Reuters report, dated 07 March 2012 entitled ‘Syrian District Baba Amr “pretty
devastated”: U.N. aid chief’ at https://www.reuters.com/article/us-syria-un/syrian-district-baba-amr-
pretty-devastated-u-n-aid-chief-idUSTRE8261ZO20120307
404
      See, e.g. Ex. C-1, Translation of Addounia TV News Report on the Visit of Bashar al-Assad to
Homs, SYR.A0472.092, at https://www.youtube.com/watch?v=ICDskVOJp9Q. Also note report
by Adrian Blomfield in Daily Telegraph entitled ‘Syria: Bashar al-Assad tours Homs as he accepts UN
peace plan’, dated 27 March 2012, at
http://www.telegraph.co.uk/news/worldnews/middleeast/syria/9170129/Syria-Bashar-al-Assad-tours-
Homs-as-he-accepts-UN-peace-plan.html.


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and March 2012. They concluded that a large-scale military attack had been launched ‘using mortar

shells, missiles and tank shells. Although Bab[a] Amr had been targeted on previous occasions, the

sustained intensity of this attack was unprecedented.’405 Despite the active presence of armed groups

and their military opposition, the Regime severely restricted access to the area and took control. The

UN CoI reported that many civilians fled the area after the attack and that civilians continued to be

killed by snipers after the attack itself. The UN CoI also reported that:

        The commission recorded a high incidence of extra-judicial executions of civilians in
        various neighborhoods of the city of Homs since March 2012. Multiple accounts were
        received of the killing of the entire Sabbouh family in Bab Amr on 5 March. On 11 and
        12 March 2012, the neighbourhood of Karm al-Zeytoun reportedly came under an attack
        by what was described as Shabbiha protected by the army. Multiple families were killed
        in their homes, apparently by knives or other sharp instruments. Estimates of casualties,
        unverified by the commission, ranged from 35 to 80 in that attack.

        The commission found that hors de combat fighters were similarly killed. One man
        interviewed by the commission stated that he assisted in the burial of 15 bodies of fighting
        aged men that appeared to have been executed. Syrian security forces and Shabbiha
        reportedly removed adult men from houses in the neighbourhood of Sultaniya, before
        lining them up and shooting them.406

        267.    Documents from August and December 2012 give some indication on how artillery

had been utilised by the Regime in the preceding months. On 28 August 2012, Imad Ali Ayoub

(who had only recently been promoted to the Chief of Staff of the Army and Armed Forces)

disseminated a Circular (through the Commander of the Artillery and Rocket Forces) to

‘commanders of formations and units’ of the Army.407          This Circular noted that ‘pursuant to the

assigned missions being implemented on the ground’ some shortcomings had been observed in relation

to the use of artillery. These included:
																																																								
405
      Third UN CoI Report, dated 16 August 2012, at para 30.
406
      Ibid. at paras 33-34.
407
      Ex. C-140, Circular from the General Command of the Army and Armed Forces, Artillery and
Rocket Forces sent to the commanders of formations and units, dated 22 August 2012,
SYR.D0234.021.014_ET at 014.


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        [A] large consumption of artillery shells of all types, as a result of incorrect use of artillery
        in terms of:

                a. Firing at targets without observation does not produce the desired outcome.

                b. Using resources having lower effectiveness and overlooking more effective
                resources, e.g. using BM-21 vehicles which have lower effectiveness in cities and
                forests.

                c. Failing to capitalize on artillery fire to ensure the advance of infantry and
                tanks and the occupation of the firing target, and firing merely in retaliation or to
                silence specific firing.408

        268.    The Circular instructed that ‘it was prohibited to use artillery without observation

because this does not produce the desired outcome and is a useless waste of resources’409 and that artillery

consumption was to be rationed. Formation commanders were to ‘assume full responsibility for

compliance with the instructions’. The Circular is of some note as it appeared to indicate a knowledge

on the part of the General Command of the Army and Armed Forces that had been a large

consumption of artillery rounds fired during previous combat missions, that some targets were being

fired on without the proper observation procedures and that artillery ammunition was not being

used effectively (including using rocket (BM-21) ammunition in cities).410

        269.    A number of months later, similar instructions were again issued by the General

Command. On 09 December 2012, the Head of the Artillery and Rocket Forces issued a Circular

(again authorised by Imad Ali Ayoub) to the Heads of Artillery in the ‘Corps, Divisions and

Independent Regiments’.411 The report directed that, in order to give support to units of the Army


																																																								
408
      Ibid.
409
      Ibid.
410
      The Circular noted above makes reference to BM-21 vehicles. This is a truck mounted 122mm
multi-barreled rocket launcher used by the Syrian Army.
411
      Ex. C-139, Circular from the Head of the Artillery and Rocket Forces to the Heads of Artillery
of Corps, Divisions and Independent Regiments, dated 09 December 2012, SYR.D0234.021.005-
006_ET at 005.


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who were being attacked and to ‘closely observe artillery fire,’ formations were to abide by a series of

instructions.412 These included:

             1. It is prohibited to use artillery without observation because doing so will not achieve
             the desired result and is a useless waste of resources.

             2. Ration the consumption of artillery as required by the situation only.

             3. Artillery observers (artillery officers) should be sent with these formations, units and
             services within your allocated sector of responsibility to extract and verify target
             coordinates, with due consideration of safe distances from friendly forces, observing
             artillery firing and deducing the appropriate corrections to range and direction.

             4. Artillery fire should be capitalized on correctly, i.e. to ensure the advance of infantry
             and tank units and the occupation of the site that was targeted.

             5. The validity of coordinates should be verified for the locations of terrorist groups and
             armed gangs, by using computers and by triangulation using the regular methods (use of
             compass – rangefinder).

             6. Analyse meteorological conditions, carry out firing using members in proportion with
             targets, and undertake propulsion, aerial and technical preparations before firing.

             7. Accurately check the topographic connection of the fire position and observation sites
             using the full topographic database and GPS systems according to resources.

             8. Ensure that the artillery ammunition is ready before firing. Save ammunition as much
             as possible, according to the situation. Use the right charges for the distances when firing,
             to ensure the safety of the equipment.

             9. Use computers when target training firing crewmembers and compare to the training
             of crewmembers in terms of range and direction using recognized methods (Russian board
             – maps).

             10. Commanders should directly supervise the registration of instructions prior to
             firing.413

             270.          This document is of note in highlighting identified problems in the use of artillery

and giving an indicating how artillery had been previously used. Furthermore it demonstrates

procedures that were available to the Syrian Army for the accurate targeting of artillery (the use of

																																																								
412
      Ibid.
413
      Ibid.


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artillery observers, rangefinders, GPS, computers etc) again seemingly implying that these were not

being routinely used by some units. The document also demonstrates the chain of command in

relation to artillery matters (from the General Command of the Army and Armed Forces, the

Artillery and Rocket Forces, the Corps and subordinate units of the Army).414

             271.          In analysing the document more closely, it appeared that significant quantities of

artillery ammunition had previously been expended resulting in a need for rationing.415 There had

also clearly been problems in relation to the use of artillery observers that necessitated the specific

instruction that artillery fire was to be prohibited without ‘observation’.416 This clearly inferred that

some artillery fire had previously been initiated without the use of artillery observers. The Circular

specifically instructed that artillery observers were to be sent to units to obtain accurate targeting

information (co-ordinates, distances, corrections etc.) again implying that such procedures had not

always previously been followed. The importance of the issue is demonstrated by the fact that the

General Command of the Army and Armed Forces were issuing such an instruction (with the

authority of the Chief of Staff of the Army and Armed Forces), and that they were specifically

instructing all artillery officers to abide by its content and were disseminating it to subordinate

levels.417

V.           CONCLUDING REMARKS

             272.          In reviewing the documentary references provided by the CIJA and other related

materials, it is evident that from February/March 2011 the Syrian Regime, under the authority of its

national leadership, utilised its security forces (political, military, police, and intelligence/security

																																																								
414
      Ibid. 005-006.
415
      Ibid. 005.
416
      Ibid.
417
      Ibid. 005-006.


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agencies) to confront and repress opposition groups and individuals in order to prevent the spread of

anti-Regime activity and maintain its exclusive control of the State. The Regime specifically targeted

certain groups: those inciting demonstrations, opposition leaders, co-ordinators, and financiers as

well as those involved with communicating with the media and foreign organisations that were, as

far as the Regime believed, tarnishing the image of the state. The Regime utilised existing and newly

established security bodies with which to direct, command, control and monitor their security

response.

        273.    The Regime developed a comprehensive military/security strategy with which to

confront protesters and opposition activity in the governorates (including in Homs). This strategy

initially relied heavily on the intelligence/security, police and Ba’athist and other loyalists to confront

and suppress demonstrations, protesters and opposition supporters leading to their mass arrest,

abuses and killings. These security measures, in turn, led to the eventual emergence of an armed

opposition that became active in taking control of opposition areas, attacking security force

personnel and infrastructure.

        274.    As the security situation deteriorated, the Regime further militarised its response by

relying significantly on the use of the army (particularly from the autumn of 2011) and saw the

establishment in key governorates of Military and Security Chiefs who commanded the security

elements and the security operations in these areas. In Homs, this militarisation resulted in military

operations culminating in February 2012 with the launch of a large-scale military operation against

the district of Baba Amr in Homs, an area held by opposition forces. This operation involved the

prolonged shelling of civilian areas in Baba Amr through much of that month leading to significant




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numbers of civilian deaths and destruction of property. The area of Baba Amr was retaken by

elements of the Syrian Army and other security forces at the end of February 2012.



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